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 STARK & STARK
 A Professional Corporation
 Joseph H. Lemkin, Esquire (JL-2490)
 Thomas S. Onder, Esquire (TO-7880)
 PO Box 5315
 Princeton, NJ 08543-5315
 (609) 896-9060
 Attorneys for Richards Clearview, LLC


                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 ____________________________________
                                      |
 In re:                               |   Chapter 11
                                      |
 BED BATH & BEYOND, INC., et al.      |   Case No. 23-13359 (VFP)
                                      |
                   Debtors1           |   Judge: Hon. Vincent F. Papalia
 ____________________________________|


                     OBJECTION OF RICHARDS CLEARVIEW, LLC
                  TO POTENTIAL ASSUMPTION AND ASSIGNMENT OF
                  UNEXPIRED LEASE AND RESERVATION OF RIGHTS

          Richards Clearview, LLC (“Richards”), by and through its counsel, hereby files

     this objection to the (i) Notice to Contract Parties to Potentially Assumed Executory

     Contracts and Unexpired Leases [Docket No. 714] (“Notice”) and (ii) Notice of

     Amendment of Cure Objection Deadline (“Amended Notice”) [Docket No. 952], and in

     support hereof states as follows:




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.


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                                                  Background

          1.            On or about April 24, 2023 (“Petition Date”), each of the above-captioned

     debtors (“Debtors”) filed voluntary petitions under chapter 11 of title 11 of the United

     States Code (“Bankruptcy Code”) with this Court.

          2.            Debtors are operating their businesses as debtors-in- possession pursuant

     to sections 1107(a) and 1108 of the Bankruptcy Code.

          3.            On June 13, 2023, the Debtors filed the Notice which states that, “pursuant

     to the Bidding Procedures and the terms of any Successful Bid, the Debtors may assume

     and assign to the Successful Bidder the contract or agreement listed on Exhibit A to

     which you are a counterparty, upon approval of the Sale Transaction.” Notice, p.2

     (emphasis in original).2 The Notice further provides that any objection to the “proposed

     Cure Payment”, the “proposed assignment to the Successful Bidder”, or “the ability of

     the Successful Bidder to provide adequate assurance of future performance” (“Cure

     Objection Deadline”) must be filed no later than June 26, 2023 at 5:00 p.m. (prevailing

     Eastern Time). Id.

          4.            Exhibit A to the Notice includes a lease with Richards for the premises

     located in the Clearview City Center, Metairie, Louisiana (“Premises”), described in the

     Notice as “Lease Agreement – 4410 Veterans Blvd., Metairie, LA” (“Lease”). Exhibit A to

     the Notice identifies Richards as the counterparty and asserts that the proposed Cure

     Payment for the Lease is $0.


 2
  Capitalized terms in the Notice have the meanings set forth in the Court’s order approving bidding procedures
 [Docket No. 92] (the “Bidding Procedures Order”).
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            5.          On June 23, 2023, Debtors filed the Amended Notice which states that “with

     respect to all executory contracts and unexpired leases listed on the Potentially Assumed

     Contracts List… the Cure Objection Deadline has been extended to July 5, 2023 at 9:00

     a.m. (prevailing Eastern Time).”

            6.          In addition, on May 22, 2023, this Court entered the Order (I) Establishing

     Procedures to Sell Certain Leases, (II) Approving the Sale of Certain Leases, and (III)

     Granting Related Relief [Docket No. 422] (“Lease Sale Procedures Order”). The Lease

     Sale Procedures Order approves, among other things, additional sale procedures related

     to the Debtors’ potential “Phase I” and “Phase II” sale of leases, and expressly permits

     landlords to submit bids in connection with their leases, including credit bids of their

     undisputed cure amounts.

                                               Preliminary Objection

            a. Proposed Cure Payment

            7.          Debtors set the proposed Cure Payment for Richards at $0. Richards

 asserts that the correct cure amount for the Lease, as of the date of filing this limited

 objection, is $536,237 (“Correct Cure Amount”), which includes (i) HVAC repairs

 compensable under the Lease in the approximate amount of $29,395,3 (ii) elevator and

 escalator repairs compensable under the Lease in the approximate amount of $488,717,4




 3
     A copy of the written estimates for the HVAC repairs is attached hereto as Exhibit A.
 4
     A copy of the written estimates for the elevator and escalator repairs is attached hereto as Exhibit B.
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 and (iii) legal fees incurred relating to the enforcement of the Lease in the approximate

 amount of $18,125.

          8.            If the Lease is to be assumed or assumed and assigned, the Debtors or the

 assignee should be required to pay Richards the Correct Cure Amount in accordance with

 section 365(b) of the Bankruptcy Code, together with any other amounts accruing under

 the Lease (including without limitation any fixed rent or percentage rent, and applicable

 taxes, common areas charges, and insurance costs) in accordance with the terms of the

 Lease between the date of this filing and the date that the Lease is actually assumed or

 assumed and assigned.

          b. Adequate Assurance of Future Performance

          9.            In addition, Richards is entitled to adequate assurance of future

 performance by any assignee under section 365(f)(2)(B) of the Bankruptcy Code. As a

 shopping center lease, this also requires satisfaction of the provisions of section 365(b)(3).

 Section 365(b)(3) specifically requires adequate assurance:

            (A) of the source of rent and other consideration due under such lease,
               and in the case of an assignment, that the financial condition and
               operating performance of the proposed assignee and its
               guarantors, if any, shall be similar to the financial condition and
               operating performance of the debtor and its guarantors, if any, as
               of the time the debtor became the lessee under the lease;

            (B) that any percentage rent due under such lease will not decline
               substantially;

            (C) that assumption or assignment of such lease is subject to all the
               provisions thereof, including (but not limited to) provisions
               such as radius, location, use, or exclusivity provision, and will
               not breach any such provision contained in any other lease,

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                  financing agreement, or master agreement related to such
                  shopping center; and

              (D) that assumption or assignment of such lease will not disrupt
                 any tenant mix or balance in such shopping center.

        11 U.S.C. § 365(b)(3).

            10.         Richards objects to the extent any proposed assignment of the Lease fails

 to comply with any of the foregoing requirements under section 365(b)(3) of the

 Bankruptcy Code. This shall include specifically without limitation: (i) the “Permitted

 Use” and “Prohibited Uses” provisions set out in Sections 1.1.27 and 13.1.1 of the Lease5

 and Exhibit M6 of the Lease; and (ii) the “Existing Exclusives” granted by Richards to

 other tenants as set forth in Sections 13.3.1 and 13.3.2 and Exhibit K-17 of the Lease.

            11.         Until adequate information has been provided on the proposed assignee

 regarding the intended use of the Lease, Richards cannot even discern whether such an

 assignee will be attempting to violate any “Prohibited Uses” or “existing Exclusives” as

 set forth in the Lease.

            12.         Section 4 of the Lease provides for percentage rent.                       Under section

 365(b)(3)(B) of the Bankruptcy Code, any assignment must include adequate assurance that

 “any percentage rent due under such lease will not decline substantially.” Once again,




 5
   A copy of the Lease is attached hereto as Exhibit C. Note that the Lease Exhibits are voluminous and only the
 Exhibits relevant to this Objection have been included herein. The entirety of the Lease Exhibits are in the possession
 of Debtors and are also available upon request.
 6
     A copy of Exhibit M of the Lease is attached hereto as Exhibit D.
 7
     A copy of Exhibit K-1 of the Lease is attached hereto as Exhibit E.
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 until adequate information has been provided on the proposed assignee, Richards cannot

 make this determination.

          13.           Richards reserves all rights to the extent that the use under the Lease will be

 changed by reason of any proposed assignment, result in a violation of any “Permitted Use”

 and “Prohibited Uses” provisions under the Lease, and/or result in a violation of “Existing

 Exclusives” granted by Richards to other tenants on or at the Premises, all as set forth

 above.

          14.           If the Lease is to be assumed or assumed and assigned, the Debtors or the

 proposed assignee should also be required to pay Richards a “deposit or other security for

 the performance of the [Debtors’] obligations under the lease substantially the same as

 would have been required by the landlord upon the initial leasing to a similar tenant” in

 accordance with section 365(l) of the Bankruptcy.

                                           Reservation of Rights

          15.      Richards further reserves the right to amend and/or supplement this objection

 and the Correct Cure Amount. Further, while the Lease Sale Procedures Order is not

 referenced in the Notice, Richards further reserves all rights with respect thereto. All

 objections and reservations asserted herein apply with equal force to any proposed sale,

 assumption or assignment under the Lease Sale Procedures Order, to the extent applicable.

                                                 Conclusion

            WHEREFORE, Richards respectfully requests that the Court sustain this

  preliminary objection by conditioning assumption and assignment of the Lease on: (1) the

  payment to Richards of the Correct Cure Amount plus any other amounts accruing under
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  the Lease between the date of this filing and the date that the Lease is actually assumed or

  assumed and assigned; and (2) adherence to the provision of adequate assurance of future

  performance, including without limitation as required by section 365(b)(3) of the

  Bankruptcy Code, and grant any other and further relief that the Court may deem

  appropriate.

                                                    Respectfully submitted,

 Dated: June 30, 2023
                                                    STARK & STARK
                                                    A Professional Corporation
                                                    By: /s/ Joseph H. Lemkin
                                                          Joseph H. Lemkin, Esquire
                                                    and

                                                    By: /s/ Thomas S. Onder
                                                           Thomas S. Onder, Esquire
                                                    P.O. Box 5315
                                                    Princeton, NJ 08543
                                                    (609) 791-7022 (direct)
                                                    (609) 896-9060 (main)
                                                    (609) 895-7395 (facsimile)
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                                                    tonder@stark-stark.com
                                                    Attorneys for Richards Clearview, LLC

                                                    -and-

                                                    CHAFFE McCALL, LLP
                                                    By: /s/ Fernand L. Laudumiey, IV
                                                    2300 Energy Centre, 1100 Poydras Street
                                                    New Orleans, Louisiana 70163-2300
                                                    Telephone: (504) 585-7000
                                                    Fax: (504) 585-7075
                                                    David J. Messina, #18341
                                                    messina@chaffe.com
                                                    Fernand L. Laudumiey, IV, #24518
                                                    (Pro Hac Vice Application Pending)
                                                    laudumiey@chaffe.com
                                                    Attorneys for Richards Clearview, LLC

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                          Gulf South Mechanical
                                USA, Inc.
                                 Commercial HVAC Service

6/26/2023
Richards Clearview City Center
Re: Bed Bath & Beyond
HVAC Problems

           Unit # 5 Lennox M # LGA210HL2G
                      Variable Frequency Drive Fault . Blower will not operate.
                      Replace VFD in order to determine if other problems exist.
                      Repair and check cost minimum
                      Labor                                              $800
                      VFD (Part)                                        $1,350
                                                                        $2,150

           Unit # 6 Lennox M # LGA210HL2G
                      Bad blower motor and 1 bad compressor.
                      Repair and check cost minimum
                      Labor                                                            $1,600
                      Motor & Compressor ( Parts)                                      $5,411
                                                                                       $7,011

           Unit # 8 Lennox M # LGA102HS3G
                      One refrigerant circuit out of refrigerant
                      Repair and check cost minimum
                      Labor                                                             $800
                      Refrigerant and Misc. (Parts)                                   $600.00
                                                                                       $1,400

           Unit # 14 Lennox M # LGA102HS3G
                      Bad VFD and both circuits out of refrigerant.
                      Repair and check cost minimum.
                      Labor                                                            $2,400
                      VFD and Refrigerant (Parts)                                      $2,550
                                                                                       $4,950

           We recommend and additional labor allowance, to identify
           any other issues that may exist.                         $3,200

           Minimum grand total                                                   $18,711.00

           If you should have any questions, please call Ron @ 504-329-8188.
                           1020 Old Spanish Trail Suite 6 Slidell, LA 70458 504-329-8188



                                                                                                Exhibit A
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                          Gulf South Mechanical
                                USA, Inc.
                                 Commercial HVAC Service


6/26/2023
Richards Collection Properties
Re: 1200 Place
Suites 10 & 12

            Suite 10
                       Minor problem was corrected while testing system.
                       No charge
            Suite 12
                       Estimate to replace 5 ton system.
                       Utilizing Arcoair (by Carrier) Model FJMA4X60LODB air handler
                       and Model R4A5S60AKAWA condensing unit.
                       Adapted to existing ductwork, electrical wiring, and refrigerant piping.
                       Total customer cost                $10,684.00

            If you should have any questions, please contact Ron @ 504-329-8188.




                            1020 Old Spanish Trail Suite 6 Slidell, LA 70458 985-690-1377
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                             REPAIR ORDER AGREEMENT

       June 30, 2023

       Purchaser:
       Bed Bath and Beyond
       4410 Veterans Blvd
       Metairie, La 70006

       A-1 Elevator Service hereby proposes to furnish and install the following located at 4410 Veterans Blvd
       Metairie, La 70006

       The following repairs are necessary due to the neglect, age and obsolescence, and not being tested for over 5 years the
       following repairs are necessary:

       Passenger Elevator Modernization into code compliance $72,600

       Freight Elevator Modernization into code compliance $122,200

       Both Escalators:
            ▪ Replace inlet skirt and step switches, annual clean down, replace drive chains, replace comb teeth segments,
                replace steps as needed that are damaged, and replace handrails $198,717

       Both Vermaports:
            ▪ Replace brakes, replace newel drive chains, replace all hub rollers, replace track segments, and replace starter
                contactors $95,200


       (Price quoted is valid for 60 days and is based on work performed during regular working hours)



       Since A-1 Elevator Service is not your current maintenance provider, we cannot guarantee that the above scope of work
       is all that is needed to put the elevator back into safe operating condition. If determined additional repairs are needed, a
       separate repair order will be submitted for approval.




       Payment Terms:
       50% of price quoted is due upon acceptance of this proposal
       Remaining balance due upon completion of job.

                                      1500 Mehle Ave., Arabi, LA 70032
                                                                                                                    Exhibit B
                                   Office: 504-278-1876, Fax: 504-278-1864
                                            admin@A1elevator.net
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                                            TERMS AND CONDITIONS

       1.  A-1 Elevator Service retains title to any equipment furnished hereunder until final payment is made. Late or non-
           payment will result in assessment of interest charged at a rate of 1-1/2% per month or the highest legal rate
           available, and any attorneys’ fees, expenses and costs associated with the collection of said amount.
       2. Any changes to the building to meet local or state codes are to be made by purchaser. Any changes in the work
           required due to building conditions discovered in the performance of the work will be paid by Purchaser.
       3. No work, service materials or equipment other than as specified hereunder is included or intended.
       4. Purchaser retains its normal responsibilities as Owner of the equipment which is subject of this Agreement.
       5. A-1 Elevator Service will not be liable for damages of any kind, in excess of the price of this Agreement, nor in any
           event for special, indirect, consequential or liquidated damages.
       6. Any cutting or patching will be the responsibility of other and is not included is work quoted.
       7. Neither party shall be responsible for any loss, damage, detention or delay for causes beyond its reasonable control,
           including strikes, lockouts, labor disputes, or acts of God. Dates for the performance or completion of the work shall
           be extended as is reasonably necessary to compensate for the delay.
       8. We warrant that the work will comply with the specifications and that there will be no defects in materials or
           workmanship for one year after the completion of work or acceptance thereof by beneficial use, whichever is earlier.
           Our duty under this warranty is to correct nonconformance or defect at our expense within a reasonable time after
           the receipt of notice. THE EXPRESS WARRANTIES CONTAINED HEREIN ARE IN LIEU OF ALL OTHER
           WARRANTIES, EXPRESSED OR IMPLIED, INCLUDING ANY WARRANTIES OF MERCHANTABILITY OR
           FITNESS FOR A PERTICULAR PURPOSE.
       9. Purchaser agrees to defend, indemnify and hold A-1 Elevator Service harmless from and against any claims,
           lawsuits, demands, judgements, damages, costs and expenses arising out of this Agreement except to the extent
           caused by or resulting from the sole and direct fault of A-1 Elevator Services.
       10. It is expressly understood, in consideration of the performance of the service enumerated herein at the price stated,
           that nothing in this agreement shall be construed to mean that A-1 Elevator Services assumes any liability on
           account of injury or damage to persons or property, except to the extent directly and solely due to the negligent acts
           or omissions of A-1 Elevator Services or its employees; and that the Purchaser’s responsibility for injury or damage
           to persons or property while riding on or being in or about the equipment referred to is in no way affected by this
           Agreement.




                                     1500 Mehle Ave., Arabi, LA 70032
                                  Office: 504-278-1876, Fax: 504-278-1864
                                           admin@A1elevator.net
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       Acceptance:

       This proposal is hereby accepted in its entirety and shall constitute the entire agreement as contemplated by the
       owner/purchaser and A-1 Elevator, only after it has been approved by a manager of A-1 Elevator Service LLC.


       Purchaser:                                                  A-1 Elevator Service LLC:

       Signature: _____________________________                    Signature: ________________________________

       Printed Name: __________________________                                            Gary Songy
                                                                   Printed Name: _____________________________

       Date: _________________________________                                     6/30/2023
                                                                   Date: ____________________________________


       A-1 Elevator Service LLC Approval:

       Signature: ____________________________

       Printed Name: _________________________

       Date: ________________________________




                                     1500 Mehle Ave., Arabi, LA 70032
                                  Office: 504-278-1876, Fax: 504-278-1864
                                           admin@A1elevator.net
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                                            LEASE AGREEMENT



                                                  Between




                                      RICHARDS CLEARVIEW, L.L.C.,

                                    a Louisiana limited liability company,



                                                  Landlord




                                                      and




                                        BED BATH & BEYOND INC.,

                                          a New York corporation,

                                                   Tenant




                                             CLEARVIEW MALL

                                           METAIRIE, LOUISIANA




                                         Dated: November        2001
                                                  *   * * * *




          HACtearview Lease.cloc


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      44          Section 23.15   Joint and Several Liability                                40
      45          Section 23.16   Severability                                               40
      46          Section 23.17   Grammatical Usages and Construction                        40
      47         Section 23.18    Table of Contents, Line Numbering and Paragraph Headings   40
      48         Section 23.19    Definition of Hereunder, Herein, etc.                      40
      49          Section 23.20   Short Form Lease                                           40
      50         Section 23.21    Entire Agreement and Modification                          40
      51         Section 23.22    No Joint Venture or Partnership Created by Lease           40
      52          Section 23.23   Tenant's Tradename                                         40
      53          Section 23.24   Governing Law                                              40
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        1    EXHIBITS
        2
        3   Exhibit A                Legal Description of Shopping Center
        4   Exhibit B                Site Plan
        5   Exhibit C                Rent Commencement and Expiration Date Agreement
        6   Exhibit D                Specifications for Landlord's Work
        7   Exhibit D-1              Exterior Elevations of the Premises, and Sidewalk Plan
        8   Exhibit D-2              Exterior Elevations of the Shopping Center
        9   Exhibit E                Permitted Encumbrances
       10   Exhibit F                Signage
       11   Exhibit G                Subordination, Non-Disturbance and Attomment Agreement
       12   Exhibit H                Subtenant Recognition Agreement
       13   Exhibit l                Form of Delivery Date Notice
       14   Exhibit ..I              Delivery Dete Certification
       15   Exhibit K-1              Existing Exclusives
       16   Exhibit K-2              Existing Leases
       17   Exhibit L                INTENTIONALLY OMITTED
       18   Exhibit M                Prohibited Uses
       19   Exhibit N                Radius Restriction
       20




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        1                                            LEASE AGREEMENT

       2           THIS LEASE AGREEMENT ("Lease") is entered into as of November          , 2001 by and
       3    between RICHARDS CLEARVIEW, L.L.C. a Louisiana limited liability company, having an office
       4    at Clearview Shopping Center, 4436 Veterans Boulevard, Metairie, LA 70006 ("Landlord"),
       5    and BED BATH & BEYOND INC., a New York corporation, having an office at 650 Liberty
       6    Avenue, Union, New Jersey 07083 ("Tenant").

        7
        8                                            WITNESSETH:


        9                                              ARTICLE 1
       10                                     BASIC TERMS AND DEFINITIONS

       11         Section 1.1      Basic Terms and Definitions. The following terms shall have the
       12   meanings set forth in this Section 1.1 except as otherwise expressly provided herein.

       13                 1.1.1 Additional Rent: Any monies which Tenant is required to pay to Landlord
       14   under the terms and conditions of this Lease, other than Fixed Rent.

       15                   1.1.2 Affiliate: A corporation, partnership, person or other entity which is
       16   controlling, controlled by, or under common control with, Landlord or Tenant, as the case may
       17   be. As used herein, "control" shall mean the possession, direct or indirect, of the power to
       18   direct or cause the direction of the management and policies of a person or entity, whether
       19   through the ownership of voting securities or rights, by contract, or otherwise.

      20                     1.1.3 Alternate Rent: Payment of three percent (3%) of all Gross Sales (as
      21    hereinafter defined in Section 4.4.2), not to exceed the amount of Fixed Rent which otherwise
      22    would have been payable during such period (the "Cap"). Alternate Rent shall be payable
      23    within thirty (30) days after the end of the calendar month to which it pertains. If the Alternate
      24    Rent for a calendar month does not exceed the Cap, such payment shall be accompanied by a
      25    statement prepared by an officer of Tenant setting forth the amount of "Gross Sales" achieved
      26    during, and the amount of Alternate Rent payable for, such month.

      27                      1.1.4 Common Areas: All areas in the Shopping Center which are, from time to
      28    time, available for the joint use and benefit of Tenant and other tenants and occupants of the
      29    Shopping Center, and their respective employees, agents, subtenants, concessionaires,
      30    licensees, customers and other invitees, including, but not limited to, any and all parking areas,
      31    parking spaces, driveways, truck serviceways, passageways, sidewalks, entrances, exits,
      32    lighting facilities, courts, landscaped areas, retention or detention areas, elevators, escalators
      33    and common utility lines.

      34                      1.1.5   Common Areas Charges: As defined in Section 5.1 hereof.

      35                      1.1.6   Delivery Date: As defined in Section 2.3 hereof.

      36                      1.1.7   Effective Date: The date hereof.

      37                      1.1.8   Event of Default: As defined in Section 16.1 hereof.

      38                    1.1.9 Excused Periods: Periods during which Tenant's (or, as the case may
      39    be, another tenant's) failure to conduct the operations of its business or any other business:
      40    (x) resulted from alterations or renovations being performed in and to the Premises, (y) was
      41    caused by damage or destruction, eminent domain proceedings or actions, or Force Majeure, or
      42    (z) was caused by any act or omission of Landlord, or its employees, agents, or contractors.

      43                    1.1.10 Exhibits. The exhibits listed in the Table of Contents annexed to this
      44    Lease have been agreed to by the parties and attached hereto, it being the intention of the
      45    parties that they shall become a binding part of this Lease as if fully set forth herein.

      46                  1.1.11 Fixed Rent: The following amounts for the periods indicated (subject to
      47    adjustment pursuant to Section 3.4 hereof):

      48                           (a)    For the period commencing on the Rent Commencement Date
      49    and ending on the first January 31 occurring after the fifteenth (151h) anniversary of the Rent
      50    Commencement Date, at the rate of Five Hundred Thousand and 00/100 Dollars ($500,000.00)
      51    per year; provided, however, (i) if Percentage Rent is payable by Tenant any time during the


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        1   period commencing on the first February 1 occurring after the fifth (5th) anniversary of the Rent
       2    Commencement Date and ending on the first January 31 occurring after the tenth (10th)
       3    anniversary of the Rent Commencement Date, then Fixed Rent during such period that
       4    Percentage Rent is payable shall be paid at the rate of Five Hundred Twenty-Five Thousand
       5    and 00/100 Dollars ($525,000.00) per year, and (ii) if Percentage Rent is payable by Tenant any
       6    time during the period commencing on the first February 1 occurring after the tenth (101h)
       7    anniversary of the Rent Commencement Date and ending on the last day of the "Initial Term"
       8    (defined in Subsection 1.1.43 below), then Fixed Rent during such period that Percentage Rent
       9    is payable shall be paid at the rate of Five Hundred Fifty Thousand and 00/100 Dollars
      10    ($550,000.00) per year. During the period during the Initial Term that Percentage Rent is not
      11    payable by Tenant, then the Fixed Rent shall remain at Five Hundred Thousand and 00/100
      12    Dollars ($500,000.00) per year;

      13                          (b)     In the event Tenant exercises the first Renewal Option, for the first
      14    five (5) year Renewal Period, at the rate of Five Hundred Seventy-Five Thousand and 00/100
      15    Dollars ($575,000.00) per year;

      16                          (c)    In the event Tenant exercises the second Renewal Option, for the
      17    second five (5) year Renewal Period, at the rate of Six Hundred Thousand and 00/100 Dollars
      18    ($600,000.00) per year;

      19                           (d)    In the event Tenant exercises the third Renewal Option, for the
      20    third five (5) year Renewal Period, at the rate of Six Hundred Twenty-Five Thousand and 00/100
      21    Dollars ($625,000.00) per year; and

      22                           (e)    In the event Tenant exercises the fourth Renewal Option, for the
      23    fourth five (5) year Renewal Period, at the rate of Six Hundred Fifty Thousand and 00/100
      24    Dollars ($650,000.00) per year.

      25                    1.1.12 Floor Area: The actual number of square feet of space contained on all
      26    floors within any building area in the Shopping Center (including the Premises) and, with respect
      27    to exterior areas, including all exterior areas leased to or exclusively used by one or more
      28    tenants (other than exterior loading dock areas and trash compactor areas). All measurements
      29    pursuant to this Subsection shall be from the exterior of outside walls or store front and/or to the
      30    centerline of any common walls, but in no event shall Floor Area within either the Premises or
      31    the remainder of the Shopping Center include any non-selling or storage space areas within any
      32    mezzanine, lower floor, second floor or except as set forth above, any exterior areas or any
      33    Common Areas.

      34                      1.1.13 Force Majeure: As defined in Section 23.4 hereof.

      35                   1.1.14 Ground Lessor: The landlord under any existing or future ground or
      36    underlying leases encumbering or affecting all or any part of the Shopping Center.

      37                      1.1.15 Intentionally Omitted.

      38                      1.1.16 Hazardous Substances: As defined in Subsection 12.4.1 hereof.

      39                      1.1.17 Inducement Tenants: As defined in Subsection 2.3.1 hereof.

      40                      1.1.18 Landlord: As defined in the preamble and Section 23.11 hereof.

      41                   1.1.19 Landlord's Mailing Address: Richards Clearview, L.L.C., 4436 Veterans
      42    Boulevard, Metairie, LA 70006, or such other place and/or to the attention of such other person
      43    as Landlord may notify Tenant from time to time by notice given in accordance with the
      44    provisions of Article 18 hereof.

      45                      1.1.20 Landlord's Work: As defined in Section 3.1 hereof.

      46                    1.1.21 Lease Interest Rate: The then effective prime rate as published from time
      47    to time in the "Money Rates" section of The Wall Street Journal (or any successor publication
      48    thereto) plus two percent (2%).

      49                    1.1.22 Legal Requirements: All laws, statutes, codes, acts, ordinances,
      50    judgments, decrees, authorizations, directions and requirements of, and agreements with, all
      51    governmental departments, commissions, boards, courts, authorities, agencies, officials and
      52    officers, which now or at any time hereafter may be applicable to the Premises, the Shopping
      53     Center, or any part(s) thereof.



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       1                    1.1.23 Mortgagee: Any state or federally regulated: bank, savings and loan
       2   association, insurance company, pension fund, credit union, real estate investment trust, or
       3   other institutional lender, which is not an Affiliate of Landlord, and which holds a mortgage on
       4   the Shopping Center or is the beneficiary under a deed of trust encumbering the Shopping
       5   Center.

       6                  1.1.24 Lease Year: The 365 day (or 366 day for leap years) period commencing
       7   with the Rent Commencement Date and each 365 day (or 366 day for leap years) period
       8   thereafter.

       9                     1.1.25 Percentage Multiple: Six percent (6%).

      10                     1.1.26 Percentaae Rent: As defined in Section 4.4 hereof.

      11                    1.1.27 Permitted Use: The sale at retail of a variety of linens and domestics
      12   (including, but not limited to, sheets, bedspreads, comforters, duvets, pillows, pillow covers,
      13   chair pads, placemats, tablecloths, dish towels, oven mittens and aprons); bathroom items
      14   (including, but not limited to, towels, shower curtains, bathroom rugs, toilet seats, personal care
      15   devices and other bathroom appliances and accessories); housewares (including, but not
      16   limited to, kitchen utensils, kitchen appliances and kitchen "gadgets," cleaning appliances and
      17   supplies, cookware, bakeware, dishes and china, glassware, garbage pails, ironing boards and
      18   other laundry items, mops and brooms, candles and candle holders, ready-to-assemble
      19   furniture and artificial flowers); frames and wall art; window treatments; closet, shelving and
      20   storage items; home furnishings; area rugs; wall and floor coverings; furniture (including, without
      21   limitation, mattresses, box springs, bed frames, and bedroom furniture); decorative accessories;
      22   photo albums; photo storage boxes; luggage; books; party supplies; cards and stationery;
      23   seasonal items; juvenile merchandise (including, but not limited to, toys, car seats and safety-
      24   proofing items); health and beauty aids; specialty food items; food and non-alcoholic beverage
      25   services; any and all other items sold or services typically provided from time to time in any
      26   store owned or operated by Tenant or its Affiliate(s) (the aforementioned items are hereinafter
      27   collectively referred to as the "Permitted Items"); and for any other lawful retail use not
      28   specifically prohibited by the provisions of Section 13.1.1 below. In addition, Tenant shall be
      29   permitted to use portions of the Premises for storage and office uses incidental to the Permitted
      30   Use.

      31                   1.1.28 Premises: Being the area cross-hatched on Exhibit B hereto, having
      32   dimensions as shown on Exhibit B and containing approximately: (i) Fifty Thousand Five
      33   Hundred Eighty (50,580) square feet of Floor Area, but in no event less than Fifty Thousand
      34   (50,000) square feet of Floor Area, on two floors approximately [23,450 square feet of first floor
      35   area, having approximate dimensions of 186 feet wide and 130.5 feet deep with a minimum
      36   clear height of 18 feet plus a second floor sales area containing approximately 27,130 square
      37   feet with a minimum clear height of 18 feet], and (ii) one thousand (1,000) square feet of
      38   mezzanine level space for office purposes, subject to adjustment in accordance with the
      39   provisions of Section 3.4 below. In no event shall such mezzanine space result in any charge to
      40   Tenant by way of Fixed Rent or any Additional Rent, nor shall such space be included in the
      41   determination of Tenant's Pro Rata Share.

      42                     1.1.29 Renewal Option: As defined in Section 2.2.2 hereof.

      43                 1.1.30 Renewal Period(s): four (4) successive periods of five (5) years each, as
      44   provided in Section 2.2.2 hereof.

      45                     1.1.31 Rent: Fixed Rent and/or Additional Rent.

      46                     1.1.32 Rent Commencement Date: As defined in Section 2.2 hereof.

      47                     1.1.33 Sales Break Point:   As defined in Section 4.4.1 hereof.

      48                   1.1.34 Shopping Center: The shopping center commonly known as the
      49   Clearview Mall, containing approximately Five Hundred Fifty-Eight Thousand (558,000) square
      50   feet of Floor Area, on the property located at the corner of Veterans Boulevard and Clearview
      51   Parkway in Metairie, Louisiana, and more particularly described in Exhibit A hereto. Landlord
      52   shall not change the name of the Shopping Center without giving at least ninety (90) days prior
      53   notice to Tenant, and Landlord shall not include the name of any tenant (other than Tenant) in
      54   the name of the Shopping Center.

      55                  1.1.35 Substantially Completed or Substantial Completion: The completion of
      56   specified work at the Shopping Center (including, without limitation, as applicable, Landlord's



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        I   Work) to the extent that only "Punch List Items" of such work (defined in Subsection 3.3.3
        2   below) shall not be completed.

        3                     1.1.36 Taxes: As defined in Section 4.3.3 hereof.

        4                     1.1.37 Tenant: As defined in the preamble hereof.

        5                  1.1.38 Tenant's Mailing Address: 650 Liberty Avenue, Union, New Jersey
        6   07083, Attn: Mr. Warren Eisenberg, or such other place and/or to the attention of such other
        7   person as Tenant may notify Landlord from time to time by notice given in accordance with the
        8   provisions of Article 18 hereof.

        9                     1.1.39 Tenant's Permits: As defined in Section 2.3.1(b) hereof.

       10                    1.1.40 Tenant's Property: All of Tenant's personal property, including, without
       11   limitation, phone and alarm systems, satellite antennae, shelving, computers, furniture, cash
       12   registers and customer service counters, specialty lighting, track lighting, millwork, conveyor
       13   systems, storage racks and signage and any and all other personal property of Tenant which is
       14   capable of being removed from the Premises without material damage thereto, but which shall
       15   not include electrical systems, heating, ventilation and air conditioning systems, and other
       16   mechanical systems, flooring, carpet, elevators, escalators, standard lighting and wiring
       17   installed within the walls of the Premises.

      18                    1.1.41 Tenant's Pro Rata Share: A fraction whose numerator is the Floor Area
      19    of the Premises and whose denominator is the Floor Area of the Shopping Center as may be re-
      20    determined any time a building (and/or Floor Area) is added to or removed from the Shopping
      21    Center, but in no event shall Tenant's Pro Rata Share be greater than eleven percent (11%).
      22    Floor Area shall be deemed added to or removed from the Shopping Center on the earlier of (i)
      23    the date upon which such Floor Area is Substantially Completed, or (ii) at such time as an
      24    assessment for Taxes is made or removed, as the case may be, with respect to such Floor
      25    Area. Within thirty (30) days following written request from Tenant, Landlord shall certify to
      26    Tenant in writing as to the then Floor Area of the Shopping Center.

      27                      1.1.42 Tenant's Work: As defined in Section 3.1 hereof.

      28                     1.1.43 Term: A period (the "initial Term") of approximately fifteen (15) years
      29    beginning on the Rent Commencement Date and ending at midnight on the last day of January
      30    following the fifteenth (15th) anniversary of the Rent Commencement Date (the "Expiration
      31    Date"). As used herein, "Term" shall refer to the Initial Term, as the same may be extended
      32    by any Renewal Period exercised pursuant to Section 2.2.2 below.



      33                                             ARTICLE 2
      34                            LEASE OF PREMISES; LEASE TERM; DELIVERY DATE

      35             Section 2.1      Lease of Premises.

      36                     2.1.1 Lease of Premises. Landlord hereby leases to Tenant, and Tenant
      37    hereby leases from Landlord, the Premises together with any and all rights, benefits, privileges
      38    and easements, now or hereafter appurtenant to either or both of the Premises and the
      39    Shopping Center, arising out of any public or private grant or authority, including, without
      40    limitation, the non-exclusive right and easement to use the Common Areas in common with
      41    other tenants and occupants of the Shopping Center.

      42                    2.1.2 Resolutory Conditions. Landlord and Tenant agree that this Lease shall
      43    be conditioned upon satisfaction of the following conditions and should any of such conditions
      44    not be satisfied in the relevant time frame set forth below, then Landlord shall have the right to
      45    terminate this Lease by sending a written termination notice to Tenant no later than five (5)
      46    business days after the first occurrence of any of the conditions not being satisfied:

      47                            (a)    Within thirty (30) days after the Effective Date, Tenant shall deliver
      48    the Tenant's Plans to Landlord and within sixty (60) days after the Effective Date Landlord shall
      49    prepare the Preliminary Plans such that such Preliminary Plans are either not less than eighty-
      50    five percent (85%) complete or so complete as to allow Landlord to apply for the permits
      51    specified in clause (c) below.




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       1                         (b)     The execution by Landlord of a construction contract with a
       2   responsible contractor at a cost which is deemed reasonable by Landlord, in its good faith and
       3   commercially reasonable judgment, within sixty (60) days after the Effective Date.

       4                           (c)      The Landlord shall obtain a demolition permit within ninety (90)
       5   days after the Effective Date and a building permit for Landlord's Work within one-hundred
       6   twenty (120) days after the Effective Date. This condition shall be deemed waived by Landlord
       7   if Landlord fails to apply for the demolition permit or the building permit in a timely and
       8   expeditious manner.

       9                         (d)    Relocation agreements in a commercially reasonable form from
      10   Singer Sewing Center, Gulf States Research, Regis Hair Salon and Walden Books shall be
      11   obtained by the Landlord within sixty (60) days of the Effective Date.

      12   Landlord and Tenant agree that they will each exercise their best efforts, and take whatever
      13   action as is required of them, in order to satisfy the conditions set forth in clauses (a), (b), (c)
      14   and (d) above. In the event that any of the conditions are not satisfied within the time periods
      15   set forth above and, such failure and/or delay in satisfying such conditions was due in whole or
      16   in part to the Landlord's failure to perform its obligations in accordance with this Lease, or was
      17   due to the occurrence of a Force Majeure, then, Landlord shall not have the right to terminate
      18   this Lease and the time period within which to satisfy any of such conditions shall be extended
      19   day per day for each day of the delay caused by Landlord's failure and/or the occurrence of the
      20   Force Majeure. The provisions of this Section 2,1.2 shall not be deemed to modify or alter the
      21   provisions of Section 3.2.

      22            Section 2.2    Term.

      23                   2.2.1 Initial Term. Subject to the provisions of this Article 2, the Term of this
      24   Lease shall begin on the sixtieth (60th) day following the Delivery Date (the "Rent
      25   Commencement Date"). The Term shall expire on the Expiration Date, unless earlier
      26   terminated as herein provided. When the Rent Commencement Date has been determined, as
      27   provided in this Section, Landlord and Tenant shall execute, acknowledge and deliver, each to
      28   the other, a written statement in the form attached hereto as Exhibit C specifying the Rent
      29   Commencement Date.

      30                   2.2.2 Renewal Options. Tenant shall have the right and option (hereinafter a
      31   "Renewal Option") to extend the Initial Term from the date on which it would otherwise expire
      32   for four (4) successive renewal periods of five (5) years each (individually, a "Renewal Period",
      33   and collectively, the "Renewal Periods") upon the same terms and conditions as are herein set
      34   forth. Each Renewal Option shall be exercisable by notice given to Landlord at least one
      35   hundred eighty (180) days prior to the commencement of the applicable Renewal Period(s).

      36            Section 2.3    Delivery Date.

      37                    2.3.1 Definition. Landlord shall be deemed to have delivered possession of the
      38   Premises to Tenant at 8:00 a.m. on the date (the "Delivery Date") following the day on which
      39   all of the following conditions (the "Delivery Date Conditions") shall have occurred and Tenant
      40   shall have received from Landlord the Delivery Date Certification in accordance with the
      41   provisions of Section 2.3.3 below, which shall constitute Landlord's written certification that all of
      42   the following shall have occurred:

      43                          (a)     Actual possession of the Premises shall have been delivered to
      44   Tenant water-tight, free of Hazardous Substances, in a good, structurally sound condition, with
      45   all of Landlord's Work Substantially Completed, which Substantial Completion shall be
      46   evidenced by a written certification by Landlord's architect to Tenant;

      47                          (b)      Landlord shall have obtained (and delivered copies thereof to
      48   Tenant, upon request) all permits and approvals, if any, required from all applicable
      49   governmental authorities to enable Tenant to occupy and use the Premises for the conduct of its
      50   business in the Premises (exclusive of any business licenses which Tenant may be required to
      51   obtain in order to open and operate its specific business and not a general retail business
      52   (collectively, "Tenant's Permits")), which permits and approvals shall include, without
      53   limitation, a permanent certificate of occupancy for the Premises (unless a permanent certificate
      54   of occupancy for the Premises cannot be obtained solely as a result of the failure to complete
      55   Tenant's Work in the manner required hereunder, in which event: (1) the delivery of a
      56   permanent certificate of occupancy for the Premises shall not be a condition to the occurrence
      57   of the Delivery Date, (2) the obtaining of a temporary certificate of occupancy shall be a
      58   condition to the occurrence of the Delivery Date, and (3) Landlord shall obtain the permanent



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       1    certificate of occupancy promptly following the correction or completion of Tenant's Work);
       2    provided, however, if Tenant is required by the Legal Requirements to obtain the temporary or
       3    permanent certificate of occupancy, then Landlord shall perform and complete all work
       4    necessary so that Tenant is able to obtain such temporary or permanent certificate of
       5    occupancy after Tenant's Work is substantially complete.

       6                              (c)    Intentionally Omitted.

       7                          (d)   The representations and warranties of Landlord set forth in
       8    subparagraphs (a) through (h) of Section 12.3 below shall then be true and in effect;

       9                             (e)    Leases or other occupancy agreements shall have been entered
      10    into with Palace Theater and Target for a minimum term of ten (10) years (hereinafter
      11    collectively referred to as the "Inducement Tenants") for occupancy of the premises
      12    designated for them on Exhibit B and Sears shall be open to the public and operating its store at
      13    the location shown on Exhibit B; and

      14                          (f)    Landlord shall have delivered to Tenant, in recordable form: (i) a
      15    subordination, non-disturbance and attornment agreement in the form attached hereto as
      16    Exhibit G executed by each holder of any mortgage or deed of trust encumbering or affecting
      17    the Shopping Center or any portion thereof, and (ii) a fee owner recognition agreement in the
      18,   form and content described in clause (b) of Section 17 .1 hereof executed by any existing
      19    Ground Lessor.

      20                      2.3.2   Delivery Date.

      21                            (a)    Landlord shall give Tenant at least one hundred and twenty (120)
      22    days prior notice of the Delivery Date, using the form of Delivery Date Notice attached hereto as
      23    Exhibit I. Landlord's delivery of the Delivery Date Notice shall be a condition precedent to the
      24    Rent Commencement Date. Notwithstanding any provision of this Lease to the contrary, in no
      25    event shall the Delivery Date be deemed to occur prior to the Delivery Date established in the
      26    Delivery Date Notice.

      27                             (b)      Landlord acknowledges that if it shall fail to satisfy all of the
      28    Delivery Date Conditions by the Delivery Date as established in the Delivery Date Notice,
      29    Tenant will sustain substantial, additional costs and expenses, including, without limitation,
      30    storage costs for fixtures, equipment, and inventory, employee costs during waiting period, and
      31    additional advertising and promotional costs, the exact amount of which would be impracticable
      32    or extremely difficult to ascertain. If the Delivery Date does not occur by the date established
      33    therefor in the Delivery Date Notice, then, in addition to any other remedies available to Tenant
      34    under this Lease, Landlord agrees to allow to Tenant a credit against the initial installment(s) of
      35    Rent hereunder equal to any and all reasonable costs, expenses, liabilities and damages
      36    incurred, directly or indirectly, by Tenant (and which Tenant continues to incur for each day that
      37    the Delivery Date established by the Delivery Date Notice is delayed) ("Damages") in
      38    connection with or resulting from such delay.

      39                  2.3.3 Delivery Date Certification. Upon the satisfaction of all of the Delivery
      40    Date Conditions, Landlord shall so certify to Tenant, using the form of Delivery Date Certification
      41    attached hereto as Exhibit J.

      42                    2.3.4 No Waiver. If Tenant accepts physical possession of the Premises, it
      43    shall be deemed to have waived the then unsatisfied Delivery Date Conditions; provided,
      44    however, Tenant may prevent such waiver and Landlord shall remain obligated to satisfy such
      45    conditions if Tenant, within five (5) business days of its acceptance of the physical possession
      46    of the Premises sends written notice to Landlord setting forth those Delivery Date Conditions the
      47    satisfaction of which Tenant is not waiving.

      48            Section 2.4     Unseasonable Delivery: Slack Period. If, for any reason (including,
      49    without limitation, Force Majeure), the Delivery Date occurs during the period commencing on
      50    October 1 and ending on the March 31 next following (the "Slack Period'), then Tenant shall
      51    accept delivery of physical possession of the Premises (subject to the other provisions of this
      52    Article 2 and the continuing satisfaction of the Delivery Date Conditions), and shall be entitled to
      53    pay only Fixed Rent, and not Percentage Rent pursuant to Section 4.4, for the period
      54    commencing on the Rent Commencement Date and ending on the March 31 next following.
      55    After the Slack Period, Tenant shall be obligated to pay Fixed Rent and Percentage Rent
      56    pursuant to Section 4.4.




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        1            Section 2.5     Initial Co-Tenancy Condition.

        2                   2.5.1 As used herein, the "Initial Co-Tenancy Condition" shall mean that one
        3   (1) of the inducement Tenants shall have accepted possession of its entire premises, such
        4   premises shall have been substantially completed, and such Inducement Tenant shall, if not
        5   already open for business, then be actively and continuously engaged in the fixturing and
        6   merchandising therein and Sears shall have been operating and open for business at its
        7   location adjacent to the Shopping Center as shown on Exhibit B.

        8                  2.5.2 If, on the Delivery Date, the Initial Co-Tenancy Condition has not been
        9   satisfied, Tenant shall have the right, at its sole option, to:

       10                          (a)      accept delivery of physical possession of the Premises (subject to
       11   the other provisions of this Article 2 and the continuing satisfaction of the Delivery Date
       12   Conditions); or

       13                          (b)    defer its acceptance of delivery of physical possession of the
       14   Premises to a later date (but not later than the date on which the Initial Co-Tenancy Condition is
       16   satisfied and Tenant receives notice from Landlord thereof), whereupon the Delivery Date shall
       16   be deemed to have occurred on the date that Tenant actually accepts physical possession of
       17   the Premises (subject to the other provisions of this Article 2 and the continuing satisfaction of
       18   the Delivery Date Conditions); and

      19    in either event, if the Rent Commencement Date occurs before the satisfaction of the Initial Co-
      20    Tenancy Condition, Tenant shall be entitled to pay Alternate Rent in lieu of Fixed Rent until the
      21    Initial Co-Tenancy Condition is satisfied and the Landlord gives Tenant notice thereof, subject to
      22    any other applicable provisions of this Article 2.

      23                     2.5.3 In addition to the provisions of Section 2.5.2 above, if the Co-Tenancy
      24    Condition has not been satisfied by the first (1st) anniversary of the Delivery Date established
      25    pursuant to Section 2.3.2(a) above, then Tenant shall have the right, at any time prior to the
      26    satisfaction of the Co-Tenancy Condition, upon giving Landlord at least one hundred twenty
      27    (120) days' prior notice, to terminate this Lease as of the date specified in said notice. Landlord
      28    may negate such termination by causing the Co-Tenancy Condition to be satisfied within thirty
      29    (30) days after the date on which said termination notice is given. If this Lease is terminated
      30    hereunder, neither party shall have any further liability under this Lease, except: (i) as set forth
      31    in Section 23.3 below, and (ii) Landlord shall promptly pay and reimburse Tenant for all of its
      32    Damages reasonably incurred in connection with this Lease, including, without limitation, all
      33    reasonable third-party costs and expenses associated with the preparation and review of plans
      34    and specifications, and the performance of Tenant's Work, not to exceed Fifty Thousand Dollars
      35    ($50,000).



      36                                               ARTICLE 3
      37                                             IMPROVEMENTS

      38             Section 3.1     Landlord's Work and Tenant's Work.

      39                   3.1.1 Landlord's Work and Tenant's Work. Landlord shall, at its sole cost and
      40    expense, perform the work and obligations described on Exhibit D, Exhibit D-1, and Exhibit F
      41    hereto, and the "Final Plans and Specifications" (hereinafter defined in Section 3.2) (collectively,
      42    "Landlord's Work"), and shall deliver possession of the Premises to Tenant in the condition
      43    described therein. Except for Landlord's Work, Tenant shall, at its own cost and expense, do
      44    any and all work (hereinafter referred to as "Tenant's Work") which Tenant desires to adapt
      45    the Premises to Tenant's use.

      46                    3.1.2 Tenant Reimbursement. Tenant shall reimburse Landlord the sum of
      47    Two Million Dollars ($2,000,000.00) as Tenant's contribution toward the costs actually incurred
      48    by Landlord in performing the Landlord's Work, such amount to be paid within thirty (30) days
      49    after Tenant's receipt or the occurrence, as the case may be, of the following:

      50                             (a)   a copy of the temporary or permanent certificate of occupancy for
      51    the Premises;

      52                          (b)     substantial completion of the Landlord's Work and Tenant's Work
      53    (in accordance with the Final Plans and Specifications) as certified by Landlord's architect;




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       1                          (c)     a copy of a fully executed standard form of contractor's requisition
       2   indicating final completion of Landlord's Work and Tenant's Work, subject to punchlist items;
       3   and

       4                         (d)     final lien waivers evidencing that all contractors have been paid
       5   and that no liens have been filed.

       6            Section 3.2      Plan Approvals.

       7                     3.2.1   Preparation of Plans and Specifications.

       8                          (a)     Prior to the Effective Date, Landlord delivered to Tenant drawings
       9   showing the proposed footprint, column layout, and interior clear dimensions of the Premises
      10   (the "Preliminary LOD") [Limits of Demised], which were subject to any reasonable
      11   modifications indicated by Tenant as provided below. The Preliminary LOD had to be
      12   substantially consistent with Exhibits B, D, and D-1 hereto.

      13                           (b)    Prior to the Effective Date, Tenant delivered to Landlord its
      14   revisions thereto (the "Revised LOD"), showing the location of the interior structural grid
      15   (column layout), storefront opening, and mezzanine and/or office core, the location and
      16   arrangement of the loading facilities and trash compactor pad, and any reasonable revisions to
      17   the interior clear dimensions.

      18                           (c)     Prior to the Effective Date, Landlord and Tenant agreed to a
      19   certain LOD as shown on Exhibit B (the "Certified LOD") certified by Landlord, which
      20   incorporated all of the elements of the Revised LOD. Any further changes thereto shall be
      21   subject to Tenant's prior written approval (which may be withheld in its sole discretion), provided
      22   that, as to changes required to conform to Legal Requirements, Tenant shall have reasonable
      23   approval rights within the confines of said Legal Requirements. After Tenant approves the
      24   Certified LOD, Landlord shall be responsible for any and all reasonable costs incurred and
      25   delays experienced by Tenant in connection with any further changes to the Certified LOD
      26   required by Landlord. Notwithstanding the foregoing, Landlord and Tenant acknowledge that
      27   following performance by Landlord of that portion of Landlord's Work constituting demolition, the
      28   parties shall proceed diligently to develop the final LOD (the "Final Certified LOD"), certified by
      29   Landlord, which will incorporate all of the elements of the Certified LOD referred to in this
      30   Section 3.2.1(c), whereupon all references in this Lease to "Certified LOD" shall instead refer to
      31   the Final Certified LOD.

      32                           (d)    Within thirty (30) days after the Effective Date, Landlord shall
      33   deliver to Tenant its demolition and foundation plans (the "Demolition/Foundation Plans"),
      34   which shall be reasonably consistent with the Certified LOD. Within five (5) days following its
      35   receipt of the Demolition/Foundation Plans, Tenant shall give Landlord notice of the respects, if
      36   any, in which the Demolition/Foundation Plans fail to meet Tenant's reasonable approval, and
      37   Landlord shall promptly make any revisions necessary to correct such matters and obtain
      38   Tenant's approval.

      39                           (e)    Within thirty (30) days after the Effective Date, Tenant shall deliver
      40   to Landlord its Fixture Plan (F1); Floor Finish Plans Notes and Details (F2); Power/Specialty
      41   Lighting Plan and Notes (F3); and Lighting Plans and Notes (F4) (collectively, "Tenant's
      42   Plans"), all of which shall be substantially consistent with the Certified LOD (as same may be
      43   reasonably modified by Tenant, as noted above).

      44                            (f)     Within thirty (30) days after receipt of Tenant's Plans, Landlord
      45   shall prepare and submit to Tenant, in a single submission, Landlord's preliminary plans and
      46   specifications (the "Preliminary Plans") for Landlord's Work [which shall include, without
      47   limitation, mechanical (including, without limitation, one (1) "hospital style" passenger elevator,
      48   one (1) freight elevator, two (2) passenger escalators and two (2) cart "Vermaport" escalators],
      49   electrical, plumbing, fire protection and high-pile storage, structural, architectural and site plans
      50   [including, without limitation, a site lighting plan with photometrics]), and each of the plans which
      51   collectively constitute the Preliminary Plans shall be at least eighty-five percent (85%) complete,
      52   in Tenant's reasonable judgment. The Preliminary Plans shall be substantially consistent with
      53   Tenant's Plans, the Certified LOD, and Exhibits B. D, 0-1, and F hereto.

      54                          (g)    Within fifteen (15) days after its receipt of the Preliminary Plans,
      55   Tenant shall give Landlord notice of the respects, if any, in which said Preliminary Plans fail to
      56   meet Tenant's reasonable approval and/or fail to conform to the Certified LOD, Tenant's Plans,
      57   and/or Exhibits B, D, 0-1, and F hereto, and Landlord shall promptly make any revisions
      58   necessary to correct such matters and obtain Tenant's approval.


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       1                           (h)    Within thirty (30) days after the date on which Landlord receives
       2    notice of Tenant's approval of the Preliminary Plans, Landlord shall prepare and deliver to
       3    Tenant, in a single submission, final plans and specifications (the "Final Plans and
       4    Specifications"), which shall be substantially consistent with the Preliminary Plans, as
       5    approved by Tenant.

        6                          (i)    Within fifteen (15) days after its receipt of the Final Plans and
        7   Specifications, Tenant shall notify Landlord of Tenant's approval thereof or the reasons why
        8   such approval cannot be granted, and Landlord shall, within fifteen (15) days after receiving
        9   such notice, make any revisions necessary to correct such matters and obtain Tenant's
       10   approval. Upon Tenant's approval of the Final Plans and Specifications, any further changes
       11   thereto shall be subject to Tenant's prior written approval. Unless specifically noted on a
       12   separate summary sheet attached to the Final Plans and Specifications, to the extent of a
       13   conflict between the terms and provisions of Tenant's Plans, Exhibit B, Exhibit D, Exhibit D-1,
       14   and/or Exhibit F hereto, and the terms and provisions of the Final Plans and Specifications, then
       15   the terms and provisions of Tenant's Plans, Exhibit B, Exhibit D, Exhibit D-1, and Exhibit F shall
       16   govern and prevail.

       17                          (i)    All submissions by the parties of the Tenant's Plans, the
       18   Preliminary Plans, and the Final Plans and Specifications shall be made (or accompanied) by
       19   the computer files thereof formatted in "AutoCAD /4"format.

      20                      3.2.2   Plan Changes

      21                           (a)      Tenant shall have the right to make changes from the standards
      22    and specifications set forth in "Tenant's Prototype Drawings and Specifications" and/or the
      23    "Project Manual", referred to in Exhibit D hereto, and/or to require Landlord to subsequently
      24    make changes to either or both of the Preliminary Plans and Specifications and/or the Final
      25    Plans and Specifications in accordance therewith (the "Changes").

      26                          (b)     Tenant shall pay to Landlord the net reasonable additional third-
      27    party costs of Landlord's Work resulting directly and solely from the aggregate Changes
      28    (exclusive of any charges for overhead and profit, other than sums not exceeding five percent
      29    (5%) subcontractor profit and five percent (5%) general contractor profit thereon), taking into
      30    consideration any and all actual costs and savings resulting from all Changes, in the aggregate.
      31    Such payment shall be due and payable within thirty (30) days after Tenant's receipt of backup
      32    information reasonably supporting all such costs, including, without limitation, invoices, receipts
      33    and lien waivers of subcontractors and materialmen.

      34                            (c)      Landlord shall pay to Tenant the net reasonable cost savings
      35    resulting from the aggregate Changes, taking into consideration all reasonable additional third-
      36    party costs of Landlord's Work directly and solely resulting from the Changes (exclusive of any
      37    charges for overhead and profit, other than sums not exceeding five percent (5%) subcontractor
      38    profit and five percent (5%) general contractor profit thereon). At Tenant's request, Landlord
      39    shall deliver to Tenant backup information reasonably supporting all such additional costs,
      40    including, without limitation, invoices, receipts, and lien waivers of subcontractors and
      41    materialmen. Such payment shall be due and payable within thirty (30) days after the Delivery
      42    Date.

      43                             (d)     If the Changes occur during the preparation of any of the plans
      44    described in Section 3.2.1 above, then the deadlines for preparation and delivery of the plans
      45    then being prepared shall be extended as reasonably necessary to incorporate such Changes.
      46    If, despite Landlord's diligent efforts in performing Landlord's Work, the Changes cause a net
      47    delay in the Substantial Completion of Landlord's Work (taking into consideration any time
      48    reductions resulting from such changes), then: (i) the Rent Commencement Date shall be
      49    determined as if such delay had not occurred, and (ii) the commencement of the Slack Period
      50    and, for purposes of calculating Tenant's Damages under Subsection 2.3.2(b) above, the
      51    Delivery Date, shall be extended by the number of days of such net delay; provided, however,
      52    that, within five (5) days following its receipt of Tenant's notice describing the Changes,
      53    Landlord shall have notified Tenant in reasonable detail as to the nature and extent of such
      54    delay.

      55            Section 3.3       Performance of Work.

      56                    3.3.1 Both Landlord's Work and Tenant's Work shall be performed in a good
      57    and workmanlike manner, in compliance with all applicable Legal Requirements, utilizing only
      58    new, first-class materials and in accordance with all insurance company requirements. Landlord
      59    shall perform Landlord's Work in a manner such that Tenant will be able to obtain Tenant's


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       I    Permits. Landlord shall pay all impact fees and related governmental charges in connection
       2    with Landlord's Work and all other work performed by or on behalf of Landlord in connection
       3    with the Shopping Center. If Tenant's Permits cannot be obtained because Landlord's Work
       4    has not been completed or has been performed improperly or by reason of any then existing
       5    condition of the Shopping Center, Landlord shall remedy the situation so as to enable Tenant to
       6    obtain Tenant's Permits, and the Delivery Date shall be deemed delayed, for Tenant's benefit
       7    only, on a day-for-day basis for each day of delay occasioned thereby.

        8                    3.3.2 If: (a) Landlord's Work has not been commenced within six (6) months
        9   after the Effective Date, or (b) the Delivery Date shall not have occurred by March 31, 2003
       10   (subject to Force Majeure, not to exceed thirty (30) days in the aggregate, and provided that
       11   Landlord shall have given Tenant notice of such event of Force Majeure promptly after its
       12   occurrence), Tenant may thereafter, during such time as Landlord's Work has not been
       13   commenced or the Delivery Date has not occurred, as the case may be, consider Landlord to be
       14   in default hereunder and, at Tenant's option in its sole discretion, elect to:

      15                      (i)      terminate this Lease, if Landlord shall fail to fully cure such default
      16              within thirty (30) days after receiving Tenant's notice thereof, in which event
      17              neither party shall have any further liability hereunder (other than as set forth in
      18              Section 23.3 below), except that Landlord shall be obligated to promptly pay and
      19              reimburse Tenant for all of Tenant's Damages, including, without limitation,
      20              reasonable third-party costs and expenses incurred in connection with this
      21              Lease, with the preparation and review of plans and specifications, and with the
      22              performance of Tenant's Work; and/or

      23                      (ii)  avail itself of the remedies set forth in Section 16.2 below
      24              (provided, however, that the cure period set forth therein shall not be applicable);
      25              and/or

      26                       (iii)  extend one or more times the dates set forth in clauses (a) and/or
      27              (b) of this Subsection 3.3.2 to such future dates designated by Tenant in notice
      28              given to Landlord.

      29    The election by Tenant of any one or more of the foregoing remedies shall not preclude the
      30    subsequent election of any alternative remedy provided in this Section, this Lease, at law, or in
      31    equity.

      32                    3.3.3 Landlord's Work Performed After Delivery of Possession. On or before
      33    the Delivery Date, Landlord's and Tenant's representatives together shall conduct a walk-
      34    through of the Premises to compile a punch list of the "Punch List Items" (hereinafter defined).
      35    Tenant shall deliver to Landlord a copy of said punch list within five (5) days after the walk-
      36    through. Landlord shall complete any Punch List Items within ten (10) days after it receives a
      37    copy of said punch list. If Landlord fails to complete any item on said punch list within said 10-
      38    day period, Tenant shall have the right to complete such item(s) using its own contractors and
      39    receive reimbursement from Landlord for the reasonable costs and expenses thereof upon
      40    demand. If reasonably required by Tenant, any portion of Landlord's Work which is performed
      41    after Tenant accepts physical possession of the Premises shall occur only "after hours", when
      42    neither Tenant nor any of its agents, contractors, employees and servants are working within
      43    the Premises, and Landlord shall reimburse Tenant for the reasonable costs and expenses
      44    incurred by Tenant by reason of such "after hours" performance of Landlord's Work. Within
      45    thirty (30) days following Substantial Completion of Landlord's Work, Landlord shall deliver to
      46    Tenant a duplicate copy of the "as built" plans for the building containing the Premises. As used
      47    herein, the term "Punch List !terns" shall mean such minor items of a cosmetic nature which,
      48    when considered as a whole, do not adversely affect either the performance of Tenant's Work
      49    or Tenant's ability to conduct its normal business operations in the Premises.

      50                     3.3.4 Tenant's Right of Entry. Prior to the Delivery Date, Tenant may enter
      51    upon the Premises for the purposes of inspecting the work, taking measurements, making
      52    plans, erecting temporary or permanent signs and doing such other work as may be appropriate
      53    or desirable without being deemed thereby to have taken possession or obligated itself to pay
      54    Rent, provided, however, that Tenant shall not, during the course of such work, materially
      55    interfere with the performance of Landlord's Work and shall indemnify and hold Landlord
      56    harmless from and against any and all claims or losses arising from Tenant's entry upon the
      57    Premises, except to the extent caused by Landlord, its agents, employees, or contractors.

      58                        3.3.5   Intentionally Omitted.




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       1                   3.3.6 Work Requirements After Delivery Date. Following the Delivery Date, any
       2   construction by Landlord or other tenants or occupants of the Shopping Center affecting any
       3   portion of the Shopping Center shall be subject to the following terms and conditions:

       4                            (a)   all staging and storage of materials and parking of construction
       5   vehicles shall at all times occur only within the portions of the Shopping Center designated as
       6   "Staging" on Exhibit B hereto;

       7                           (b)     Landlord shall at all times proceed diligently to ensure that from
       8   and after Tenant's opening for business to the public, no ingress, egress or passage of any
       9   construction, delivery and related vehicles engaged in the performance of such work or other
      10   construction activities shall take place in the "No Build Area" shown on Exhibit B hereto; and

      11                          (c)     Landlord shall maintain the Shopping Center in a clean, safe, and
      12   sightly condition, and shall use reasonable efforts to ensure that such construction shall not
      13   otherwise materially adversely interfere with the normal conduct of any business operations in
      14   the Premises.

      15            Section 3.4    Measurement; Adjustment of Rent.

      16                    3.4.1 Measurement of Premises and Shopping Center. Within five (5) days
      17   after the completion of the exterior walls and the demising walls of the Premises (and at least
      18   sixty (60) days prior to the Delivery Date), Landlord shall deliver to Tenant a certification to
      19   Tenant by Landlord's licensed architect, surveyor or engineer of the Floor Area of the Premises
      20   and of the Shopping Center, the measurements of which shall be subject to confirmation by
      21   Tenant's licensed architect, surveyor or engineer. If Landlord shall fail so to deliver such
      22   certification to Tenant, Tenant shall have the right to have any of such measurements made and
      23   certified to Landlord by Tenant's licensed architect, surveyor or engineer. If the Floor Area of
      24   the Premises is determined to be less than Fifty Thousand (50,000) square feet, then, without
      25   limiting Tenant's other rights and remedies under this Lease, it shall have the right (a) to
      26   terminate this Lease upon notice to Landlord given within fifteen (15) days after Tenant's receipt
      27   of the final measurement determination, (b) to receive a refund from Landlord of all amounts
      28   theretofore paid to Landlord pursuant to the terms of this Lease, and (c) to be paid and
      29   reimbursed by Landlord for all of Tenant's Damages including, without limitation, reasonable,
      30   third-party costs and expenses incurred by Tenant in connection with Tenant's Work, and plan
      31   preparation and review.

      32                    3.4.2 Measurement of Mezzanine. Within five (5) days after the completion of
      33   the walls enclosing the office mezzanine, Landlord shall deliver to Tenant a certification to
      34   Tenant by Landlord's licensed architect, surveyor or engineer of the Floor Area of said
      35   mezzanine, the measurements of which shall be subject to confirmation by Tenant's licensed
      36   architect, surveyor or engineer. If the square footage of the office mezzanine varies by more or
      37   less than five percent (5%) from that shown on the Final Plans and Specifications, then, at
      38   Tenant's request, Landlord shall correct such work to substantially conform to the Final Plans
      39   and Specifications. It shall be an immediate Landlord's Default under this Lease if Landlord fails
      40   to commence to correct such work within thirty (30) days of its receipt of Tenant's request to do
      41   so or fails to complete such corrections within sixty (60) days of its receipt of Tenant's request to
      42   do so.

      43                   3.4.3 Adjustment of Fixed Rent and Tenant's Pro Rata Share. Subject to the
      44   provisions contained in Section 3.4.1, if the measurement of the Premises shall indicate a Floor
      45   Area greater or less than the Floor Area of the Premises set forth in Subsection 1.1.28 above,
      46   the Fixed Rent shall not be adjusted; however, any other applicable provision of this Lease
      47   (including, without limitation, Tenant's Pro Rata Share) shall be increased or reduced, as the
      48   case may be, to conform to the actual measurement, and Tenant shall receive a proportional
      49   refund of any Additional Rent theretofore paid to Landlord or make a proportional payment of
      50   Additional Rent theretofore owed to Landlord. Landlord and Tenant shall each promptly
      51   execute and deliver to the other an amendment memorializing any change to the Tenant's Pro
      52   Rata Share, or any other applicable provisions of this Lease, made pursuant to this Section 3.4.
      53   Any dispute between the parties with respect to the Floor Area of the Premises, the square
      54   footage of said non-selling space or the Floor Area of the Shopping Center shall be resolved by
      55   arbitration in accordance with the provisions of Section 16.3 below.

      56                   3.4.4 Notwithstanding the foregoing, if the deviation in the measurement of the
      57   Leased Premises is less than one percent (1%), then no adjustments shall be made to any
      58   provisions of this Lease, provided that the Floor Area of the Premises shall be no less than fifty
      59   thousand (50,000) square feet. Tenant shall notify Landlord of any deviation in the
      60   measurement of the Leased Premises within five (5) business days after the Delivery Date.


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       1                                     ARTICLE 4
       2         FIXED RENT, TAXES & PERCENTAGE RENT: DETERMINATION AND PAYMENT

       3           Section 4.1   Fixed Rent. Commencing on the Rent Commencement Date and
       4   continuing throughout the Term, Tenant shall pay to Landlord the Fixed Rent, in equal
       5   successive monthly installments, in advance, on the first day of each and every calendar month
       6   throughout the Term, except that Fixed Rent payable for any partial calendar month during the
       7   Term shall be prorated. Fixed Rent shall be paid without deduction or set-off, except to the
       8   extent otherwise expressly provided herein.

       9           Section 4.2   Payment of Rent. All Rent shall be mailed or otherwise delivered to
      10   Landlord's Mailing Address above or, upon at least thirty (30) days' prior notice to Tenant, to
      11   such other address as Landlord may from time to time designate. Landlord acknowledges and
      12   agrees that for administrative purposes, Tenant has designated BBBY Management
      13   Corporation, a New York corporation (the "Paying Agent"), to make all Rent payments due to
      14   Landlord under this Lease. Said designation (which may be revoked by Tenant at any time) is
      15   not intended as, and shall not constitute, an assignment of any rights or obligations of Tenant to
      16   the Paying Agent, and Tenant shall remain primarily liable for payment of Rent under this
      17   Lease. All payments of Rent received by Landlord from the Paying Agent shall be credited to
      18   Tenant as if such payments of Rent had been made by Tenant directly to Landlord.

      19           Section 4.3     Real Estate and Other Taxes.

      20                  4.3.1 Landlord shall pay on or before the due dates thereof all "Taxes" (defined
      21   in Subsection 4.3.3 below) other than personal property taxes levied against tenants.
      22   Throughout the Term, Landlord shall cause the Shopping Center to be maintained entirely
      23   within tax parcels and lots that exclude any property not a part of the Shopping Center.

      24                   4.3.2 In addition to the sum set forth in Section 4.4.9 below, Tenant shall pay to
      25   Landlord Tenant's Pro Rata Share of the increase in Taxes imposed during the second full
      26   calendar year over those Taxes imposed during the first full calendar year, subject to the
      27   provisions of this Section 4.3, and Tenant shall pay Tenant's Pro Rata Share of the increase in
      28   Taxes which accrue during each subsequent full calendar year over the immediately preceding
      29   full calendar year. Any Taxes for a real estate fiscal tax year, only a part of which is included
      30   within the Term, shall be adjusted between Landlord and Tenant on the basis of a 365-day year
      31   as of the Rent Commencement Date or the date on which the Term expires or earlier
      32   terminates, as the case may be, for the purpose of computing Tenant's Pro Rata Share of
      33   Taxes. If, by law, any Taxes may, at the option of the taxpayer, be paid in installments (whether
      34   or not interest shall accrue on the unpaid balance thereof), Landlord shall exercise such option
      35   so as to maximize the number of installments, and Landlord shall pay the same as they come
      36   due and before any fine, penalty, interest or cost may be added thereto for nonpayment thereof.

      37                    4.3.3 Landlord shall submit to Tenant a copy of the bill for Taxes issued by the
      38   applicable taxing authority, a computation of Tenant's Pro Rata Share of the increase in such
      39   Taxes, if any, and proof of the payment of Taxes for the previous payment period, as well as
      40   copies of all notices concerning assessments, tax rates, and changes thereto. Tenant shall pay
      41   Landlord in the amount required by this Subsection 4.3.2 within thirty (30) days after receipt of
      42   such bill (but in no event earlier than the fifteenth (15th) day prior to the date on which such
      43   Taxes would become delinquent).

      44                   4.3.4 As used herein, "Taxes" shall mean all general, ad valorem real estate
      45   taxes, and assessments for betterments and improvements that are levied or assessed by any
      46   lawful authority on the Shopping Center (general or special), including any substitution therefor,
      47   in whole or in part, due to a future change in the method of taxation. Taxes shall be reduced by
      48   any deferral, abatement, or other tax-lowering adjustment received by Landlord from the taxing
      49   authorities. For purposes of computing Tenant's Pro Rata Share of Taxes, Taxes shall not
      50   include any: (1) income, excise, profits, estate, inheritance, succession, gift, transfer, franchise,
      51   capital, or other tax or assessment upon Landlord or upon the rentals payable under this Lease;
      52   (2) taxes on rents (other than to the extent that such taxes are customarily paid by retail tenants
      53   in the state in which the Shopping Center is located), gross receipts or revenues of Landlord
      54   from the Premises; (3) fine, penalty, cost or interest for any tax or assessment, or part thereof,
      55   which Landlord or its lender failed to timely pay (except if same are caused by an Event of
      56   Default); (4) assessment for a public improvement arising from the initial construction or
      57   expansion of the Shopping Center or the Premises (it being agreed that all assessments
      58   imposed during the Term which are permitted to be included within Taxes hereunder shall, for
      59   the purposes of computing Tenant's Pro Rata Share thereof, be deemed to have been paid in
      60   the maximum number of installments permitted by the applicable taxing authority); (5) Taxes
      61   resulting directly from an increase in the assessment caused by a sale or ground lease of all or


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       1   any portion of the Shopping Center to an Affiliate of Landlord or more than once every five (5)
       2   years; or (6) fees imposed upon Landlord in connection with Landlord's development of the
       3   Shopping Center (including, without limitation, trip generation fees). All Taxes payable by
       4   Tenant pursuant to this Section 4.3 shall be determined as if the Shopping Center was the only
       5   property owned by Landlord. Landlord represents to Tenant that, as of the Effective Date and,
       6   to the best of Landlord's knowledge, as of the anticipated Delivery Date, no portion of the
       7   Shopping Center is or will be (i) subject to or the beneficiary of an abatement of Taxes, (ii)
       8   subject to any special assessments or similar charges, or (iii) included in any special
       9   improvement district(s) which would result in higher sales taxes or other similar impositions than
      10   would exist in the absence of such district(s).

      11                     4.3.5 At Tenant's request, Landlord shall contest the amount or validity of any
      12   assessed valuation or Taxes, failing which, Tenant shall have the right to contest the assessed
      13   valuation or Taxes by appropriate proceedings conducted in good faith, whereupon Landlord
      14   shall cooperate with any reasonable effort of Tenant, execute any and all documents reasonably
      15    required in connection therewith and, if required by any governmental authority having
      16   jurisdiction, join with Tenant in the prosecution thereof. If, as a result of any contest or
      17   otherwise, any rebate or refund of Taxes is received, Tenant shall be entitled to Tenant's Pro
      18   Rata Share thereof (after reasonable and customary expenses incurred by Landlord and/or
      19   Tenant in connection with such contest are paid to the party which incurred such expense).

      20            Section 4.4     Percentage Rent.

      21                 4.4.1 Payment. During and for each full calendar year during the Term, Tenant
      22   shall pay annual percentage rent ("Percentage Rent") equal to six percent (6%) (the
      23   "Percentage Multiple") of all "Gross Sales" (hereinafter defined in Subsection 4.4.2) resulting
      24   from business conducted in, on or from the Premises during such calendar year in excess of the
      25   following amounts (each a "Sales Break Point") for the periods indicated:

                            s

           Rent Commencement Date to end of first             No Percentage Rent payable
           full calendar year of the Initial Term.

           First day of the second full calendar year of      $11,500,000.00 Sales Break Point; provided that the
           the Initial Term, through the end of the Initial   Percentage Rent payable shall not exceed $500,000 per
           Term.                                              year

           First and Second Renewal Periods                   $12,250,000.00 Sales Break Point; provided that the
                                                              Percentage Rent payable shall not exceed $540,000 per
                                                              year

           Third and Fourth Renewal Periods                   $13,000,000.00 Sales Break Point; provided that the
                                                              Percentage Rent payable shall not exceed $575,000 per
                                                              year

      26

      27   Within sixty (60) days after the close of each calendar year for which Percentage Rent is
      28   payable, Tenant shall furnish to Landlord a compilation prepared by an officer of Tenant setting
      29   forth the amount of Gross Sales during the preceding calendar year and showing the amount of
      30   Percentage Rent, if any, required to be paid by Tenant for such calendar year. The full amount
      31   of any Percentage Rent due shall be paid to Landlord simultaneously with the furnishing of said
      32   compilation. Notwithstanding the foregoing, no Percentage Rent shall be payable with respect
      33   to the period commencing on the Rent Commencement Date and ending on the December 31
      34   next following the Rent Commencement Date.

      35                    4.4.2 Definition of Gross Sales. As used herein, the term "Gross Sales" shall
      36   mean the total amount of all sales of merchandise or services arising out of or payable on
      37   account of all the business conducted in, on or from the Premises by or on account of Tenant
      38   and any sublessee, licensee or concessionaire of Tenant (subject, however, to Section 4.4.6)
      39   and any other person or entity operating in the Premises, whether for cash, credit or otherwise,
      40   including redemption of gift certificates or gift cards, orders for merchandise taken from and
      41   filled at or from the Premises, and deposits not refunded to customers. A sale shall be deemed
      42   to have been consummated for purposes of this Lease, and the entire amount of the sales price
      43   shall be included in Gross Sales, at such time as (A) the transaction is initially reflected in the
      44   books or records of Tenant, orany sublessee, licensee or concessionaire of Tenant, or any
      46   other person or entity operating its business in the Premises, (B) Tenant or any other person or


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        1   entity operating its business in the Premises receives all or any portion of the sales price, or (C)
       2    the applicable goods or services are delivered to the customer, whichever of (A), (B) or (C) first
       3    occurs, irrespective of whether payment is made in installments, the sale is for cash or credit or
       4    otherwise, or all or any portion of the sales price has actually been paid at the time of inclusion
       5    in Gross Sales or at any other time. Tenant and the other persons and entities operating their
       6    business in the Premises shall record, at the time of each sale, all receipts from such sale,
       7    whether for cash, credit or otherwise, in a cash register or cash registers, or in such electronic
       8    or computer device which records sales in a manner which is generally acceptable by industry
       9    standards. The term "Gross Sales" shall exclude: (1) proceeds from any sales tax, gross
      10    receipts tax or similar tax, by whatever name called, which are separately stated and are in
      11    addition to the sales price, (2) bona fide transfers or exchanges of merchandise from the
      12    Premises to any other stores or warehouses of Tenant or any Affiliates of Tenant, and returns to
      13    shippers and manufacturers for credit, (3) refunds or credits given to customers for merchandise
      14    returned or exchanged at the Premises, (4) sales of Tenant's fixtures and equipment not in the
      15    ordinary course of Tenant's business, (5) to the extent of prior inclusion in Gross Sales, bad
      16    debts when written off the books of Tenant, provided that any collections made on account of
      17    such bad debts shall be included in Gross Sales when received, (6) receipts from vending
      18    machines installed solely for the use of Tenant's employees and receipts from pay telephones,
      19    (7) sales to employees of Tenant at discount (which, for the purposes of determining
      20    Percentage Rent hereunder, shall not exceed two percent (2%) of Gross Sales per calendar
      21    year or pro rata portion thereof, as applicable), (8) fees paid to independent third party credit
      22    card and debit card companies in connection with sales charged to or debited from customers'
      23    credit cards or debit cards, as applicable, (9) proceeds from delivery, wrapping and check
      24    cashing charges (which, for the purposes of determining Percentage Rent hereunder, shall not
      25    exceed two percent (2%) of Gross Sales per calendar year or pro rata portion thereof, as
      26    applicable), (10) sums and credits received in settlement of claims for loss or damage to
      27    merchandise, (11) separately stated service, finance and interest charges, (12) the dollar value
      28    of Tenant coupons utilized by customers in the purchase of merchandise from the Premises,
      29    (13) close-out or bulk sales of inventory to jobbers or wholesalers, (14) sales of gift certificates
      30    and/or gift cards, and (15) sales filled from, but not taken at, the Premises.

      31                     4.4.3 Books and Records. Tenant shall maintain at the Premises or at its
      32    principal office, complete books and records reflecting all elements of Gross Sales. Tenant
      33    shall be allowed to maintain its books and records in a computerized form; provided, however,
      34    that (i) such computerized books and records provide the same level of information as the
      35    books and records described above, are retained for the full record retention period provided for
      36    herein, and (ii) promptly upon request, printed copies of any such books and records are made
      37    available at Tenant's principal office for inspection by Landlord's representatives who are
      38    engaged in inspecting and/or auditing Tenant's books and records as provided herein. Such
      39    books and records shall be kept in accordance with generally accepted accounting principles
      40    and practices consistently applied and shall be retained by Tenant for at least two (2) years
      41    following the end of the calendar year to which they refer.

      42                    4.4.4 Landlord's Right to Audit. Landlord and/or Landlord's auditor shall have
      43    the right, upon at least ten (10) days prior notice to Tenant (but not more than once per annum),
      44    to inspect and/or audit the records of Tenant relating to Gross Sales. If any such audit discloses
      45    a deficiency in the Gross Sales reported by Tenant, Tenant shall pay any deficiency in
      46    Percentage Rent owing to Landlord on account of such deficiency. If such deficiency is in
      47    excess of three percent (3%) of the Gross Sales reported by Tenant and Percentage Rent is
      48    then payable, Tenant shall also pay Landlord's reasonable costs of the inspection and audit.
      49    Tenant has not and does not make any representation or warranty as to the amount of Gross
      50    Sales which are anticipated from the Premises.

      51                     4.4.5 Confidentiality. Landlord shall not disclose to any third party Tenant's
      52    Gross Sales or the amount of Percentage Rent paid or payable by Tenant, provided however
      53    that (i) such information was not previously disclosed by Tenant to such third party or to the
      54    public generally, and (ii) nothing contained herein shall restrict Landlord from disclosing such
      55    information as may be required by applicable Legal Requirements or to its accountants,
      56    attorneys, bona fide prospective purchasers, or current or prospective Mortgagees or underlying
      57    lessors of all or any portion of Landlord's interest in the Shopping Center (provided that each of
      58    such recipients shall be bound to the same non-disclosure provisions as are imposed upon
      59    Landlord).

       60                  4.4.6 Licensees. If Tenant enters into any agreement(s) with any non-Affiliate
       61   person or entity (hereinafter, the "Licensees") permitting the Licensees to operate businesses
       62   or concessions within the Premises, then, in lieu of including the Gross Sales actually achieved
     • 63   by such Licensee(s) from such licensed portion of the Premises, Tenant may elect to include in
       64   Gross Sales an amount equal to the product obtained by multiplying (i) the Floor Area of such


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       I   licensed space, by (ii) the average Gross Sales per square foot of Floor Area for the remainder
       2   (i.e., the unlicensed portion) of the Premises. The provisions of this Subsection 4.4.6 shall not
       3   apply to more than 4,000 square feet of Floor Area, in the aggregate, in the Premises at any
       4   one time. If more than 4,000 square feet of the Floor Area of the Premises is licensed to
       5   Licensees at any one time, then Tenant shall have the right to designate, from time to time,
       6   those portions of the Premises which will be entitled to the benefit of this Subsection 4.4.6.


       7                     4.4.7   Intentionally omitted.

       8                     4.4.8   intentionally omitted.

       9                  4.4.9 Tenant's Tax, Common Areas Charges and Insurance Contribution.
      10   Tenant shall pay to Landlord an annual contribution ("Tenant's Contribution") for Taxes,
      11   Common Areas Charges and Landlord's Insurance Costs in the amount of $200,000.00,
      12   payable in equal monthly installments of $16,666,67 during the Term of this Lease at the same
      13   time and in the same manner as Fixed Rent.



      14                                         ARTICLE 5
      15                             COMMON AREAS, THEIR USE AND CHARGES

      16            Section 5.1      Common Areas: Maintenance.

      17                  5.1.1 Maintenance of Common Areas. Landlord shall operate, maintain, repair
      18   and replace the Common Areas as required by this Lease and otherwise to the standard by
      19   which Common Areas of first-class shopping centers in the Greater New Orleans metropolitan
      20   area are operated, maintained, repaired and replaced including, without limitation, rubbish and
      21   debris removal (including installation and maintenance of sidewalk refuse containers),
      22   landscaping (including, without limitation, the trimming and pruning of trees to avoid interference
      23   with the use or visibility of canopies or signs on the exterior of the Premises), adequate lighting,
      24   insurance, supervision, use, parking lot paving and striping, drainage, security (as reasonably
      25   required), and control of all Common Areas, and Landlord shall comply with all applicable Legal
      26   Requirements.

      27                     5.1.2   Tenant's Pro Rata Share of Common Areas Charges.

      28                             (a)     Commencing with the second full calendar year and each
      29   subsequent full calendar year during the Term, in addition to the amount set forth in Section 4.5,
      30   Tenant shall pay to Landlord Tenant's Pro Rata Share of the increases in the reasonable costs
      31   (hereinafter referred to as the "Common Areas Charges") paid by Landlord to operate,
      32   maintain, insure and repair the Common Areas over those Common Areas Charges applicable
      33   to the immediately preceding calendar year. Landlord shall be permitted to include in Common
      34   Area Charges for each calendar year (i) the cost of maintaining, repairing or providing security
      35   for interior portions of the buildings (the "Security Costs"), not to exceed five percent (5%) of
      36   the Common Area Charges for the calendar year in question, (ii) costs incurred in connection
      37   with the monitoring, maintenance, inspection or testing of fire alarm systems (the "Alarm
      38   Costs"), not to exceed five percent (5%) of the Common Area Charges for the calendar year in
      39   question, and (iii) an administrative fee (the "Administrative Fee") equal to five percent (5%) of
      40   the Common Areas Charges for the calendar year in question, but excluding from the
      41   computation of such Administrative Fee the cost of any replacement or improvement of a capital
      42   nature (if such capital item is a permissible Common Areas Charge hereunder), the cost of
      43   electricity and other utilities and "Landlord's Insurance Costs" (defined in Section 10.3.3 below).
      44   Tenant's Pro Rata Share of the increase in Common Areas Charges shall be payable within
      45   thirty (30) days after Tenant receives the CAC Reconciliation Statement in accordance with
      46   Section 5.1.2(b) below. Notwithstanding any provision hereof to the contrary, in no event shall
      47   the Tenant's Pro Rata Share of the increase in Common Areas Charges (exclusive of the costs
      48   of utility service for the Common Areas during such calendar year) for the second full calendar
      49   year and each subsequent full calendar year exceed one hundred five percent (105%) of the
      50   Tenant's Pro Rata Share of the increase in Common Areas Charges for the immediately
      51   preceding calendar year (exclusive of the costs of utility service for the Common Areas during
      52   such calendar year). Notwithstanding the foregoing, with respect to the Security Costs and the
      53   Alarm Costs, Landlord may only include such charges in the Common Areas Charges if every
      54   tenant at the Shopping Center is obligated to pay for such items pursuant to the terms of its
      55   respective lease.




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        1                          (b)     Within sixty (60) days after the end of each calendar year,
        2   commencing with the second full calendar year, Landlord shall provide to Tenant a statement, in
        3   detail reasonably satisfactory to Tenant, of Common Areas Charges for such year, which
        4   statement shall be prepared in accordance with generally accepted accounting principles
        5   consistently applied (the "CAC Reconciliation Statement"). The CAC Reconciliation
        6   Statement shall be certified by Landlord as being accurate and shall be accompanied by a
        7   calculation of Tenant's Pro Rata Share of the increased Common Areas Charges, and payment
        8   to Tenant in the amount of any overpayment made by Tenant during the preceding calendar
        9   year, Upon Tenant's request, Landlord shall promptly deliver to Tenant copies of relevant
       10   backup materials (including, but not limited to, contracts, correspondence and paid invoices)
       11   reasonably required by Tenant.

       12                       5.1.3   Exclusions from Common Areas Charges.

      13                               (a)    Common Areas Charges shall not include: (1) the capital cost of
      14     any additions to the Common Areas pursuant to an expansion of the Shopping Center; (2) the
      15     cost of any replacements or capital improvements to the Common Areas, except that the cost of
      16     repaving the parking areas of the Shopping Center may be included within Common Areas
      17     Charges so long as such cost is amortized on a straight-line basis over the useful life thereof
      18     under generally accepted accounting principles, and is not incurred (A) prior to the expiration of
      19     the fifth (5th) full calendar year of the Term, or (B) more than once during each five (5) full
      20     calendar years of the Term; (3) the cost of investigating, monitoring or remedying any
      21     environmental condition or "Hazardous Substances" or any other "Compliance Costs" (both as
      22     hereinafter defined in Subsection 12.4.1); (4) any debt service (including principal and interest)
      23     or payments of any judgments or other liens against Landlord; (5) except for the Security Costs,
      24     the cost of maintaining, repairing or providing security for interior portions of buildings; (6) Taxes
      25     or other taxes levied or assessed against Landlord or the Shopping Center; (7) the cost of
      26     compliance with applicable Legal Requirements (including, without limitation, the cost of curing
      27     violations or contesting such Legal Requirements); (8) any costs resulting from insurance
      28     deductibles or any payments made under any self-insurance policy maintained by Landlord;
      29     (9) any costs which would have been reimbursed or paid for by insurance proceeds had
      30     Landlord maintained the insurance required under Section 10.3 hereof and the amount of any
      31    judgment or other charge entered or costs assessed against Landlord in excess of the policy
      32     limits of the insurance maintained by Landlord under Section 10.3 hereof); (10) those portions of
      33     Landlord's insurance premiums which are reimbursed to Landlord by any other tenant in the
      34     Shopping Center other than through the payment of such tenant's proportionate share of
      35     insurance premiums otherwise includable as part of Common Areas Charges; (11) sums paid or
      36    owed by Landlord to any tenant in the Shopping Center; (12) costs incurred in connection with
      37    the negotiation of leases with, or construction of improvements for, any tenant in the Shopping
      38    Center (including, without limitation, brokerage commissions and legal fees); (13) costs incurred
      39    in connection with lawsuits or other legal actions (including, without limitation, arbitrations and
      40    mediations) instituted or defended by Landlord; (14) sums incurred as late payment fees,
      41    penalties or interest; (15) in ground rent; (16) depreciation [except as expressly permitted
      42    pursuant to item 23 below]; (17) costs disproportionately incurred by or on behalf of any one or
      43    more of the tenants in the Shopping Center (including, without limitation, all costs relating to the
      44    operation of any food court in the Shopping Center); (18) electricity costs for lighting Common
      45    Areas later than the 'Normal Hours" [hereinafter defined in Section 5.2], other than low-level
      46    security lighting; (19) Landlord's advertising, entertainment and promotional costs for the
      47    Shopping Center (including, without limitation, holiday decorations); (20) costs of acquiring,
      48    leasing, restoring, insuring or displaying sculptures, paintings and other objects of art located
      49    within or outside the Shopping Center; (21) costs and expenses payable to Landlord or its
      50    Affiliate, to the extent that such costs and expenses exceed competitive costs and expenses for
      51    materials and services by unrelated persons or entities of similar skill and experience;
      52    (22) repairs resulting from defects in the original construction of the Shopping Center arising
      53    within one (1) year after the Rent Commencement Date; (23) the cost of mechanized equipment
      54    for the maintenance of the Common Areas (but not the straight-line depreciation thereof over its
      55    useful life, as determined in accordance with generally accepted accounting principles);
      56    (24) reserves for anticipated future expenses; (25) except for the Administrative Fee provided
      57    for in Section 5.1.2(a) above, any cost or expense relating to the administration and
      58    management of the Common Areas (whether on-site or off-site) including, but not limited to,
      59    overhead, management fees, office salaries and benefits, office rental, office supplies, dues and
      60    subscriptions, office utility charges, telephone charges and automobile expenses; (26) except
      61    for the Alarm Costs, costs incurred in connection with the monitoring, maintenance, inspection,
      62    or testing of fire alarm systems; or (27) costs and expenses payable to Landlord, or its Affiliate
      63    or designee, for the provision of utility service(s) to the Common Areas, to the extent that such
      64    costs and expenses exceed competitive market rates.




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       1                           (b)    In addition, if any tenant or other occupant of the Shopping Center
       2   other than Tenant (i) maintains the Common Areas in whole or in part, or any facilities therein,
       3   (ii) provides any services the cost of which would otherwise be includable in Common Areas
       4   Charges, and/or (iii) pays directly for costs which would otherwise be included in the Common
       5   Areas Charges, then the costs associated with or attributable to any of the foregoing shall be
       6   excluded from Common Areas Charges.

       7                          (c)      Common Areas Charges for any period during the Terni which
       8   constitutes less than a full calendar year shall be equitably prorated.

       9                   5.1.4 Tenant's Right to Audit. Tenant shall have the right, within three (3) years
      10   after receiving any CAC Reconciliation Statement (and not more than once annually) to audit
      11   Landlord's books and records to verify Landlord's calculation of Common Areas Charges as
      12   reflected therein and Tenant's Pro Rata Share of the increases thereof. Upon Tenant's request,
      13   Landlord shall promptly deliver to Tenant copies of relevant backup materials (including, but not
      14   limited to, contracts, correspondence and paid invoices) reasonably required by Tenant. In the
      15   event of an error in Landlord's favor, Landlord shall immediately refund the overcharge to
      16   Tenant, and if the overcharge exceeds three percent (3%) of Tenant's Pro Rata Share of the
      17   increase in Common Areas Charges, Landlord shall pay to Tenant the reasonable expenses of
      18   the audit within thirty (30) days after Tenant's demand therefor, failing which, Tenant shall have
      19   the right (in addition to any rights and remedies to which it may be entitled under this Lease, at
      20   law, or in equity) to offset such amount from payments of Rent next becoming due hereunder,
      21   together with interest thereon at the Lease Interest Rate from the date such remittance is due
      22   until reimbursement or full satisfaction by credit. Landlord shall maintain all books and records
      23   pertaining to a calendar year for at least three (3) years after it delivers to Tenant a CAC
      24   Reconciliation Statement for such calendar year. Tenant shall keep the results of any such
      25   audit confidential, provided that nothing contained herein shall restrict Tenant from disclosing
      26   such information as may be required by applicable Legal Requirements, or to its accountants,
      27   attorneys or bona fide prospective assignees or subtenants (provided that each of such
      28   recipients shall be bound by the same non-disclosure provisions as are imposed upon Tenant).
      29   Any dispute by Landlord with respect to an audit by Tenant shall be submitted to arbitration in
      30   accordance with the provisions of Section 16.3 below.

      31            Section 5.2    Common Areas; Restrictions.

      32                     5.2.1 Continuous Access. No entrances, exits, approaches and means of
      33   ingress and egress to and from the Shopping Center or the Premises as shown on Exhibit B
      34   hereto shall be interrupted or disturbed by any act or omission of Landlord during the Term,
      35   except in the event of an emergency or as may be otherwise required by applicable Legal
      36   Requirements, in which event Landlord shall use reasonable efforts to give Tenant advance
      37   notice of same and to minimize interference to Tenant's normal business operations in the
      38   Premises as a result thereof. Notwithstanding the foregoing, Landlord shall be permitted, upon
      39   at least thirty (30) days prior notice given to Tenant, to temporarily close the Common Areas for
      40   the minimum time legally necessary to prevent a dedication thereof or an accrual of any rights in
      41   any person or the public generally therein; provided that such closure shall not occur during
      42   August, November or December of any calendar year.

      43                     5.2.2 No Alterations. Landlord shall not, without obtaining Tenant's prior written
      44   consent in each instance, which consent may be withheld in its sole discretion: (i) alter the area
      45   of the Shopping Center or the location, availability, or size of any building or improvement
      46   located in the No Build Area; (ii) materially change the number, location, or layout of parking
      47   spaces located in the No Build Area; (provided, however, Tenant will not unreasonably withhold
      48   its consent if Landlord desires to reconfigure the layout of parking spaces in the No Build Area if
      49   (A) such reconfiguration is materially the same as the layout of parking spaces for the parking
      50   field in front of the Target premises at the Shopping Center, (B) the parking spaces are
      51   perpendicular to the Premises, (C) the reconfiguration is completed before the Delivery Date
      52   and (D) the parking space ratio is not reduced); (iii) construct any structures in the Common
      53   Areas located in the No Build Area (including, without limitation, any kiosks, booths, signs or
      54   similar structures in the Common Areas), other than as shown on exhibit B hereto, or (iv)
      55   materially change the entrances or exits to and from the No Build Area, or the curb cuts,
      56   roadways and sidewalks or other Common Areas located in the No Build Area from those
      57   shown on Exhibit B hereto. Notwithstanding any provision herein to the contrary. Landlord shall
      58   neither perform nor permit to be performed, any construction, repairs, replacements or
      59   maintenance to any portion of the North side of the Shopping Center, including the Premises
      60   (other than emergency repairs to utilities and Common Areas) during the months of August,
      61   November and December of any year, without the prior consent of Tenant, which consent may
      62   be granted or denied in Tenant's sole and unfettered discretion, reasonably or unreasonably
      63   exercised.


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       1                      5.2.3   Intentionally Omitted.

       2                   5.2.4 Parking Area. During the Term, Landlord shall maintain in the Shopping
       3   Center, at a minimum, 4.75 parking spaces for every one thousand (1,000) square feet of Floor
       4   Area in the Shopping Center, and Landlord shall maintain in the No Build Area, at a minimum,
       5   five (5) ground -level parking spaces for every one thousand (1,000) square feet of Floor Area in
       6   the Shopping Center, with each such space being at least nine (9) feet in width and eighteen
       7   (18) feet in length. Parking spaces shall at all times be clearly marked by painting, striping or
       8   otherwise. Landlord shall not designate specific parking spaces for use by other tenants or
       9   occupants of the Shopping Center, nor shall Landlord permit any person or entity to use the
      10   parking areas other than Tenant, the other tenants and occupants of the Shopping Center, and
      11   their respective employees, agents, subtenants, concessionaires, licensees, customers, and
      12   invitees. There shall be no charge whatsoever levied for the use of any parking areas within the
      13   Shopping Center. Landlord shall not permit overnight parking in the Shopping Center.

      14                   5.2.5 Lighting. Throughout the Term, Landlord shall keep the Common Areas
      15   fully lighted and open to the customers of the Shopping Center seven (7) days a week from
      16   dusk until 11:00 p.m. Monday through Saturday and until 7:00 p.m. on Sunday ("Normal
      17   Hours"). Upon request of Tenant, Landlord shall keep the Common Areas lighted for as long
      18   after Normal Hours as Tenant shall request, provided Tenant shall pay for a share of the
      19   reasonable cost of said requested lighting, which share shall be equal to the product of (x) such
      20   cost, and (y) a fraction, the numerator of which shall be the number of square feet of Floor Area
      21   within the Premises and the denominator of which shall be the aggregate number of square feet
      22   of Floor Area of all premises within the Shopping Center (including the Premises) open later
      23   than Normal Hours (excluding, however, those tenants and occupants who separately control
      24   and pay for their own Common Area lighting). In addition to the foregoing, Landlord shall
      25   provide for low level security lighting from one (1) hour after the close of business in the
      26   Premises until dawn.

      27                   5.2.6 Repairs. During the Term, any construction or repair by Landlord
      28   permitted or required under this Lease and undertaken in the Common Areas or in any other
      29   portion of the North side of the Shopping Center shall:

      30                        (a)    not be performed during the months of August, November, or
      31   December of any year, except in the event of an emergency or as may be otherwise required by
      32   applicable Legal Requirements;

      33                         (b)    be commenced only upon at least five (5) days' prior notice to
      34   Tenant (except in an emergency, in which event Landlord shall only be required to give such
      35   notice as is reasonable under the circumstances); and

      36                         (c)    be performed in accordance with the requirements of Section
      37   3.3.6 above and in such a manner so as not to materially interfere with the normal conduct of
      38   any business operations in the Premises.

      39                    5.2.7 Rules and Regulations. Tenant shall comply with the rules and
      40   regulations of the Shopping Center as established from time to time by Landlord, within sixty
      41   (60) days after Landlord notifies Tenant thereof, provided they: (i) are reasonable, (ii) do not
      42   adversely affect the normal conduct of any business operations in the Premises, (iii) do not
      43   adversely affect any of Tenant's rights under this Lease, and (iv) are uniformly enforced against
      44   all tenants of the Shopping Center and without prejudice against Tenant. In the event of any
      45   conflict between the provisions of this Lease and any rules or regulations, the provisions of this
      46   Lease shall prevail and govern.

      47                     5.2.8    Miscellaneous.

      48                            (a)    No Promotional Use. Landlord shall not use or permit the use of
      49   all or any portion of the exterior portions of the Common Areas (including, without limitation, the
      50   parking area), for retail sales or any part of the Common Areas located in the No Build Area, for
      51   promotional purposes. Notwithstanding the foregoing provision, tenants of the Shopping Center
      52   (including Tenant) shall be permitted to conduct sidewalk sales in front of their respective stores
      53   only, provided that such sales shall: (A) be conducted in a manner consistent with sidewalk
      54   sales in first-class shopping centers in the state in which the Shopping Center is located, (B) riot
      55   materially interfere with normal pedestrian access over the sidewalks, and (C) not materially
      56   interfere with the normal business operations of Tenant in the Premises or materially impair the
      57   visibility of Tenant's signage.




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        1                          (b)    Trash Compactor. Tenant shall be permitted to maintain and
        2   operate, at no extra charge, a trash compactor in the portion of the Common Areas designated
        3   on Exhibit B hereto as "Trash Compactor Pad".

        4                           (c)     Shopping Carts. Tenant shall be permitted to store its shopping
        5   carts in such exterior cart corrals as may be reflected on Exhibits B and D-1 hereto. With
        6   respect to shopping carts provided by Tenant for the use of its customers, Tenant will use
        7   reasonable efforts to periodically remove same from the Common Areas.

                                   (d)     Kiosks, etc. Landlord shall not permit kiosks, booths, pushcarts
        9   or any other promotional or sales areas to be located within twenty-five (25) feet of Tenant's
       10   entrance into the Mall area of the Shopping Center as shown on Exhibit 6; provided, however,
       11   the Cingular kiosk shall be permitted to be not less than twenty-three and one-half (23%) feet of
       12   Tenant's entrance into the Mall. If Cingular ceases to do business at its kiosk or otherwise is no
       13   longer operating at the kiosk, then this exception to the twenty-five foot limitation shall terminate.



       14                                                ARTICLE 6
       15                                                UTILITIES

      16              Section 6.1      Utility Service. From and after the Delivery Date and continuing
      17    thereafter through the end of the Term, Tenant shall be solely responsible for and shall pay the
      18    cost of utilities services (including, without limitation, electricity, gas, water, sanitary sewer,
      19    alarm and telecommunications) consumed in the Premises by Tenant. Tenant shall not be
      20    obligated to purchase utility service(s) directly from Landlord, or from any utility provider
      21    designated by Landlord. Landlord shall provide separate utility meters exclusively serving the
      22    Premises, at its sole cost and expense (including, without limitation, all connection and hook-up
      23    fees) and Tenant shall provide, directly to the public utility, the deposit required by the public
      24    utility for electric service to the Premises. Promptly upon Landlord's request, Tenant shall
      25    cooperate with Landlord's application with the public utility for the meters or, if specifically
      26    required by the public utility, Tenant shall, with Landlord's cooperation, directly submit such
      27    application to the public utility. Upon the expiration or earlier termination of this Lease, Tenant
      28    shall be entitled to a return of its portion of the deposit with interest as provided by the public
      29    utility. Tenant's entry upon the Premises prior to the Delivery Date shall not constitute a waiver
      30    by Tenant of Landlord's obligation to pay the costs of all utility charges incurred in the Premises
      31    prior to the Delivery Date. Landlord shall not permit the capacity of utility lines available for use
      32    at the Premises to be reduced or overloaded by any other persons or entities. Landlord shall
      33    permit Tenant and its telecommunications provider full and free access to, and use of, available
      34    telecommunications conduits in the Shopping Center for the provision of telecommunications
      35    service to the Premises, subject to such reasonable requirements as Landlord may impose.

      36              Section 6.2    Interruption. Notwithstanding any provision of this Lease to the contrary,
      37    in the event utilities serving the Premises are disrupted due to the acts or omissions of Landlord,
      38    its agents, contractors, servants or employees, Landlord shall promptly restore the affected
      39    utilities at Landlord's sole cost and expense. If the disrupted utilities are not restored within
      40    twenty-four (24) hours after the Landlord has knowledge of the disruption, and Tenant is unable
      41    to conduct its normal business in the Premises as a result thereof, Rent shall be equitably
      42    abated during the period of disruption.




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       1                                              ARTICLE 7
       2                                                SIGNS

       3           Section 7.1     Tenant's Building Signage. Landlord shall supply and install signage (and
       4   obtain all permits and approvals therefor) as part of Landlord's Work in accordance with Exhibits
       5   D, D-1, and F hereto, and with the additional provisions of this Lease. Thereafter, Tenant shall
       6   have the exclusive right during the Term, at its sole cost and expense, to erect, maintain, and
       7   replace on the storefront and exterior walls of the Premises, at or above Tenant's interior
       8   entrance into the Mall and on the side walls of any entrance design element, if any, signs
       9   (including, without limitation, under-canopy or blade signs), banners (including temporary
      10   banners placed on the storefront of the Premises and such other walls of the Premises as
      11   selected by Tenant), awnings, and flags of such size, design and color as Tenant, from time to
      12   time, may desire, subject to Landlord's approval and compliance with applicable Legal
      13   Requirements. Tenant may erect and maintain in the interior of the Premises any signs it may
      14   desire, provided that same are professionally prepared.

      15            Section 7.2     Pylon/Monument/Directional Signage. Landlord shall provide the pylon at
      16   the location shown on Exhibit B hereto during the entire Term, and obtain all permits and
      17   approvals therefor. Landlord, as part of Landlord's Work, shall obtain all governmental
      18   approvals and permits for, and shall procure and install, Tenant's sign panel(s) on all sides of
      19   such pylon in accordance with the provisions of Article 3 and Exhibits D and F hereto. Except
      20   for the Inducement Tenants and Sears, the dimensions of Tenant's pylon sign panel(s) shall be
      21   at least as large as those of other occupants of the Shopping Center, and shall be located
      22   above the signs of all other tenants of the Shopping Center. Also, Tenant shall have the right to
      23   have its name on all directional signs existing at the Shopping Center as of the Effective Date
      24   having more than one(1) tenant's name. Landlord shall maintain all pylons, monuments and
      25   directional signs, and Tenant's signs thereon, in good order and repair, and allow Tenant
      26   access to replace its signs thereon, at Tenant's cost and expense. Landlord shall not change or
      27   alter the location, structure, height or general appearance of the pylons, monuments or
      28   directional signs without obtaining Tenant's prior consent. The cost of maintaining all pylons
      29   and monuments bearing Tenant's sign panel(s) [but not the cost of individual tenants' signs
      30   thereon or the cost of the construction of the pylons and monuments] and the cost of any
      31   electricity used to illuminate them, shall be includable in Common Areas Charges. Tenant shall
      32   pay for, or shall reimburse Landlord for Landlord's reasonable third-party costs for, the
      33   fabrication and installation of Tenant's sign panel on the pylon sign the Shopping Center. Also,
      34   Tenant shall reimburse Landlord for Landlord's reasonable third-party costs for the construction
      35   and installation of the new pylon sign shown on Exhibit B (the "Pylon Costs") within thirty (30)
      36   days of receipt of a bill therefor, along with reasonable evidence of the costs actually incurred
      37   and paid by Landlord, an amount equal to the product of (x) the Pylon Costs and (y) a fraction,
      38   the numerator of which is the square footage of Tenant's sign on the pylon and the denominator
      39   of which is the total square footage of all signs on the pylon, such amount in no event to exceed
      40   $8,000. In addition, Tenant shall have the right to place a sign (in the maximum size and
      41   dimensions allowed by the applicable Legal Requirements) on the side of the parking deck at
      42   the Shopping Center that faces interstate Highway 10 (the "Parking Deck Sign") provided
      43   Tenant obtains all permits and approvals to do so. Landlord shall fully cooperate with Tenant, at
      44   Tenant's cost, in Tenant's efforts to obtain such permits and approvals, which cooperation shall
      45   include, without limitation, submitting and prosecuting applications for such permits and
      46   approvals. In the event Tenant obtains such permits and approvals Tenant shall be permitted to
      47   install such sign in conformity with such permits and approvals and in a good and workmanlike
      48   manner. Landlord makes no warranty that the Parking Deck Sign will be unobstructed by any
      49   new improvements.

      50           Section 7.3    Sionaoe: Alteration/Removal/Allocation. Tenant shall have the right, from
      51   time to time, without Landlord's approval, to change its signs on the storefront and exterior of
      52   the Premises, as well as on any pylon or monument, provided that the area of the new sign is
      53   no larger than the area of the sign which it replaces and that the method of construction and
      54   attachment is substantially the same. Upon the expiration or earlier termination of the Lease,
      55   Tenant shall remove its signs from the fascia or other exterior walls of the Premises and from
      56   any pylon or monument, and shall repair any damage occasioned thereby. The signage rights
      57   granted to Tenant pursuant to this Article 7 shall, at Tenant's option, be allocated to or between
      58   Tenant and/or any subtenant(s) of all or any portion of the Premises. All signage installed by
      59   Landlord and Tenant hereunder shall comply with applicable Legal Requirements.

      60          Section 7.4     Cooperation. Landlord, upon request, shall execute any reasonable
      61   consents or applications which may be required by applicable Legal Requirements to permit the
      62   placement, installation, and/or replacement by Tenant of any signs on any part of the Premises
      63   or on any pylon or monument, to which Tenant may be entitled under this Lease.



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       1             Section 7.5   Signage Restrictions and Criteria.

       2                    7.5.1 Except for the Palace Theater, during the Term, no exterior identification
       3   signs attached to any building of the Shopping Center shall be of the following type: (i) flashing,
       4   moving or audible signs; (ii) signs employing exposed raceways, exposed neon tubes, exposed
       5   ballast boxes, or exposed transformers, provided that Tenant shall have the right to employ any
       6   methods necessary for the installation of internally illuminated self-contained channel letters; or
       7   (iii) paper or cardboard signs other than professionally prepared interior window signs
       8   advertising special sales within the subject premises, temporary signs (exclusive of contractor
       9   signs), stickers or decals, provided, however, the foregoing shall not prohibit the placement at
      10   the entrance of each such premises of (A) small stickers or decals which indicate hours of
      11   business, emergency telephone numbers, credit cards accepted, and other similar information,
      12   and/or (B) a sticker or decal which contains the phrase "no solicitation" or words of like import.

      13                    7.5.2 Except for landscaping required to be installed under applicable Legal
      14    Requirements, Landlord shall not permit any obstructions (including, without limitation, any
      15   trees, bushes or other landscaping, scaffolding or architectural details) to obscure Tenant's
      16   storefront, storefront signs or other exterior wall signs or any pylons, monuments or other
      17   freestanding signs or Tenant's Parking Deck Sign, if any, permitted under this Lease; provided,
      18   however, (A) Tenant shall have the right to contest, on its own or on Landlord's behalf, the
      19   municipality's landscape requirements if such requirements obscure Tenant's storefront or
      20   signage, which right shall include the right to relocate landscaping at Tenant's cost and expense
      21   and (B) if Tenant's Parking Deck Sign is obscured by a new parking garage (that does not
      22   include a hotel or office component but which may include a retail component), then Tenant,
      23   with Landlord's consent, shall have a right to relocate its Parking Deck Sign to such new
      24   garage, at Tenant's sole cost. Except as otherwise permitted under Existing Leases
      25   (hereinafter defined in Section 12.3(i)), no premises in the Shopping Center containing less
      26   Floor Area than the Floor Area of the Premises shall have: (i) building signage possessing more
      27   total square footage than the total square footage available for use by Tenant, or a maximum
      28   height greater than the maximum height of Tenant's building signage, as measured from the
      29   finished floor level to the highest point on such signage, or (ii) a building and entrance design
      30   element higher or wider than the height or width of the building and entrance design element of
      31   the Premises.



      32                                          ARTICLE 8
      33                                ALTERATIONS AND IMPROVEMENTS

      34            Section 8.1    Alterations and Improvements.

      35                   8.1.1 Tenant shall not perform any structural alterations or structural
      36   improvements to the Premises (except to the extent same pertain to Tenant's Work) without the
      37   prior approval of Landlord, provided, however, that Tenant's alteration of the exterior of the
      38   Premises to conform to Tenant's then -current prototypical elevation shall not require Landlord's
      39   consent. All work performed by Tenant in connection with structural and non-structural
      40   alterations or improvements shall be done at Tenant's sole cost and expense, in a good and
      41   workmanlike manner and in compliance with all applicable Legal Requirements. The provisions
      42   of this Section 8.1 shall not apply to Tenant's building signage, which shall be governed by the
      43   applicable provisions of Article 7 above.

      44                  8.1.2 Tenant may, from time to time, at its sole cost and expense, without the
      45   prior approval of Landlord, make non-structural alterations and non-structural improvements to
      46   the Premises as Tenant deems necessary or desirable, including, but not limited to, electrical
      47   systems, heating, ventilation and air conditioning and other mechanical systems, installation of
      48   fixtures and equipment, painting, and wall and floor coverings.

      49                  8.1.3 In connection with a sublet or assignment permitted pursuant to this
      50   Lease, Tenant shall have the right to subdivide the Premises into two (2) or more separate
      51   stores, each of which may have its own front entrance and access to the loading docks in the
      52   rear of the Premises, as well as separately sub-metered utilities. Notwithstanding the right to
      53   subdivide the Premises granted herein, relocation of vermiports, escalators and elevators shall
      54   be prohibited without the prior approval of Landlord.

      55                    8.1.4 Tenant shall have the right to erect and maintain an antenna and a
      56   satellite dish on the roof of the Premises, provided that Tenant: (i) obtains Landlord's prior
      57   approval of its plans for the installation of such equipment, (ii) uses a contractor designated or
      58   approved by Landlord for all roof penetrations so as not to violate or invalidate any roof


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           warranties maintained by Landlord, (iii) maintains the area where roof penetrations are made
       2   while Tenant's equipment is present, (iv) repairs any damage to the roof caused by the making
       3   of the roof penetrations, including, but not limited to, the repair of the roof penetrations upon the
       4   removal of any equipment installed thereon, and (v) erects and maintains such equipment in
       5   accordance with applicable Legal Requirements.

       6                  8.1.5 Landlord shall execute and return to Tenant all appropriately completed
       7   building department or equivalent applications within twenty (20) days after Tenant's request
       8   therefor, and will reasonably cooperate with Tenant in the permitting process.

       9                    8.1.6 If any violation of any applicable Legal Requirement which is noted
      10   against the Shopping Center or the Premises (other than a violation caused by Tenant) prevents
      11   Tenant from obtaining a building permit for any alterations or a certificate of occupancy, then,
      12   upon request by Tenant, Landlord shall promptly and diligently cause such violation to be
      13   removed of record to the extent required to permit Tenant to obtain its building permit or
      14   certificate of occupancy, as the case may be.

      15                    8.1.7 Landlord shall not make any alterations to the Premises (including,
      16   without limitation, changing the design, color or materials of the exterior of the Premises) nor
      17   shall Landlord construct an additional floor or floors above the Premises. Landlord shall neither
      18   make nor permit to be made any alterations to the exterior architectural theme of the remainder
      19   of the Shopping Center (as shown on Exhibit D-2 hereto) which would be inconsistent with a
      20   first-class shopping center in the state in which the Shopping Center is located (exclusive of
      21   other tenants' entrance features) without the prior consent of Tenant.



      22                                                ARTICLE 9
      23                                                 REPAIRS

      24            Section 9.1     Tenant's Repairs. Subject to the provisions of Article 11 hereof, and
      25   except as otherwise provided in Section 9.2 below, Tenant shall maintain in good condition and
      26   repair, at its sole cost and expense: (i) the non-structural, interior elements of the Premises
      27   (including plate glass, and the electrical, plumbing, mechanical, and/or alarm systems located
      28   in, or serving, exclusively the Premises); and (ii) the heating, ventilation and air conditioning
      29   ("HVAC") units exclusively serving the Premises. All repairs and replacements on Tenant's
      30   part to be performed hereunder shall be at Tenant's sole cost and expense, and performed in a
      31   good and workmanlike manner in accordance with all applicable Legal Requirements.

      32          Section 9.2    Landlord's Repairs. Subject to the provisions of Article 11 hereof,
      33   Landlord shall perform, as the same shall from time to time be necessary, all repairs and
      34   replacements to the following:

      35                          (a)    the buildings of the Shopping Center as necessary to maintain
      36   same in good condition and repair (including, without limitation, repainting the exterior walls of
      37   the buildings of the Shopping Center (including, without limitation, the Premises)) as same may
      38   be reasonably required from time to time during the Term;

      39                             (b)     the structural elements of the Premises, which shall be deemed to
      40   include, without limitation, the roof joists, columns, footings, foundation, exterior walls (including,
      41   without limitation, repainting, but excluding plate glass, storefront windows, doors, door closure
      42   devices, window and door frames, molding, locks and hardware, and painting or other treatment
      43   of interior walls), floor (but not the floor covering, unless the same is damaged as a result of a
      44   floor defect or settling), and the structural elements of any building of which the Premises may
      45   be a part;

      46                              (c)   the roof, gutters, fleshings, downspouts and scuppers;

      47                         (d)     the electric, gas, water, sanitary sewer, and other public utility
      48   lines serving the Premises, to the point of connection to the Premises;

      49                         (e)     all electric, gas, water, sanitary sewer, and other public utility lines
      50   and ducts in or passing through the Premises which do not exclusively serve the Premises; and

      51                           (f)     the non-structural elements of the Premises (including, without
      52   limitation, the HVAC units and the electrical, plumbing, mechanical, and/or fire alarm systems
      53   located in or serving the Premises) until the first (1st) anniversary of the Delivery Date, and
      54   thereafter for such period of time and to the extent any such non-structural elements are



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       1   covered by any contractors', manufacturers', vendors', or insurers' warranties or guarantees;
       2   and

       3                         (g)     any damage to the Premises or the Shopping Center which is
       4   occasioned by (A) the act or omission of Landlord, its employees, agents or contractors, or
       5   (B) any breach by Landlord of any provision of this Lease.

       6    All repairs and replacements on Landlord's part to be performed hereunder shall be at
       7    Landlord's sole cost and expense (and not includable in Common Areas Charges unless
       8    expressly provided to be included in Common Areas Charges pursuant to Section 5.1.1),
       9    performed in a good and workmanlike manner in accordance with all applicable Legal
      10    Requirements, and without material interference with or disruption to the normal conduct of any
      11    business operations in the Premises. Landlord shall give Tenant at least five (5) days' prior
      12    notice of any repairs or replacements to, or which would otherwise affect the normal conduct of
      13    any business operations in, the Premises (except in the case of an emergency posing imminent
      14    risk of material harm to persons or property, in which event Landlord shall only be required to
      15    give such notice as is reasonable under the circumstances). If, in Tenant's reasonable
      16   judgment, Landlord's repairs would materially interfere with or disrupt the normal conduct of any
      17    business operations in the Premises, Landlord shall perform such repairs only after the regular
      18    hours of operation of Tenant and any other occupant of the Premises (or any portion thereof),
      19   and Landlord shall reimburse Tenant for the reasonable costs and expenses incurred by Tenant
      20    in connection with such "after hours" repairs, including, without limitation, utilities charges and
      21   security expenses. In the event Landlord does not reimburse Tenant for any amounts payable
      22   to Tenant hereunder within ten (10) days after Tenant's demand therefor, Tenant shall have the
      23   right (in addition to any rights and remedies to which it may be entitled under this Lease, at law,
      24   or in equity) to offset such amounts against Rent, together with interest thereon at the Lease
      25    Interest Rate from the date of outlay until reimbursement or full satisfaction by credit.

      26           Section 9.3     Legal Compliance Work. Except as hereinafter expressly provided,
      27   Landlord shall be responsible, at its sole cost and expense (and not includable in Common
      28   Areas Charges), for performing all "Legal Compliance Work" (hereinafter defined).
      29   Notwithstanding the foregoing, Tenant shall be responsible, at its sole cost and expense, for the
      30   performance of Legal Compliance Work: (a) pertaining to the interior elements of the Premises
      31   which are neither structural nor comprise the major building systems serving the Premises; or
      32   (b) are required solely as a result of Tenant's specific manner of use of the Premises (i.e., are
      33   not of general applicability to tenants and occupants of the Shopping Center); provided,
      34   however, that the foregoing shall not relieve Landlord of its obligations to perform: (x) Landlord's
      35   Work in accordance with all Legal Requirements, and (y) the repairs required in this Lease. As
      56   used herein, "Legal Compliance Work" shall mean any obligation, addition, alteration,
      37   improvement, or rebuilding, structural or otherwise, to or of the Premises, the Shopping Center,
      38   or any part thereof, as applicable, which may be required by reason of any Legal Requirement.



      39                                          ARTICLE 10
      40                    INDEMNIFICATION, INSURANCE AND WAIVER OF SUBROGATION

      41             Section 10.1     Mutual Release, Waiver of Subrogation and Mutual Indemnification.

      42                   10.1.1 Mutual Waiver of Claims. Landlord and Tenant, on their own behalf and
      43   on behalf of anyone claiming under or through either one by way of subrogation, hereby release
      44   and waive all rights of recovery and causes of action against each other from any and all liability
      45   for any loss or damage to property or resulting from damage to such property (and, in either
      46   case, any resulting loss of business or rental income), whether caused by the negligence or
      47   fault of the other party, which is normally insured under "All-Risk" property and time element
      48   insurance required to be maintained hereunder. In the event either Landlord or Tenant is a self-
      49   insurer or maintains a deductible (as either may be permitted hereunder), then the self-insuring
      50   party or the party maintaining the deductible hereby releases the other party from any liability
      51   arising from any event which would have been covered had the required insurance been
      52   obtained and/or the deductible not been maintained.

      53                  10.1.2 Waiver of Subrogation. Landlord and Tenant shall cause each property
      54   insurance policy carried by either of them insuring the Premises, the contents thereof, or the
      55   Shopping Center, to provide that the insurer waives all rights of recovery by way of subrogation
      56   or otherwise against the other party hereto in connection with any loss or damage which is
      57   covered by such policy or that such policy shall otherwise permit, and shall not be voided by the
      58   releases provided above.




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       1                     10.1.3 Mutual Indemnification.

       2                           (a)    Except as otherwise provided in Subsections 10.1.1 and 10.1.2
       3   above, Tenant covenants to defend and indemnify Landlord and hold Landlord harmless from
       4   and against any and all claims, actions, damages, liability and expense, including reasonable
       5   attorneys fees, (x) in connection with loss of life, personal injury and/or damage to property
       6   arising from or out of any occurrence in or upon the Premises, or any part thereof, or (y)
       7   occasioned wholly or in part by any act or omission of Tenant, its agents, contractors,
       8   employees, servants, or licensees, exceot to the extent such claims, actions, damages, liability
       9   and expense are caused by the acts or omissions of Landlord, its agents, contractors,
      10   licensees, employees, or other tenants and occupants, or for which any of said parties may be
      11   statutorily liable.

      12                            (b)    Except as otherwise provided in Subsections 10.1.1 and 10.1.2
      13   above, Landlord covenants to defend and indemnify Tenant and hold Tenant harmless from and
      14   against any and all claims, actions, damages, liability and expense, including reasonable
      15   attorneys' fees, (x) in connection with loss of life, personal injury and/or damage to property
      16   arising from or out of any occurrence in or upon any portion(s) of the Shopping Center
      17   (excluding the Premises), or (y) occasioned wholly or in part by any act or omission of Landlord,
      18   its agents, contractors, employees, servants, tenants (other than Tenant), occupants or
      19   licensees, except to the extent such claims, actions, damages, liability and expense are caused
      20   by the acts or omissions of Tenant, its agents, contractors, licensees or employees, or for which
      21   any of said parties may be statutorily liable.

      22            Section 10.2 Tenant's Insurance.

      23                      10.2.1 Tenant's Insurance. Tenant, at its own cost and expense, shall maintain
      24   in full force and effect from and after the Delivery Date and throughout the Term: (i) commercial
      25   general liability insurance protecting and insuring Tenant, naming Landlord as "additional
      26   insured-lessor" for claims arising out of the use or occupancy of the Premises by Tenant and the
      27   obligations assumed by Tenant under this Lease, and having a combined single limit of liability
      28   of not less than Ten Million Dollars ($10,000,000) for bodily injury, death and property damage
      29   liability; and (ii) standard "All-Risk" property insurance, on a replacement cost basis, in an
      30   amount adequate to cover the full insurable replacement value of all of Tenant's Property.
      31   Tenant may carry any of its insurance under "blanket policies" covering the Premises and other
      32   locations it or any Affiliate of Tenant owns or leases, provided that: (i) the amount of the total
      33   insurance available shall be at least the protection equivalent to separate policies in the
      34   amounts herein required, and (ii) in all other respects, any such policy or policies shall comply
      35   with the applicable provisions of this Article 10.

      36                      10.2.2 Self-Insurance. All insurance required to be maintained under this
      37   Section 10.2 may be provided under: (i) an individual policy covering this location; (ii) a blanket
      38   policy or policies which includes other liabilities, properties and locations of Tenant or its
      39   Affiliates; (iii) a plan of self-insurance, provided that Tenant or any guarantor of Tenant's
      40   obligations under this Lease maintains, during the period of such self-insurance, a net worth of
      41   at least Fifty Million Dollars ($50,000,000); or (iv) a combination of any of the foregoing
      42   insurance programs. To the extent any deductible is permitted or allowed as a part of any
      43   insurance policy carried by Tenant in compliance with this Section 10.2, then Tenant shall be
      44   deemed to be covering the amount thereof under an informal plan of self-insurance; provided,
      45   however, that in no event shall any deductible exceed Two Hundred Fifty Thousand Dollars
      46   ($250,000) unless Tenant complies with the requirements regarding self-insurance pursuant to
      47   clause (iii) above.

      48            Section 10.3   Landlord's Insurance.

      49                    10.3.1 Liability Insurance. Landlord shall maintain in full force and effect on and
      50   after the Effective Date and throughout the Term commercial general liability insurance with
      51   regard to the Common Areas protecting and insuring Landlord, naming Tenant as "additional
      52   insured-lessee", and having a combined single limit of liability of not less than Ten Million
      53   Dollars ($10,000,000) for bodily injury, death and property damage liability. Landlord shall have
      54   the right to carry its insurance under "blanket policies" covering the Shopping Center and other
      55   properties provided that: (i) the amount of the total insurance available shall be at least the
      56   protection equivalent to separate policies in the amounts herein required, and (ii) in all other
      57   respects, any such policy or policies shall comply with the applicable provisions of this
      58   Article 10.

      59                  10.3.2 "All-Risk" Property Insurance. Landlord shall procure and maintain in full
      60   force and effect on and after the Effective Date and throughout the Term standard "All-Risk"


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       1   property insurance (including loss of rents for a minimum period of one (1) year) and
       2   endorsements for coverages for flood, earthquake, windstorm, earth movement (sinkholes],
       3   demolition, increased cost of construction and contingent operation of building laws coverages,
       4   on a replacement cost basis, in an amount adequate to cover the full insurable replacement
       5   value of all of the buildings (including the Premises) and other insurable improvements in the
       6   Shopping Center; provided, however, in no event shall such insurance cover Tenant's Property,
       7   All policies required to be maintained by Landlord pursuant to this Subsection 10.3.2 shall
       8   provide that any proceeds thereof shall be deposited with Landlord's Mortgagee, or if none, to
       9   Landlord, in either event to be held in trust by such party and disbursed only in accordance with
      10   the provisions of, and for the purposes set forth in, Section 11.1 hereof. The property insurance
      11   required to be maintained by Landlord pursuant to this Section shall not have deductibles
      12   exceeding One Hundred Thousand Dollars ($100,000) without Tenant's prior consent.

      13                    10.3.3 Tenant's Pro Rata Share of Insurance Premiums. In addition to the sum
      14   set forth in Section 4.4.9 above, Tenant shall reimburse Landlord for Tenant's Pro Rata Share of
      15   the increases in costs for the second full calendar year and each subsequent full calendar year
      16   over the immediately preceding full calendar year of the reasonable insurance premiums
      17   attributable to the policies required to be maintained by Landlord pursuant to this Section 10.3
      18   ("Landlord's Insurance Costs"). If the rates for any insurance Landlord is required to carry
      19   hereunder are increased as a result of the use or other activity of any other occupant of the
      20   Shopping Center, the amount of such increase shall be excluded from Common Areas Charges.
      21   To the extent that Landlord receives a dividend, credit, rebate or other return of a premium
      22   which had previously been included in Common Areas Charges, Landlord shall promptly refund
      23   Tenant's Pro Rata Share of such dividend, credit, rebate, or return to Tenant. Tenant's Pro
      24   Rata Share of any insurance premium for any period during the Term which constitutes less
      25   than a full calendar year shall be equitably prorated. Notwithstanding any provision hereof to
      26   the contrary, in no event shall the Tenant's Pro Rata Share of the increase in the Landlord's
      27   Insurance Costs for the second full calendar year and each subsequent full calendar year
      28   exceed one hundred five percent (105%) of the Tenant's Pro Rata Share of the increase in
      29   Landlord's Insurance Costs for the immediately preceding calendar year. The provisions of this
      30   Subsection 10.3.3 shall survive the expiration or earlier termination of this Lease.

      31             Section 10.4     General Insurance Requirements.

      32                   10.4.1 All insurance required to be maintained by the parties under this Lease
      33   shall be maintained with insurance companies qualified to do business in the state in which the
      34   Shopping Center is located, and rated at least A-NIII by the most current Best's Key Rating
      35   Guide (or its equivalent, if such Guide ceases to be published). Each party shall use its diligent
      36   effprts to have its insurers provide thirty (30) days [ten (10) days in the event of non-payment of
      37   premium] prior notice to the other party of cancellation or non-renewal of any policy required
      38   hereunder. Each party shall provide to the other duly executed certificates evidencing the
      39   insurance coverage described in Sections 10.2.1(ii) and 10.3 above.

      40                   10.4.2 The liability insurance requirements under Sections 10.2 and 10.3 above
      41   shall be reviewed by Landlord and Tenant every five (5) years for the purpose of mutually
      42   increasing (in consultation with their respective insurance advisors) the minimum limits of such
      43   insurance to limits which shall be reasonable and customary for similar facilities of like size and
      44   operation in accordance with generally accepted insurance industry standards. The
      45   replacement value of the buildings and other insurable improvements constituting the Shopping
      46   Center shall be re-evaluated from time to time at the request of either Landlord or Tenant.



      47                                             ARTICLE 11
      48                              FIRE AND OTHER CASUALTY; EMINENT DOMAIN

      49             Section 11.1     Fire and Other Casualty.

      50                   11.1.1 (a)     Except as otherwise provided in this Section 11.1, if all or a
      51   portion of the Premises, the Common Areas (including all improvements thereto) or other
      52   buildings in the Shopping Center shall be damaged by fire or other casualty, Landlord shall
      53   promptly rebuild and restore the same to the condition existing immediately prior to such fire or
      54   other casualty, which restoration shall include all Tenant's Work and all other leasehold
      55   improvements performed by Tenant, but shall not include any of Tenant's Property. The
      56   proceeds of the policies required to be obtained and maintained by Landlord pursuant to
      57   Subsection 10.3.2 hereof shall, to the extent necessary, be used for the performance of such
      58   rebuilding and restoration work.



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           1                            (b)     If, in Tenant's reasonable judgment, any damage to the Premises
           2    renders all or any portion of the Premises unusable for the conduct of Tenant's business or, in
           3    the case of damage to the Shopping Center, materially interferes with the normal conduct of any
       4        business operations in the Premises, the Rent shall be equitably reduced or totally abated
       5        based upon the extent to which the remaining portion of the Premises may, in Tenant's
       6        reasonable judgment, be utilized for its normal conduct of business.

       7                          11.1.2 In the event that:

       8                                 (a)    Landlord does not commence the repair and restoration work to
       9       the Premises, the Common Areas, or other buildings in the Shopping Center as required
      10       pursuant to this Section 11.1 within ninety (90) days after the date of such destruction, or
      11       thereafter fails to diligently pursue the completion of such repair and restoraton work (subject to
      12       such period as may be reasonably necessary for the adjustment of insurance proceeds, not to
      13       exceed thirty (30) days in the aggregate); or

      14                              (b)     the required repairs and restorations to the Premises, the
      15       Common Areas, or other buildings in the Shopping Center are not Substantially Completed by
      16       Landlord in accordance with the provisions of this Section 11.1 within one (1) year after the date
      17       of destruction (which period may be extended by reason of an event of Force Majeure, not to
      18       exceed thirty (30) days in the aggregate, provided that Landlord shall have given Tenant notice
      19       thereof promptly after its occurrence),

      20       then, in either of such events, Tenant shall have the right, at its sole discretion and option, to:

      21                        (i)     after giving thirty (30) days' prior notice to Landlord (and
      22                Landlord's continued failure to commence and diligently pursue such repairs and
      23                restoration work to completion), perform or complete, as the case may be, said
      24              - work (or any portion thereof) on Landlord's behalf and at the sole cost of
      25                Landlord, which cost Landlord shall pay to Tenant during the course of such
      26                repairs within ten (10) days after Tenant's delivery to Landlord of an invoice
      27                therefor and, in default of any such payment, Tenant shall have the right to offset
      28                the amount thereof, together with interest at the Lease Interest Rate, against the
      29                Rent next accruing hereunder (it being agreed, without limiting the foregoing
      30                provisions of this Subsection 11.1.2, that at Tenant's election all insurance
      31                proceeds paid or payable to Landlord or Landlord's Mortgagee pursuant to
      32                Subsection 10.3 hereof shall be paid (or, as applicable, in turn delivered) directly
      33                to Tenant, to be applied to such work by Tenant as same is being performed); or

      34                        (ii)    seek to obtain specific performance of Landlord's repair and
      35                restoration obligations pursuant to the laws of the state in which the Shopping
      36                Center is located; or

      37                         (iii)   terminate this Lease by thirty (30) days' notice to Landlord.

      38       In addition to the foregoing, if, in the opinion of an independent licensed architect designated by
      39       Tenant (and reasonably acceptable to Landlord), the required repairs and restorations to the
      40       Premises, the Common Areas or other buildings in the Shopping Center cannot be completed
      41       by Landlord in accordance with the provisions of this Section 11.1 within one (1) year after the
      42       date of destruction, Tenant shall have the right, at its sole discretion and option, to terminate this
      43       Lease by giving Landlord at least thirty (30) days' notice thereof.

      44                        11.1.3 If the Premises are substantially destroyed by fire or other casualty during
      45       the last three (3) years of the Term to the extent of more than one-third (1/3) of the Floor Area
      46       thereof, Landlord or Tenant shall each have the right to terminate this Lease as of the date of
      47       such damage or destruction by giving notice within thirty (30) days following such damage or
      48       destruction, but Tenant may negate any termination by Landlord by agreeing to extend the Term
      49       for an additional five (5) year period by exercising an option pursuant to Subsection 2.2.2
      50       hereof, if available, within ten (10) days after receipt of the termination notice from Landlord.

      51                Section 11.2     Eminent Domain.

      52                       11.2.1 As used in this Section 11.2, "Taking" or "Taken" shall mean a taking
      53       for any public or quasi -public use by any lawful power or authority by exercise of the right of
      54       condemnation or eminent domain or by agreement between Landlord and those having the
      55       authority to exercise such right.




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       1                   11.2.2 If all of the Premises shall be Taken, this Lease shall terminate as of the
       2   date of vesting of title or transfer of possession, whichever is earlier, without further liability on
       3   the part of either Landlord or Tenant, except for an adjustment between the parties for the Rent
       4   payable by Tenant hereunder.

       5                      11.2.3 In the event that:

       6                         (a)    any portion of the Premises shall be Taken so that it is
       7   commercially unreasonable or unfeasible for Tenant, in its reasonable judgment, to conduct its
       8   normal business in the Premises;

       9                             (b)   as a consequence of any Taking: (i) portions of the Shopping
      10   Center shall be divided or separated in any manner that it materially interferes with parking,
      11   visibility, or access to the Premises from other portions of the Shopping Center, or (ii) the
      12   Shopping Center no longer has entrances from Veterans Boulevard, and as a result, it is not
      13   commercially reasonable or feasible for Tenant, in its reasonable judgment, to conduct its
      14   normal business in the Premises;

      15                        (c)    there occurs, in Tenant's reasonable judgment, a denial of
      16   adequate access to the Shopping Center at the grade of any street adjoining the Shopping
      17   Center or to any easement granted under this Lease, whether or not a Taking shall have
      18   occurred;

      19                           (d)     any portion of the Shopping Center shall be Taken which
      20   materially interferes with parking, visibility or access to the Premises, and as a result of such
      21   taking it is commercially unreasonable or unfeasible for Tenant, in its reasonable judgment, to
      22   conduct its normal business in the Premises;

      23                           (e)    more than twenty-five percent (25%) of the total Floor Area of all
      24   of the buildings in the Shopping Center (other than the Premises) are Taken; or

      25                         (f)    five percent (5%) or more of the parking spaces located in the
      26   Shopping Center are Taken, or if so many of the parking spaces in the Shopping Center are
      27   Taken such that there are fewer than (i) four and one-half (4.5) parking spaces for every one
      28   thousand (1,000) square feet of Floor Area in the Shopping Center, or (ii) the number of parking
      29   spaces required by applicable Legal Requirements;

      30   then, in any of such events, Tenant shall have the right to terminate this Lease by giving at least
      31   sixty (60) days prior notice to Landlord within sixty (60) days of any such event, in which event
      32   this Lease shall terminate without any further liability on the part of either Landlord or Tenant,
      33   except for an adjustment between the parties for the Rent payable by Tenant hereunder and for
      34   payment to Tenant for its share of the award for the taking pursuant to Subsection 11.2.5 below.
      35   Upon any partial Taking of the Premises, the Rent shall be equitably reduced or totally abated
      36   based upon the extent to which the remaining portion of the Premises may, in Tenant's
      37   reasonable judgment, be utilized for its normal conduct of business.

      38                     11.2.4 If this Lease is not terminated pursuant to this Section 11.2, Landlord, at
      39    its sole cost and expense, within a reasonable period of time after such Taking, shall repair and
      40    restore the area not so Taken to tenantable condition, similar in physical appearance to the
      41    condition of the area immediately prior to the Taking, pursuant to plans and specifications
      42    approved by Tenant (which repair and restoration shall, as applicable, include all Tenant's Work
      43   and all other leasehold improvements performed by Tenant; provided, however, that Landlord
      44   shall not be obligated to repair or restore Tenant's Property), and any and all amounts awarded
      45   to Landlord for any Taking shall be made available to and used by Landlord for any rebuilding or
      46    restoration which it is required to perform hereunder. During the period of such repairs and
      47    restoration, all Rent shall abate to the extent that the Premises may not, in Tenant's reasonable
      48   judgment, be used by Tenant for the normal conduct of its business. Such abatement shall
      49   terminate in accordance with the terms of Section 11.3 below.

      50                    11.2.5 In connection with any Taking or partial Taking of the Premises, Tenant
      51   shall be entitled to claim an award for loss of business, leasehold improvements, fixtures and
      52   equipment and removal and reinstallation costs; provided, however, that no award shall be
      53   payable to Tenant which reduces the award payable to Landlord for its fee interest in the
      54   Premises.

      55                  11.2.6 Any dispute between the parties with respect to this Section 11.2 shall be
      56   resolved by arbitration in accordance with the provisions of Section 16.3 below.




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       1                   11.2.7 The parties recognize that the expropriation described in item 10 of
       2   Exhibit E shall not constitute a Taking and shall not give rise to any claims by Tenant under this
       3   Article 11.

       4            Section 11.3 Abatement of Rent Charges. Notwithstanding any other provisions of this
       5   Lease, if the Fixed Rent and Additional Rent payable by Tenant hereunder shall be abated
       6   pursuant to Sections 11.1 or 11.2 above, such abatement shall terminate upon the first to occur
       7   of: (a) the date on which Tenant shall reopen the Premises to the general public for business; or
       8   (b) the expiration of the period which is sixty (60) days after Landlord shall have completed such
       9   repairs and restoration work as Landlord is obligated to perform hereunder and the interference
      10   with the operation of business in the Premises has ceased.



      11                                            ARTICLE 12
      12                            COVENANTS, REPRESENTATIONS AND WARRANTIES

      13          Section 12.1 Quiet Eniovment. Tenant shall peaceably and quietly have, hold, occupy
      14   and enjoy the Premises for the Term, without hindrance from Landlord or any party claiming by,
      15   through, or under Landlord.

       6           Section 12.2 Authority. Tenant and Landlord each warrant and represent that the
      17   person(s) signing this Lease on their behalf has authority to enter into this Lease and to bind
      18   Tenant and Landlord, respectively, to the terms, covenants and conditions contained herein.
      19   The submission of this Lease to each party hereto shall be for examination and negotiation
      20   purposes only, and does not and shall not constitute a reservation of or an obligation of Tenant
      21   to lease, or otherwise create any interest of Tenant in, the Premises or any other premises
      22   situated in the Shopping Center unless and until the Lease is fully executed and delivered by
      23   Tenant and Landlord.

      24          Section 12.3 Landlord's Covenants, Warranties and Representations. To induce
      25   Tenant to execute this Lease, and in consideration thereof, Landlord covenants, warrants and
      26   represents to Tenant as follows:

      27                         (a)    As of the Effective Date, Landlord has, and as of the Delivery Date
      28   Landlord shall have, good and marketable fee simple title to the entire Shopping Center, free
      29   and dear of all easements, restrictions, liens, encumbrances, leases and the like, except for the
      30   encumbrances described on Exhibit E hereto;

      31                           (b)    In the event the legal description of the Shopping Center
      32   described in Exhibit A hereto indicates that the Shopping Center is composed of more than one
      33   parcel or lot, Landlord represents that there exist no strips or gores between such parcels or lots
      34   which are not owned by Landlord;

      35                          (c)     No third party consents or approvals are required in order for
      36   Landlord to enter into this Lease, or for the performance of Landlord's Work and Tenant's Work
      37   (excluding, as of the Effective Date, governmental permits and approvals) which have not
      38   already been obtained;

      39                           (d)    Tenant's use of the Premises for sale of "Permitted Items"
      40   (defined in Section 1.1.27 above) will not violate any exclusive provision or prohibited use
      41   restriction granted to any other tenant or occupant in the Shopping Center;

      42                        (e)    The Shopping Center now has, and, on the Delivery Date, shall
      43   have, access to Veterans Boulevard for the purpose of vehicular traffic;

      44                          (0      This Lease does not violate the provisions of any instrument
      45   heretofore executed and/or binding on Landlord, or affecting or encumbering the Shopping
      46   Center, or the Premises, and no rights granted by Landlord to Tenant under the terms of this
      47   Lease conflict with any rights granted by Landlord to any other tenant or occupant in the
      48   Shopping Center;

      49                           (g)    There shall be no restrictions or other legal impediments imposed
      50   by any public or private instrument which would prevent: (i) the use of the Premises for the
      51   Permitted Use; (ii) the use of the parking facilities, access roads, and other Common Areas in
      52   the manner contemplated by this Lease; or (iii) the performance of Tenant's Work;

      53                         (h)    As of the Effective Date, there are no sign ordinances, restrictive
      54   covenants, uniform sign plans or other signage restrictions which would prevent the Premises


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       I   from having the signage (including, without limitation, the square foot area and size of letters) as
       2   depicted on Exhibit D-1 and Exhibit F hereof.

       3                         (i)   Attached hereto as Exhibit K-2 is a complete list of all fully
       4   executed and delivered leases in effect on the Effective Date with respect to the Shopping
       5   Center (the "Existing Leases"); and

       6                           (j)     Landlord shall promptly forward to Tenant any notice or other
       7   communication received by Landlord from any owner of property adjoining or adjacent to the
       8   Shopping Center or from any municipal or other governmental authority, in connection with any
       9   hearing or other administrative proceeding relating to any proposed zoning, building code,
      10   signage, or related variance affecting the Shopping Center or any adjoining or adjacent
      11   property, which, if granted, could adversely affect Tenant's use or occupancy of the Premises,
      12   the conduct of Tenant's business therein, or Tenant's rights and benefits under this Lease.
      13   Landlord, at its sole cost and expense, shall appear in such proceeding and shall contest such
      14   proposed variance. if Landlord fails so to appear and contest such proposed variance after
      15   receiving five (5) days' notice from Tenant (or such shorter notice as may be practicable under
      16   the circumstances), then Tenant shall be entitled (but shall not be obligated to), in its own name
      17   and/or in the name of Landlord, appear in such proceeding, in which event Landlord shall fully
      18   cooperate with Tenant, provide such information, and execute any documents or other
      19   instruments as Tenant may reasonably request in connection with any such proceeding.

      20             Section 12.4     Environmental Matters.

      21                       12.4.1 Definitions.

      22                         (a)   As used herein, the term "Environmental Laws" shall mean any
      23   and all Legal Requirements concerning the protection of the environment, human health or
      24   safety,

      25                          (b)     As used herein, the term "Hazardous Substances" shall mean
      26   each and every element, compound, material, mixture, substance, waste, hazardous substance,
      27   hazardous waste, hazardous material, toxic substance, pollutant or contaminant either as those
      28   terms are defined in any of the Environmental Laws or the presence of which may cause liability
      29   at common law, including, without limitation, asbestos and/or asbestos-containing products,
      30   whether or not currently friable.

      31                            (c)      As used herein, the term "Environmental Notice" shall mean a
      32   summons, citation, directive, order, claim, notice, litigation, investigation, judgment, legal
      33   pleading, letter or other communication, written or oral, actual or threatened, from the United
      34   States Environmental Protection Agency or other federal, state or local governmental agency or
      35   authority, or any other private individual or entity concerning (i) any Hazardous Substances at,
      36   on, in, under or emanating from the Premises, the Shopping Center or any contiguous property;
      37   (ii) any violation or potential violation of Environmental Laws at the Premises, the Shopping
      38   Center or any contiguous property; or (iii) any underground storage tanks on the Premises or
      39   the Shopping Center,

      40                            (d)     As used herein, the term "Releasing" or "Release" shall mean
      41   releasing, spilling, leaking, discharging, disposing or dumping or otherwise introducing any
      42   substance into the environment or into any building or other improvements in violation of
      43   Environmental Laws.

      44                           (e)      As used herein, the term "Compliance Costs" shall mean any
      45   and all costs incurred by a party in complying with applicable Environmental Laws, including,
      46   without limitation, consultant's and engineer's fees; laboratory costs; contractor's and
      47   subcontractor's fees; application and filing fees; costs of investigation, monitoring or cleanup of
      48   soil or other substrate, surface water, groundwater, or buildings or other improvements;
      49   equipment costs; disposal fees; costs of operation and maintenance of equipment; legal fees;
      50   other governmental fees or costs; interest at the Lease Interest Rate from the date of
      51   expenditure until paid in full; and other similar or related costs.

      52                         (f)    As used herein, the term "Tenant Related Parties" shall mean
      53   Tenant's agents, servants, employees, contractors or licensees.

      54                  12.4.2 Compliance with Environmental Laws. Tenant shall comply with all
      55   applicable requirements of Environmental Laws governing its use of, and operations at, the
      56   Shopping Center and the Premises. Landlord shall comply with all applicable requirements of




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            Environmental Laws relating to the Shopping Center and the Premises, except to the extent
            such requirements arise from Tenant's operations thereon.

       3                    12.4.3 Responsibility for Releases of Hazardous Substances. Notwithstanding
       4   any other provision of this Lease, Tenant shall only be liable for any Release of Hazardous
       5    Substances at, on, in, under or emanating from the Premises or Shopping Center which were
       6   caused by Tenant or Tenant Related Parties (hereinafter "Tenant Releases"), including,
       7   without limitation, any Compliance Costs required to address Tenant Releases. Landlord shall
       8   be liable for any Hazardous Substances at, on, in, under or emanating from the Premises or
       9   Shopping Center, including, without limitation, any Compliance Costs attributable to such
      10   Hazardous Substances, unless the Hazardous Substances are caused by Tenant Releases.
      11   Except in the event of an emergency, any work performed by Landlord relating to Hazardous
      12   Substances shall be performed by Landlord at any time other than during the months of August,
      13   November and December, and shall be undertaken in such a manner so as to (i) not adversely
      14   affect ingress to or egress from the Shopping Center, (ii) have no adverse effect on the visibility
      15   of the Premises or any signs which contain Tenant's name, and (iii) not otherwise materially
      16   interfere with the normal conduct of any business operations in the Premises.

      17                   12.4.4 Standards. Except as expressly provided herein, the parties agree that
      18   any investigation or remediation of Hazardous Substances, or cure of a violation of
      19   Environmental Laws, required to be conducted at the Premises or Shopping Center shall be no
      20   more stringent than necessary to meet the minimum standards of Environmental Laws
      21   applicable to properties used in the manner the Shopping Center is being used.

      22                   12.4.5 Landlord's Representations and Warranties. Landlord represents and
      23   warrants that: (i) Landlord has received no Environmental Notices concerning the Shopping
      24   Center, the Premises or any contiguous properties; (ii) Landlord has no knowledge of, and has
      25   received no notice of, any violation, or potential or alleged violation, of any Legal Requirement,
      26   including, without limitation, Environmental Laws, affecting the Shopping Center, the Premises
      27   or any contiguous properties, regardless of whether same has been cured; and (iii) to the best
      28   of Landlord's knowledge: (A) no Hazardous Substances are located at, on, in, under or
      29   emanating from the Shopping Center, the Premises or any contiguous properties; and (B) no
      30   underground storage tank exists at the Shopping Center or the Premises.

      31                   12.4.6 Documents. Each party shall immediately notify the other party of the
      32   notifying party's receipt of an Environmental Notice.

      33                   12.4.7 Indemnity. Each party to this Lease shall indemnify, defend and hold the
      34   other party, and its agents, servants, shareholders, directors, officers and employees harmless
      35   from any and all claims, losses, expenses, costs, lawsuits, actions, administrative proceedings,
      36   damage, orders, judgments, penalties and liabilities of any nature whatsoever, including, without
      37   limitation, reasonable attorneys fees (incurred to enforce this indemnity or for any other
      38   purpose) and Environmental Costs, arising from (i) the indemnifying party's breach of any of its
      39   representations, warranties, covenants or other obligations under this Section 12.4; (ii)
      40   Hazardous Substances for which the indemnifying party is liable under this Section 12.4; or (iii)
      41   violations of Environmental Laws for which the indemnifying party is liable under this Section
      42   12.4.

      43                  12.4.8 Survival. The obligations of the parties under this Section 12.4 shall
      44   survive the renewal, expiration, breach or earlier termination of this Lease.

      45                  12.4.9 Conflict. In the event of any conflict between the provisions of this
      46   Section 12.4 and any other provision of this Lease, the provisions of this Section 12.4 shall
      47   control.



      48                                              ARTICLE 13
      49                                        USES AND RESTRICTIONS

      50            Section 13.1     Permitted and Prohibited Uses.

      51                   13.1.1 Tenant's Permitted Use. The Premises may be used and occupied for
      52   the Permitted Use (defined in Subsection 1.1.27 above). Tenant shall not use the Premises for
      53   any of the "Prohibited Uses" (defined in Exhibit M hereto annexed) or the "Existing Exclusives"
      54   (hereinafter defined in Subsection 13.3.1), to the extent then applicable.




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       1                  13.1.2 Prohibited Uses. Landlord shall construct, lease, operate, maintain and
       2   manage the Shopping Center as a first-class shopping center comparable to other first-class
       3   shopping centers in the state in which the Shopping Center is located. Landlord shall not lease,
       4   rent or occupy or permit any portion of the Shopping Center or any land (the "Related Land")
       5   contiguous or adjacent to the Shopping Center (including, without limitation, any land that would
       6   be contiguous or adjacent to the Shopping Center but for any intervening road, street, alley or
       7   highway) now or hereafter owned or controlled by Landlord or its Affiliate(s), to be occupied
       8   (except to the extent otherwise permitted under any lease for space in the Shopping Center or
       9   the Related Land existing as of the Effective Date) for any of the "Prohibited Uses" (defined in
      10   Exhibit M hereto annexed), provided, however, that the foregoing provisions of this Subsection
      11    13.1.2 shall not apply to any business existing on any Related Land owned or controlled by a
      12   person or entity which: (i) was previously, but is no longer, the Landlord hereunder, or (ii) at the
      13   time it became Landlord hereunder, already owned or controlled such Related Land (excluding,
      14   however, the Landlord originally named herein and its Affiliates).

      15          Section 13.2 Tenant's Exclusive in Center. To induce Tenant to execute this Lease,
      16   and subject to all of the terms and provisions of this Section 13.2, Landlord covenants and
      17   agrees as follows.

      18                    13.2.1 Except for the Existing Leases, Landlord shall not lease, rent or occupy or
      19   permit any other premises in the Shopping Center or on any Related Land (defined in
      20   Subsection 13.1.2 above) to be occupied, whether by a tenant, sublessee, assignee, licensee or
      21   other occupant or itself, for the sale, rental or distribution, either singly or in any combination, of
      22   items contained in any of the following respective categories of merchandise: (a) linens and
      23   domestics; (b) bathroom items (excluding plumbing hardware); (c) housewares (excluding
      24   furniture, and major appliances or "white goods"); (d) frames and wall art (provided that a fine
      25   art gallery shall not be precluded); (e) window treatments; and/or (f) closet, shelving and storage
      26   items (which items, either singly or in any combination, are hereinafter referred to as the
      27   "Exclusive Items"). Notwithstanding the foregoing, any tenant or subtenant in the Shopping
      28   Center or the Related Land shall have the right to utilize its respective premises for the sale,
      29   rental and/or distribution of Exclusive Items within an aggregate area (which shall include an
      30   allocable portion of the aisle space adjacent to such sales, rental and/or distribution area) not to
      31   exceed the lesser of (x) five percent (5%) of the Floor Area of such tenant's or subtenant's
      32   premises, or (y) two thousand (2,000) square feet of Floor Area within such tenant's or
      33   subtenant's premises. [For example only, a tenant occupying premises containing a total of five
      34   thousand (5,000) square feet of Floor Area could sell Exclusive Items (either singly or in any
      35   combination) so long as the aggregate area within its entire demised premises in which any and
      36   all Exclusive Items are sold shall not exceed two hundred fifty (250) square feet.] Existing
      37   tenants of the Shopping Center (and current or future assignees or sublessees of such tenants)
      38   shall nevertheless be subject to the restrictions contained in this Section 13.2 in the event that:
      39   (i) the lease between Landlord and any such tenant requires Landlord's consent to any
      40   assignment or subletting or to a change in the use of the applicable premises to permit the sale,
      41   rental or distribution of the Exclusive Items; or (ii) Landlord permits or agrees to an expansion of
      42   the applicable premises for the sale, rental, or distribution of the Exclusive Items.

      43                     13.2.2 The restrictions set forth in Subsection 13.2.1 above shall not apply to a
      44   full -line national or regional: (i) department store [for example, Wal-Mart, Sears, Macy's, or
      45   Target], (ii) discount club [for example, Costco, BJ's Wholesale Club, or Sam's Club], or (iii)
      46   home improvement center [for example, Home Depot or Lowe's], commonly located in first-
      47   class shopping centers in the state in which the Shopping Center is located, each occupying at
      48   least 80,000 square feet of Floor Area within the Shopping Center, as such stores are currently
      49   operated (as of the Effective Date).

      50                   13.2.3 The exclusive rights granted to Tenant in this Section 13.2 shall inure to
      51   the benefit of any assignee of Tenant's interest in this Lease and to any sublessee of a Floor
      52   Area of at least [twenty-five thousand (25,000)] square feet of the Premises.

      53                    13.2.4 (a)     Upon breach of the aforesaid covenant and agreement by
      54   Landlord (which breach shall not include a situation in which the lease between Landlord and
      55   any tenant in the Shopping Center or in the Related Land prohibits the tenant therein from
      56   violating the exclusive rights granted to Tenant in this Section 13.2 and despite such prohibition,
      57   such tenant violates such exclusive rights, unless Landlord fails to comply with any of the
      58   provisions of subparagraph (b) below), the Rent payable hereunder shall be reduced by fifty
      59   percent (50%) for so long as such violation shall continue, and Tenant shall have all remedies
      60   given to it at law and in equity, including, without limitation, the right to obtain injunctive relief,
      61   and/or to terminate this Lease, and/or to commence and prosecute an action against Landlord
      62   or any other violator for damages.



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       1                          (b)      If any person or entity other than Landlord shall violate any of the
       2   exclusive provisions herein set forth, or shall indicate in writing to Landlord that it intends to
       3   violate any of said provisions, Landlord shall promptly commence appropriate legal
       4   proceedings, and vigorously prosecute the same, to enjoin and prohibit any such violation. If
       5   Landlord fails to promptly commence such proceedings, or shall fail thereafter to vigorously
       6   prosecute the same, then Tenant shall have the right (a) to conduct and prosecute such legal
       7   proceedings (including, without limitation, an action for injunctive relief) in its own name, at
       8   Landlord's expense, or (b) in the event the right set forth in (a) above is not permitted to be
       9   exercised under applicable Legal Requirements, to conduct and prosecute such legal
      10   proceedings in the name of Landlord, at Landlord's expense, and Landlord shall cooperate with
      11   Tenant with respect to such prosecution (including, without limitation, bytxecuting any
      12   documentation or authorization reasonably required by Tenant in connection with such
      13   prosecution and by appearing at any hearing or trial with respect to such prosecution).

      14            Section 13.3 Exclusives Which Tenant Must Honor.

      15                    13.3.1 Tenant shall honor certain exclusives granted by Landlord to certain other
      16   tenants in the Shopping Center pursuant to the terms of leases which have been executed prior
      17   to the Effective Date (hereinafter, "Existing Exclusives") [a true and complete listing and
      18   description of such Existing Exclusives being attached hereto as Exhibit K-11, and shall not
      19   sublease, occupy or use all or any portion of the Premises, or permit all or any portion of the
      20   Premises to be occupied or used in violation of any such Existing Exclusive (except as may be
      21   specifically set forth on Exhibit K-1). Landlord represents and warrants that no Existing
      22   Exclusive(s) exist other than those listed on Exhibit K-1 hereto and that Exhibit K-1 is true
      23   accurate and complete, and covenants to indemnify, defend and hold Tenant harmless from and
      24   against all loss, cost, liability or expense (including, without limitation, reasonable legal fees)
      25   incurred by Tenant by reason of the enforcement by any person or entity of such unlisted
      26   Existing Exclusive. Notwithstanding the foregoing, Tenant shall be entitled to enter into a
      27   separate agreement with any tenant or other occupant for whose benefit the existing Exclusive
      28   is granted which nullifies or modifies the corresponding Existing Exclusive with regard to the
      29   Premises.

      30                  13.3.2 Except as expressly set forth in this Section 13.3, Tenant shall not be
      31   obligated to honor any exclusive granted by Landlord to any tenant in the Shopping Center.



      32                                        ARTICLE 14
      33                              CONDUCT OF BUSINESS OPERATIONS

      34            Section 14.1 Covenant to Open: Subject to the other provisions of this Lease
      35   (including, without limitation, Article 3 hereof), not later than the one hundred eightieth (180th)
      36   day after the Rent Commencement Date (which date shall, as applicable, be extended by
      37   reason of (A) damage or destruction, eminent domain proceedings or actions, or Force Majeure,
      38   or (B) the acts or omissions of Landlord), Tenant shall initially open its store for business to the
      39   public in the Premises and remain open to the public for at least two (2) years. Other than as
      40   expressly set forth in the preceding sentence, Tenant shall have no obligation to open or
      41   operate any business in the Premises, and shall have the right, at any time after the second
      42   year of operation, to cease to conduct any business operations in the Premises, and Tenant
      43   shall incur no liability to Landlord or its Mortgagee by reason thereof (it being understood and
      44   agreed that all of Tenant's obligations under this Lease shall continue unless this Lease is
      45   terminated pursuant, inter alia, to the further provisions of this Article 14 or any other provision
      46   of this Lease [other than by reason of an Event of Default]). After the second year of operation,
      47   if Tenant does not operate or cause to be operated any retail business in the Premises (other
      48   than during Excused Periods) for more than one hundred eighty (180) consecutive days,
      49   Landlord shall have the option to terminate this Lease, which option shall be exercisable by
      50   giving notice thereof to Tenant by not later than the ninetieth (90th) day after the date on which
      51   said 180-day period expires, whereupon this Lease shall terminate upon the sixtieth (60th) day
      52   (the "Recapture Date") after the date on which Tenant receives Landlord's termination notice,
      53   as if the Recapture Date was originally set forth herein as the expiration date of the Term. Upon
      54   such termination, Landlord and Tenant shall each be released from any and all liabilities
      55   thereafter accruing hereunder, except as set forth in Section 23.3 below. All Rent payable by
      56   Tenant hereunder shall be apportioned as of the Recapture Date and Tenant shall promptly pay
      57   to Landlord any amounts so determined to be due and owing by Tenant to Landlord, and
      58   conversely Landlord shall promptly reimburse Tenant for any amounts prepaid by Tenant for
      59   periods subsequent to the Recapture Date.




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        I            Section 14.2 Charges Payable by Tenant. In the event Tenant elects to cease
        2   conducting its business in the Premises as set forth above, then in lieu of all charges due under
        3   this Lease, Tenant shall pay to Landlord, until the Lease expires or is sooner terminated, Fixed
        4   Rent, Tenant's Contribution, Tenant's Pro Rata Share of the increases of Taxes, Common
        5   Areas Charges and Landlord's Insurance Costs in accordance with the terms of this Lease, and,
        6   in lieu of Percentage Rent as set forth herein, an annual amount equal to the average annual
        7   amount paid by Tenant for Percentage Rent for the immediately preceding two (2) calendar
        8   years,



        9                                           ARTICLE 15
       10                               TENANT ASSIGNMENT AND SUBLETTING

       11            Section 15.1    Assignment and Subletting.

       12                   15.1.1 Tenant shall have the right, from time to time, with the consent of
       13   Landlord, to assign Tenant's interest in this Lease and/or to sublet, concession or license all or
       14   any portion of the Premises.

       15                     15.1.2 Intentionally Omitted.

      16                    15.1.3 In addition to, and not in limitation of, Tenant's other rights set forth in this
      17    Section 15.1, Tenant shall have the right from time to time, without the consent of Landlord, to
      18    assign Tenant's interest in this Lease and/or to sublet or license all or any portion of the
      19    Premises: (a) to an Affiliate of Tenant; (b) to any entity which purchases all or substantially all
      20    of the assets of Tenant or any of its Affiliates; (c) to any entity which purchases Tenant's interest
      21    in the majority of stores owned or operated by Tenant or its Affiliate(s) in the States of Alabama,
      22    Louisiana and Mississippi; (d) in conjunction with any merger, acquisition, consolidation or
      23    public offering of stock or other interests involving Tenant or its Affiliate(s); (e) as may be
      24    required by any Legal Requirement; and/or (f) to a transferee that has a net worth at the time of
      25    such assignment or sublet of $25,000,000.00 or more.

      26            Section 15.2 Liability of Tenant. Unless otherwise agreed to in writing by Landlord, no
      27    assignment, subletting, licensing or concessioning by Tenant shall reduce, diminish, or
      28    otherwise affect the liability of Tenant hereunder; provided, however, that in the event of an
      29    assignment by the Tenant originally named herein or its Affiliate (collectively, the "Original
      30    Tenant") of its interest in this Lease to a Major Assignee or to a tenant whose obligations under
      31    this Lease are guaranteed by a Major Guarantor, all liability of the Original Tenant under this
      32    Lease accruing from and after the effective date of such assignment, shall terminate. For
      33    purposes of this Section 15.2, the term "Major Assignee" or "Major Guarantor", as the case
      34    may be, shall mean a person or entity which has, as of the effective date of such assignment, a
      35    net worth of at least Fifty Million Dollars ($50,000,000).

      36            Section 15.3 Collateral Assignment. In addition to Tenant's other rights set forth in this
      37    Article 15, a collateral assignment of Tenant's interest in this Lease by Tenant to one or more
      38    "Lenders" (hereinafter defined), as collateral security for an indebtedness or other obligation of
      39    Tenant or its Affiliates shall be permitted and Landlord shall execute all documentation
      40    reasonably requested by Tenant or any such Lender in connection therewith. In addition,
      41    Tenant shall have the right, without Landlord's consent, to grant to an Affiliate of Tenant a
      42    license to operate all of Tenant's business operations at the Premises, without such Affiliate
      43    having assumed any liability for the performance of Tenant's obligations under this Lease. As
      44    used herein, "Lender" shall mean a state or federally regulated: bank, savings and loan
      45    association, insurance company, pension fund, credit union, real estate investment trust, or
      46    other institutional lender.

      47             Section 15.4    Cure Rights of Original Tenant.

      48                    15.4.1 If Tenant assigns Tenant's interest in this Lease, then Landlord, when
      49    giving notice to said assignee or any future assignee in respect of any default, shall also give a
      50    copy of such notice to the Original Tenant, and no notice of default shall be effective until a copy
      51    thereof is so given to Original Tenant. Original Tenant shall have the same period after receipt
      52    of such notice to cure such default as is given to Tenant therefor under this Lease.

      53                    15.4.2 If this Lease is terminated because of: (a) an Event of Default of such
      54    assignee, or (b) the rejection, disaffirmation, or other termination of this Lease by or on behalf of
      55    the assignee pursuant to any proceeding in bankruptcy under any Legal Requirement of any
      56    State or of the United States, or any other Legal Requirements affecting creditors' rights, then



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        1   Landlord shall promptly give to Original Tenant notice thereof, and Original Tenant shall have
       2    the right, exercisable by notice given to Landlord within fifteen (15) days after receipt by Original
       3    Tenant of Landlord's notice, to enter into a new lease of the Premises with Landlord ("New
       4    Lease"), provided that the Original Tenant shall have remedied all Events of Default of the
       5    assignee hereunder, unless such Events of Default are not reasonably susceptible of cure by
       6    the Original Tenant, in which event the Original Tenant shall not be obligated to cure such
       7    Events of Default as a condition to the exercise of its rights under this Subsection 15.4.2. Upon
       8    the Original Tenant's curing of any such Event of Default of the assignee as aforesaid, Landlord
       9    shall assign to Tenant all of Landlord's rights against such assignee (whether arising as a result
      10    of bankruptcy court proceedings or otherwise). The term of said New Lease shall begin on the
      11    date of termination of this Lease and shall continue for the remainder of the Term (including any
      12    Renewal Periods). Such New Lease shall otherwise contain the same terms and conditions as
      13    those set forth herein, except for requirements which are no longer applicable or have already
      14    been performed. It is the intention of the parties hereto that such New Lease shall have the
      15    same priority relative to other rights or interests in or to the Premises as this Lease. The
      16    provisions of this Subsection 15.4.2 shall survive the termination of this Lease and shall
      17    continue in full force and effect thereafter to the same extent as if this Subsection 15.4.2 were a
      18    separate and independent contract between Landlord and the Original Tenant. From the date
      19    on which the Original Tenant shall serve Landlord with the aforesaid notice of the exercise of its
      20    right to a New Lease, the Original Tenant shall have quiet and undisturbed use and enjoyment
      21    of the Premises and all appurtenances thereto, as contemplated in this Lease.

      22            Section 15.5 Recognition Agreement. In the event Tenant subleases all or any portion
      23    of the Premises for a term of at least five (5) years, then, notwithstanding any other provisions of
      24    this Lease, Landlord shall, upon Tenant's request, execute and deliver an agreement among
      25    Landlord, Tenant and each such subtenant in the form of Exhibit H hereto, in recordable form.



      26                                             ARTICLE 16
      27                                   DEFAULT AND DISPUTE RESOLUTION

      28              Section 16.1     Tenant Default,

      29                     16.1.1 If Tenant shall fail to: (i) pay any Rent when due, within ten (10) days
      30    after its receipt of notice thereof from Landlord specifying the amount and details of the unpaid
      31    Rent, or (ii) perform or observe any of the other covenants of this Lease on Tenant's part to be
      32    performed or observed within thirty (30) days after its receipt of notice thereof from Landlord
      33    specifying the nature of such default (or, if such default shall be of a nature that same cannot
      34    reasonably be cured within thirty (30) days and Tenant does not commence to cure such default
      35    on or before such thirtieth (30th) day and thereafter diligently prosecute said cure to
      36    completion), such circumstance shall constitute an "Event of Default".

      37                    16.1.2 Upon an Event of Default, Landlord shall have all remedies given to it at
      38    law or in equity, including the following:

      39                         (a)    to bring suit for the collection of such unpaid Rent or for the
      40    performance of such other covenant of this Lease on Tenant's part to be performed; and/or

      41                            (b)     without waiving any non-monetary default, may (but shall not be
      42    obligated to) perform any covenant which is capable of being remedied by the performance of
      43    affirmative acts for the account and at the reasonable expense of Tenant (it being agreed that
      44    should Landlord require access to the Premises in order to perform such covenant as aforesaid,
      45    Landlord shall comply with the applicable provisions of Sections 9.2 hereof), in which event,
      46    Tenant shall pay to Landlord on demand, as Additional Rent, the reasonable cost or amount
      47    thereof, together with interest thereon at the Lease Interest Rate from the date of outlay of
      48    expense until payment; and/or

      49                          (c)    upon at least five (5) days' notice to Tenant, to terminate this
      50    Lease, whereupon Landlord shall have and retain full right to sue for and collect all unpaid Rent
      51    which shall have accrued up to the date of termination and any damages to Landlord by reason
      52    of any such breach, and Tenant shall surrender and deliver the Premises to Landlord, failing
      53    which, Landlord shall have the right to initiate summary proceedings to recover possession;
      54    and/or

      55                           (d)     upon at least five (5) days' notice to Tenant, to terminate Tenant's
      56    right of possession, re-enter the Premises and take possession thereof by lawful means. If
      57    Landlord shall so elect to repossess the Premises without terminating the Lease, then Tenant



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        1   shall be liable for and shall pay to Landlord all Rent payable to Landlord pursuant to the terms of
        2   this Lease which shall have accrued up to the date of repossession, as well as all Rent as and
        3   when same shall become due and payable pursuant to the terms of this Lease during the
        4   remainder of the Term, diminished by any net sums thereafter received by Landlord through
        5   reletting the Premises during said period (after deducting reasonable expenses incurred by
        6   Landlord in connection with such reletting). In no event shall Tenant be entitled to any excess
        7   of any rent obtained by such reletting over and above the Rent herein reserved. Landlord may
        8   bring actions to collect amounts due by Tenant under this Lease, from time to time, prior to the
        9   expiration of the Term.

       10                  16.1.3 Upon an Event of Default, Tenant shall be liable for and shall pay to
       11   Landlord, in addition to any sum provided to be paid above, brokers' fees incurred by Landlord
       12   in connection with reletting the whole or any part of the Premises for the remainder of the then
       13   unexpired Term (excluding any then unexercised Renewal Periods), the costs of removing and
       14   storing Tenant's or other occupant's property; the cost of repairs; and all other commercially
       15   reasonable expenses incurred by Landlord in enforcing or defending Landlord's rights and/or
       16   remedies, including reasonable attorneys' fees.

       17                  16.1.4 Upon an Event of Default, any amounts paid by Landlord to cure said
       18   Event of Default and any Rent payments not paid after notice thereof is given shall bear interest
       19   at the Lease Interest Rate from and after the expiration of any applicable grace period until paid.

      20                    16.1.5 Landlord shall use all reasonable efforts to relet the Premises or any
      21    portion thereof to mitigate Landlord's damages to which Landlord would otherwise be entitled to
      22    as a result of an Event of Default. In no event shall Tenant be liable to Landlord for any
      23    consequential damages suffered by Landlord as a result of an Event of Default by, or any other
      24    act of, Tenant.

      25               Section 16.2 Landlord Defpult. If Landlord shall: (i) fail to perform or observe any of
      26    the covenants of this Lease on Landlord's part to be performed or observed within thirty (30)
      27    days after receiving notice from Tenant thereof (or, if same cannot reasonably be cured within
      28    thirty (30) days, if Landlord shall fail to promptly commence and diligently prosecute said cure to
      29    completion), or (ii) materially breach any warranty or representation under this Lease (either of
      30    (i) or (ii) above being hereinafter referred to as a "Landlord's Default"), then Tenant, in
      31    addition to such other rights and remedies as may be available under this Lease, or at law or in
      32    equity, may, in its sole discretion:

      33                         (a)     as applicable, perform such obligation(s) of Landlord in
      34    accordance with the provisions of this Lease on behalf of, and at the expense of Landlord;
      35    and/or

      36                            (b)      bring suit for the collection of any amounts for which Landlord is in
      37    default, seek injunctive relief, or seek specific performance for any other covenant or agreement
      38    of Landlord, without terminating this Lease; and/or

      39                           (c)    offset against the Rent payable by Tenant hereunder for amounts
      40    owed by Landlord to Tenant and/or for the amounts reasonably expended by Tenant performing
      41    Landlord's obligations hereunder, including costs and reasonable attorneys' fees, together with
      42    interest thereon at the Lease Interest Rate from the date of the outlay until paid; and/or

      43                             (d)    may terminate this Lease, without waiving its rights to damages
      44    for Landlord's Default, provided that: (1) Landlord's Default materially interferes with the normal
      45    conduct of any business operations in the Premises, (2) Landlord's Default is not reasonably
      46    capable of being cured by Tenant, and (3) Tenant gives notice of Landlord's Default to any
      47    Mortgagee of whom Landlord shall have previously given Tenant notice (including its address),
      48    and such Mortgagee shall not have cured Landlord's Default within thirty (30) days after such
      49    notice is given (or, if such default cannot reasonably be cured within thirty (30) days, such
      50    Mortgagee fails to promptly commence and diligently prosecute said cure to completion).

      51    Notwithstanding the foregoing, if, in Tenant's reasonable judgment, a condition posing imminent
      52    risk of material harm to persons or property or material disruption to the normal conduct of any
      53    business operations in the Premises shall exist, Tenant may, at its election, and without prior
      54    notice to Landlord, exercise any or all of the remedies set forth in (a), (b) and (c) above. In no
      55    event shall Landlord be liable to Tenant for any consequential damages suffered by Tenant as a
      56    result of a default by, or any other act of, Landlord.

      57          Section 16.3 Arbitration. In any case where this Lease expressly provides for
      58    submission of a dispute or matter to arbitration (but not otherwise), the same shall be settled by



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       1   arbitration in New Orleans, Louisiana, before one arbitrator in accordance with the procedural
       2   rules then obtaining of the American Arbitration Association or any successor thereto. The
       3   decision of the arbitrator shall be final, conclusive and binding on the parties, but the powers of
       4   the arbitrator are hereby expressly limited to the determination of factual issues, and the
       5   arbitrator shall have no power to reform, supplement or modify this Lease. The arbitrator shall
       6   make only required findings of fact incident to an arbitrable dispute, which findings shall be set
       7   forth in reasonable detail in a written decision by the arbitrator. Landlord and Tenant shall share
       8   equally in the cost and expenses of such arbitration, and each shall separately pay its own
       9   attorneys fees and expenses, unless the arbitrator finds that one of the parties did not act in
      10   good faith in connection with the dispute or the conduct of the arbitration proceeding, in which
      11   case the arbitrator may award all or part of said costs, expenses and fees to the other party.



      12                                    ARTICLE 17
      13            RIGHT TO MORTGAGE AND NON -DISTURBANCE; ESTOPPEL CERTIFICATE

      14            Section 17.1 Right to Mortgage and Non-Disturbance. Landlord reserves the right to
      15   subject and subordinate this Lease at all times to any first mortgage or deed of trust for the
      16   benefit of any Mortgagee hereafter encumbering or affecting all or any portion of the Shopping
      17   Center, as well as to any future ground or underlying leases encumbering or affecting all or any
      18   part of the Shopping Center: provided, however, that (a) each Mortgagee shall first execute and
      19   deliver to Tenant a subordination, non-disturbance and attornment agreement in substantially
      20   the form attached as Exhibit G hereto, in recordable form, and (b) any Ground Lessor shall
      21   execute (and shall obtain the written consent of any holder of any mortgage, deed of trust or any
      22   other existing lien encumbering or affecting the Shopping Center or any portion thereof, as
      23   applicable) and deliver to Tenant a fee owner recognition agreement in a form reasonably
      24   satisfactory to Tenant, which shall include the following provisions: (i) the Ground Lessor will
      25   not, in the exercise of any of the rights arising or which may arise out of such lease, disturb or
      26   deprive Tenant in or of its possession or its rights to possession of the Premises or of any right
      27   or privilege granted to or inuring to the benefit of Tenant under this Lease; (ii) in the event of the
      28   termination of the ground or underlying lease, Tenant will not be made a party in any removal or
      29   eviction action or proceeding, nor shall Tenant be evicted or removed of its possession or its
      30   right of possession of the Premises, and this Lease shall continue in full force and effect as a
      31   direct lease between the Ground Lessor and Tenant for the remainder of the Term and on the
      32   same terms and conditions as contained herein, without the necessity of executing a new lease;
      33   and (iii) Landlord and Tenant shall have the right to execute any amendment to this Lease
      34   which is specifically required hereunder and the Ground Lessor shall recognize and be bound
      35   thereto.

      36            Section 17.2 Estoppel Certificate. Upon written request of Landlord or Tenant, the
      37   other party, within thirty (30) days of the date of such request, shall execute and deliver to and
      38   only for the benefit of the requesting party or any Mortgagee, bona fide prospective purchaser,
      39   assignee, or sublessee of the requesting party, without charge, a written statement: (1) ratifying
      40   this Lease; (2) certifying, to such party's actual knowledge, that this Lease is in full force and
      41   effect, if such is the case, and has not been modified, assigned, supplemented or amended,
      42   except by such writings as shall be stated; (3) specifying the dates to which Fixed Rent and
      43   Additional Rent have been paid; (4) stating whether or not, to Tenant's actual, knowledge,
      44   Landlord is in default and, if so, stating the nature of such default, (5) stating the Rent
      45   Commencement Date, and (6) stating which options to extend the Lease Term have been
      46   exercised, if any.

      47            Section 17.3 Existing Mortgages. If a mortgage, deed of trust, or other security
      48   instrument encumbers the Shopping Center or any part thereof on the Effective Date, then
      49   within thirty (30) days after the Effective Date, Landlord shall deliver to Tenant, in recordable
      50   form: (x) a subordination, non-disturbance and attornment agreement substantially in the form
      51   attached hereto as Exhibit G, executed by each and every holder of any mortgage, deed of trust
      52   or any other existing lien encumbering or affecting the Shopping Center or any portion thereof,
      53   and (y) a fee owner recognition agreement in the form and content described in clause (b) of
      54   Section 17.1 hereof executed by any Ground Lessor (and, as may be required, consented to by
      55   the holder of any mortgage, deed of trust or other existing lien as aforesaid). Should Landlord
      56   fail to so deliver such instrument(s) within said 30-day period, Tenant shall have the right by
      57   notice given to Landlord at any time prior to the date on which such instrument(s) are delivered,
      58   to terminate this Lease, in which event, neither party shall have any further liability hereunder
      59   (other than as set forth in Section 23.3 below), except that Landlord shall be obligated to
      60   promptly reimburse Tenant for all its reasonable, third-party costs and expenses incurred in
      61   connection with this Lease, including, without limitation, the preparation and review of plans and
      62   specifications, and the performance of Tenant's Work, provided, however, that such


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       1   reimbursement by Landlord shall.not exceed the aggregate sum of Fifty Thousand Dollars
       2   ($50,000).



       3                                                    ARTICLE 18
       4                                                     NOTICE

       5             Subject to the further provisions of this Article 18, whenever it is provided herein that any
       6   notice, demand, request, consent, approval or other communication ("Notice") shall or may be
       7   given to either of the parties by the other, it shall be in writing and, any Legal Requirement to the
       8   contrary notwithstanding, shall not be effective for any purpose unless same shall be given by
       9   registered or certified mail, postage prepaid, return receipt requested, or by any recognized
      10   overnight mail carrier, with proof of delivery slip, addressed to Landlord at Landlord's Mailing
      11   Address or to Tenant at Tenant's Mailing Address, with copies of notices to Tenant also given
      12   to: (i) Allan N. Rauch, Esq., c/o Bed Bath & Beyond Inc., 650 Liberty Avenue, Union, New
      13   Jersey 07083, and (ii) Bart I. Mellits, Esq., Ballard Spahr Andrews & Ingersoll, LLP, One Mellon
      14   Bank Center, 1735 Market Street, 51st Floor, Philadelphia, PA 19103, or to such other person
      15   or other address as may, from time to time, be specified by either party in a written notice to the
      16   other party. All notices given in accordance with the provisions of this Section shall be effective
      17   upon receipt (or refusal of receipt) at the address of the addressee. Notwithstanding the
      18   foregoing, Landlord shall instead send the following items to Tenant (Attention: Lease
      19   Administration) at Tenant's Mailing Address: (A) all bills, notices (but not notices of default) and
      20   related information pertaining to Tenant's Pro Rata Share of Taxes as described in Section 4.3
      21   of this Lease, and (B) all budgetary information, notices (but not notices of default), statements,
      22   bills and related information pertaining to Tenant's Pro Rata Share of Common Areas Charges
      23   as described in Section 5.1 of this Lease.



      24                                                    ARTICLE 19
      25                                                TENANT'S PROPERTY

      26           All of Tenant's Property which may be installed or placed in or upon the Premises by
      27   Tenant shall remain the property of Tenant. Tenant may assign, hypothecate, encumber,
      28   mortgage or create a security interest in or upon Tenant's Property in the Premises without the
      29   consent of Landlord and may remove Tenant's Property at any time during the Term. Landlord
      30   waives any right it may have in Tenant's Property. To the extent Landlord may have a lien on or
      31   security interest in the Tenant's Property pursuant to this Lease, by law or otherwise, Landlord
      32   hereby waives, and agrees not to assert, such lien or security interest. Landlord shall provide to
      33   Tenant, within ten (10) days after Tenant's request therefor, a written waiver in form reasonably
      34   satisfactory to Tenant evidencing Landlord's waiver of any rights it has or may have in Tenant's
      35   Property.



      36                                                    ARTICLE 20
      37                                                   END OF TERM

      38           Section 20.1 Surrender of Premises. At the expiration of the Term, Tenant will quit and
      39   surrender the Premises in good condition and repair, excepting, however, reasonable wear and
      40   tear, damage by fire or other casualty, damage by eminent domain, and repairs and
      41   replacements to be made by Landlord hereunder.

      42            Section 20.2 I-fold Over. If Tenant fails to deliver possession of the Premises to
      43   Landlord at the end of the Term, and unless Landlord and Tenant are, at such time, engaged in
      44   good faith negotiations to extend the Term, Tenant shall be a tenant at sufferance and shall be
      45   liable for Fixed Rent on a monthly basis (or, if applicable, on a prorated daily basis) in an
      46   amount equal to one hundred fifty percent (150%) of the amount thereof payable by Tenant for
      47   the month immediately preceding the last day of the Term as well as for all Additional Rent
      48   payable by Tenant hereunder.



      49                                              ARTICLE 21
      50                                     TENANT'S RIGHT OF FIRST OFFER

      51                       Intentionally Omitted.



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                                                      ARTICLE 22
       2                                          ONGOING CO -TENANCY

        3             If, at any time during the Term, there are fewer than two (2) national or regional tenants
       4    of the type typically found in first-class regional shopping centers located in the greater New
        5   Orleans metropolitan area, each open for business to the public at the Shopping Center and
       6    each occupying not less than fifty thousand (50,000) square feet of Floor Area at the Shopping
       7    Center, or if within twenty-four (24) months of the date of execution of this Lease more than
       8    thirty-five percent (35%) of the total Floor Area of all buildings in the Shopping Center (excluding
       9    the Premises and the third (3rd) and fourth (4th) floors of the Target premises) is not then, or at
      10    any time thereafter ceases to be, used for the operation of retail business by national or regional
      11    tenants of the type typically found in first-class regional shopping centers located in the greater
      12    New Orleans metropolitan area (any of such conditions being hereinafter referred to as an
      13     "Excess Vacancy"), then in any of such events, Tenant shall have the right to: (i) pay Alternate
      14    Rent in lieu of Fixed Rent during the period of such Excess Vacancy, and/or (ii) if the Excess
      15    Vacancy continues for a period in excess of eighteen months, to terminate this Lease,
      16    exercisable by giving Landlord, within one hundred twenty (120) days after the expiration of
      17    such eighteen-month period, at least sixty (60) days' prior notice, in which event this Lease shall
      18    terminate on the date set forth in Tenant's notice of termination without further liability on the
      19    part of either Landlord or Tenant, except: as set forth in Section 23.3 below. If Tenant does not
      20    terminate this Lease pursuant to this Article 22, then commencing on the expiration of the
      21    aforesaid 120-day period, Tenant shall resume paying full Rent, provided, however, that Tenant
      22    shall: (x) again be entitled to exercise its rights under this Article 22 each time the then existing
      23    condition of Excess Vacancy worsens by more than five percent (5%) or any other Inducement
      24    Tenant ceases operations in the Shopping Center, and (y) retain all of its original rights under
      25    this Article 22 with respect to any future condition(s) of Excess Vacancy.


      26                                               ARTICLE 23
      27                                             MISCELLANEOUS

      28           Section 23.1 Loading Facilities. Tenant shall have the exclusive right to utilize the
      29    loading facilities serving the Premises (shown on Exhibit B) on a "24 hour a day", "365 days a
      30    year basis.

      31            Section 23.2 Liens. Within thirty (30) days after notice of the filing thereof, Tenant shall
      32    discharge (either by payment or by filing of the necessary bond, or otherwise) any lien against
      33    the Premises and/or Landlord's interest therein, which may arise out of any payment due for, or
      34    purported to be due for, any labor, services, materials, supplies or equipment alleged to have
      35    been furnished to or for Tenant in, upon or about the Premises. Similarly, within thirty (30) days
      36    after notice of the filing thereof, Landlord shall discharge (either by payment or by filing of the
      37    necessary bond, or otherwise) any lien against the Premises and/or Landlord's interest therein,
      38    which may arise out of any payment due for, or purported to be due for, any labor, services,
      39    materials, supplies or equipment alleged to have been furnished to or for Landlord in, upon or
      40    about the Premises.

      41            Section 23.3 Broker's Commission. Landlord and Tenant each warrant and represent
      42    to the other that they did not deal with any real estate broker in connection with the negotiation,
      43    execution and delivery of this Lease, except for Latter & Blum, Inc. (as representative of Tenant)
      44    and Stirling Properties, Inc. (as representative of Landlord) (the "Brokers"). Landlord shall pay
      45    the Brokers a commission pursuant to a separate agreement, which commission said Brokers
      46    shall share equally. Each party agrees to indemnify, defend, and save the other harmless from
      47    and against any and all liabilities, costs, causes of action, damages and expenses, including,
      48    without limitation, attorneys' fees, with respect to or arising out of any claims made by any real
      49    estate broker (other than the Brokers), agent or finder with respect to this Lease in breach of the
      50    foregoing representation. The provisions of this Section shall survive the expiration or earlier
      51    termination of this Lease.

      52            Section 23.4 Force Majeure. Except as otherwise expressly set forth herein, in the
      53    event either party hereto shall be delayed or hindered in, or prevented from, the performance of
      54    any act required hereunder by reason of strikes, failure of power, riots, insurrection, war,
      55    earthquake, hurricane or tornado (or comparable weather conditions of unusual severity), or
      56    other reasons of a like nature which are beyond the reasonable control of the party (collectively
      57    referred to herein as "Force Majeure"), then the performance of any such act shall be excused
      58    for the period of the delay and the period of the performance of any such act shall be extended
      59    for a period equivalent to the period of such delay. Notwithstanding the foregoing provisions,
      60    the financial inability of a party to perform its obligations under this Lease shall not constitute an
      61    event of Force Majeure.


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       1           Section 23.5 Consents. Except as may be otherwise expressly set forth in this Lease,
       2   whenever under this Lease provision is made for either party's securing the consent or approval
       3   of the other party, (i) such consent or approval shall be in writing and shall not be unreasonably
       4   withheld, delayed or conditioned, and (ii) in all matters contained herein, both parties shall have
       5   an implied obligation of reasonableness.

       6           Section 23.6 Costs. Whenever this Lease requires the performance of an act by a
       7   party, such party shall perform the act at its own cost and expense, unless expressly provided to
       8   the contrary.

       9           Section 23.7 Attorneys' Fees, In any action or proceeding hereunder (whether to
      10   enforce the terms and provisions of an indemnity or otherwise), the prevailing party shall be
      11   entitled to recover from the other party the prevailing party's reasonable costs and expenses in
      12   such action or proceeding, including reasonable attorneys' fees, costs and expenses. Except
      13   as otherwise set forth herein, if either party is sued by a third party as a result of a violation of a
      14   covenant or warranty herein contained by the other party hereto, then the party who has
      15   violated the covenant or warranty shall be responsible for the reasonable costs and expenses in
      16   such action or proceeding against the non -violating party, including reasonable attorneys' fees,
      17   costs and expenses.

      18           Section 23.8 Survival of Obligations. The obligation to pay any sums due to either
      19   party from the other that by the terms herein would not be payable, or are incapable of
      20   calculation, until after the expiration or sooner termination of this Lease shall survive and remain
      21   a continuing obligation until paid. All indemnity obligations under this Lease shall survive the
      22   expiration or earlier termination of this Lease.

      23           Section 23.9 Non-Waiver. The failure of Landlord or Tenant to insist upon the strict
      24   performance of, or to enforce, any provision, covenant or condition herein shall not be deemed
      25   to be a waiver thereof, nor void or affect the right of the aggrieved party to enforce the same
      26   covenant or condition on the occasion of any subsequent breach or default; nor shall the failure
      27   of either party to exercise any option in this Lease upon any occasion arising therefor be
      28   deemed or construed to be a waiver of the right to exercise that same kind of option upon any
      29   subsequent occasion.

      30          Section 23.10 Rights Cumulative. Unless expressly provided to the contrary in this
      31   Lease, each and every one of the rights, remedies and benefits provided by this Lease shall be
      32   cumulative and shall not be exclusive of any other such rights, remedies and benefits allowed
      33   by applicable Legal Requirements.

      34            Section 23.11 Definition of Landlord. The term "Landlord" shall mean only the person
      35   or entity which, from time to time, shall then own the Shopping Center, and in the event of the
      36   transfer by such owner of its interest in the Shopping Center, such owner shall (except to the
      37   extent of (1) claims made by Tenant against Landlord which arose prior to the effective date of
      38   the transfer of such ownership interest, and/or (2) judgments obtained by Tenant against
      39   Landlord, on or prior to the effective date of the transfer of such ownership interest) thereupon
      40   be released and discharged from all covenants and obligations of Landlord thereafter accruing,
      41   but such covenants and obligations shall be binding during the Term upon each new owner for
      42   the duration of such owner's ownership.

      43          Section 23.12 Successors and Assigns. The provisions of this Lease shall be binding
      44   upon and shall inure to the benefit of the parties hereto and their respective heirs, executors,
      45   administrators, successors and assigns.

      46           Section 23.13 Limitation of Landlord's Liability. Except with respect to insurance
      47   proceeds or condemnation awards received by Landlord which are required by the terms of this
      48   Lease to be applied to the repair or restoration of the Premises or the Shopping Center, Tenant
      49   shall, on and after the Delivery Date, look only to Landlord's estate and property in the Shopping
      50   Center (or the proceeds from the sale of all or any portion thereof) and net income derived from
      51   the Shopping Center for the satisfaction of Tenant's remedies for the collection of a judgment
      52   (or other judicial process) requiring the payment of money by Landlord hereunder and no other
      53   property or assets of Landlord, its officers, directors, stockholders or partners shall be subject to
      54   levy, execution or other enforcement procedure for the satisfaction of Tenant's remedies under
      55   or with respect to this Lease. Except with respect to the limitation on personal liability
      56   hereinabove set forth, the provisions of this Section 23.13 shall not be deemed or construed to
      57   limit Tenant's rights and remedies pursuant to this Lease or which may be available at law or in
      58   equity.




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       1             Section 23.14 Limitation of Tenant's Liability. Landlord, its successors and assigns,
       2   shall look solely to the assets, if any, of Tenant and its successors and assigns, for the
       3   satisfaction of any claim arising from or under this Lease and shall not seek to impose personal
       4   liability on any shareholder, officer, director or employee of Tenant or any of its Affiliates.

       5          Section 23.15 Joint and Several Liability. If either party consists of more than one
       6   person, then the persons constituting such party shall be jointly and severally liable hereunder.

       7          Section 23.16 Severability. If any term, covenant, condition or provision of this Lease is
       8   held by a court of competent jurisdiction to be invalid, void or unenforceable, the remainder of
       9   the provisions hereof shall remain in full force and effect and shall in no way be affected,
      10   impaired, or invalidated thereby.

      11           Section 23.17 Grammatical Usages and Construction. In construing this Lease,
      12   feminine or neuter pronouns shall be substituted for those masculine in form and vice versa,
      13   and plural terms shall be substituted for singular and singular for plural in any place in which the
      14   context so requires. This Lease shall be construed without regard to the identity of the party
      15   who drafted the various provisions hereof. Moreover, each and every provision of this Lease
      16   shall be construed as though all parties hereto participated equally in the drafting thereof. As a
      17   result of the foregoing, any rule or construction that a document is to be construed against the
      18   drafting party shall not be applicable hereto.

      19           Section 23.18 Table of Contents, Line Numbering and Paraarapti Headinos. The table
      20   of contents and line numbering, if any, and section headings are inserted only for convenience
      21   and in no way define, limit or describe the scope or intent of this Lease, nor in any way affect
      22   this Lease.

      23           Section 23.19 Definition of Hereunder. Herein, etc. Unless the context clearly indicates
      24   to the contrary, the words "herein," "hereof,' "hereunder," "hereafter," and words of similar
      25   import refer to this Lease and all the Exhibits attached hereto as a whole and not to any
      26   particular section, subsection, or paragraph hereof.

      27           Section 23.20 Short Form Lease. Upon the request of either party following the
      28   execution and delivery of this Lease, Landlord and Tenant shall execute a short form lease or
      29   memorandum for recording, which shall be in form and substance as either party shall
      30   reasonably request. In no event shall the amount of Fixed Rent reserved hereunder be included
      31   in any such short form lease or memorandum.

      32            Section 23.21 Entire Agreement and Modification. This Lease constitutes the entire
      33   agreement of the parties hereto, and all prior agreements between the parties, whether written
      34   or oral, are merged herein and, except as may be specifically set forth herein, shall be of no
      35   force and effect. This Lease cannot be changed, modified or discharged orally, but only by an
      36   agreement in writing, signed by the party against whom enforcement of the change, modification
      37   or discharge is sought.

      38           Section 23.22 No Joint Venture or Partnership Created by Lease. Nothing contained
      39   herein shall be deemed or construed as creating the relationship of principal and agent or of
      40   partnership or of joint venture between the parties hereto.

      41           Section 23.23 Tenant's Tradename. Landlord shall not make use of Tenant's
      42   tradename [i.e., "Bed Bath & Beyond' l in any advertising or marketing material, including,
      43   without limitation, on any internet website, without obtaining Tenant's prior written approval,
      44   which may be withheld in Tenant's sole and absolute discretion.

      45          Section 23.24 Governing Law. This Lease shall be governed by, construed, and
      46   enforced in accordance with the laws of the State in which the Premises are located.

      47            Section 23.25 Radius Restriction. Tenant agrees so long as Tenant is open and
      48   operating its business in the Premises, that Tenant (or any Affiliate of Tenant) for a period of five
      49   (5) years from the Rent Commencement Date, will not, within the area depicted on Exhibit N
      50   attached hereto and made a part hereof, either directly or indirectly own or operate a business
      51   like or substantially similar to the business conducted at the Premises. This Section 23.25 shall
      52   not apply: (i) to the continued conduct of any business being operated, as of the date of this
      53   Lease, by Tenant or any Affiliate of Tenant; (ii) to any stores hereinafter acquired by Tenant or
      54   any Affiliate of Tenant as a result of merger and consolidation or the acquisition of all or
      55   substantially all of the assets of another retail chain; (iii) to any business being operated, as of
      56   the effective date of any assignment of this Lease or sublease of all or any portion of this Lease,
      57   by any permitted assignee or permitted sublessee of Tenant; or (iv) to any business being


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       I   operated under a trade name which is different from the trade name under which Tenant is
       2   operating its business in the Premises.




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     1           IN WITNESS WHEREOF, the parties have executed this instrument under seal the day
     2    and year first-above written.

     3
                                                        LANDLORD:

          WITNESS:                                      RICHARDS CLEARVIEW, L.L.C.



                                                        By:
                                                                                          400101.,%t•
                                                        Title:
          [s
                                                        TENANT:

          WITNESS:                                      BED BATH & BEYOND INC., a New York
                                                        corporation




                                                                 Warren Eisenberg
                                                                 Co-Chief Executive Off
          [SEAL]

     4




                                                   LANDLORD:
           WITNESS:
                                                   RICHARDS CLEARVIEW, L.L.C.

                                                   By:
                                                   Name:
                                                   Title:        Mrzok./AQ...F.


                                                   LANDLORD:

           WITNESS:                                RICHARDS CLEARVIEW, L.L.C.


                                                   By:
                                                   Name: E Lien) OIL              C-C-427
                                                   Title: M dAti.,414—




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     1                                             INDEX OF EXHIBITS

     2    Exhibit A -       Legal Description of Shopping Center

     3    Exhibit B -       Site Plan

     4    Exhibit C -       Rent Commencement and Expiration Date Agreement

     5    Exhibit D -       Specifications for Landlord's Work

     6    Exhibit 0-1       Exterior Elevations of the Premises, and Sidewalk Plan

     7    Exhibit D-2       Exterior Elevations of the Shopping Center

     8    Exhibit E -       Permitted Encumbrances

     9    Exhibit F -       Signage

    10    Exhibit G -       Form of Subordination, Non-Disturbance and Attornment Agreement

    11    Exhibit H -       Form of Subtenant Recognition Agreement

    12    Exhibit I -       Form of Delivery Date Notice

    13    Exhibit J         Form of Delivery Date Certification

    14    Exhibit K-1       Existing Exclusives

    15    Exhibit K-2       Existing Leases

    16    Exhibit L         INTENTIONALLY OMITTED

    17   Exhibit M          Prohibited Uses

    18   Exhibit N         Radius Restriction




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     1                                            EXHIBIT A

     2                              LEGAL DESCRIPTION OF SHOPPING CENTER

     3

     4   A CERTAIN PIECE OR PARCEL OF LAND DESCRIBED AS PLOT Y-1-A, PONTCHARTRAIN
     5   GARDENS, SECTION "A", LOCATED IN SECTION 44, T12S-R10E, SOUTHEAST LAND
     6   DISTRICT, PARISH OF JEFFERSON, STATE OF LOUISIANA, MORE PARTICULARLY
     7   DESCRIBED AS FOLLOWS:

     B   COMMENCING AT THE INTERSECTION OF THE EASTERLY RIGHT OF WAY LINE OF
     9   CLEARVIEW PARKWAY AND THE SOUTHERLY RIGHT OF WAY LINE OF VETERANS
    10   MEMORIAL BOULEVARD, SAID POINT BEING AN "X" FOUND IN CONCRETE, ALSO BEING
    11   THE POINT OF BEGINNING;

    12    THENCE PROCEED ALONG THE SOUTHERLY RIGHT OF WAY LINE OF VETERANS
    13    MEMORIAL BOULEVARD, SOUTH 86 DEGREES 25 MINUTES 19 SECONDS EAST A
    14    DISTANCE OF 884.96 FEET TO A "X' SET IN CONCRETE; THENCE LEAVING SAID RIGHT
    15    OF WAY LINE, PROCEED SOUTH 03 DEGREES 34 MINUTES 41 SECONDS WEST A
    16    DISTANCE OF 350 00 FEET TO A POINT AND CORNER; THENCE PROCEED SOUTH 86
    17    DEGREES 25 MINUTES 19 SECONDS EAST A DISTANCE OF 50.00 FEET TO A POINT AND
    18    CORNER; THENCE PROCEED SOUTH 03 DEGREES 34 MINUTES 41 SECONDS WEST A
    19    DISTANCE OF 565.07 FEET TO A 60d NAIL SET IN ASPHALT; THENCE PROCEED SOUTH
   20    86 DEGREES 25 MINUTES 19 SECONDS EAST A DISTANCE OF 261.11 FEET TO A PK
   21     NAIL FOUND IN ASPHALT; THENCE PROCEED SOUTH 10 DEGREES 20 MINUTES 02
   22    SECONDS EAST A DISTANCE OF 362.02 FEET TO A NAIL FOUND IN ASPHALT ON THE
   23    NORTHERLY RIGHT OF WAY LINE OF TRENTON STREET; THENCE PROCEED ALONG
   24    SAID RIGHT OF WAY LINE, NORTH 86 DEGREES 20 MINUTES 48 SECONDS WEST A
    25    DISTANCE OF 44.97 FEET TO A POINT 0.51 FEET EAST OF A FOUND 1/2 INCH IRON
    26    PIPE; THENCE LEAVING SAID RIGHT OF WAY LINE PROCEED NORTH 09 DEGREES 52
    27    MINUTES 48 SECONDS WEST A DISTANCE OF 154.70 FEET TO A PK NAIL SET IN
   28    ASPHALT; THENCE PROCEED NORTH 86 DEGREES 20 MINUTES 48 SECONDS WEST A
   29    DISTANCE OF 100.00 FEET TO A POINT 0.60 FEET EAST OF A FOUND 1/2 INCH IRON
   30    PIPE; THENCE PROCEED SOUTH 09 DEGREES 52 MINUTES 48 SECONDS EAST A
   31    DISTANCE OF 154.70 FEET TO A POINT 0.42 FEET EAST OF A FOUND 1/2 INCH IRON
   32    PIPE ON THE NORTHERLY RIGHT OF WAY LINE OF TRENTON STREET; THENCE
   33    PROCEED ALONG SAID RIGHT OF WAY LINE, NORTH 86 DEGREES 22 MINUTES 06
   34    SECONDS WEST A DISTANCE OF 342.21 FEET TO AN "X" FOUND IN CONCRETE;
   35    THENCE LEAVING SAID RIGHT OF WAY LINE, PROCEED NORTH 60 DEGREES 35
   36    MINUTES 45 SECONDS WEST A DISTANCE OF 283.20 FEET TO A "X" FOUND IN
   37    ASPHALT; THENCE PROCEED NORTH 54 DEGREES 24 MINUTES 58 SECONDS WEST A
   38    DISTANCE OF 50.77 FEET TO A POINT 0.59 FEET WEST OF A FOUND 1/2 INCH IRON
   39    ROD; THENCE PROCEED SOUTH 86 DEGREES 22 MINUTES 06 SECONDS EAST A
   40    DISTANCE OF 45.41 FEET TO A FOUND HOLE PUNCHED IN ASPHALT; THENCE
   41    PROCEED NORTH 11 DEGREES 08 MINUTES 06 SECONDS WEST A DISTANCE OF
   42    155.12 FEET TO A POINT 0.54 FEET SOUTH OF AN "X" FOUND IN ASPHALT; THENCE
   43    PROCEED NORTH 03 DEGREES 39 MINUTES 12 SECONDS EAST A DISTANCE OF 50.15
   44    FEET TO A POINT 0.45 FEET SOUTH OF AN "X" FOUND IN CONCRETE; THENCE
   45    PROCEED NORTH 86 DEGREES 20 MINUTES 48 SECONDS WEST A DISTANCE OF
   46    113.06 FEET TO A FOUND 1/2 INCH IRON PIPE; THENCE PROCEED NORTH 11 DEGREES
   47    07 MINUTES 55 SECONDS WEST A DISTANCE OF 155.14 FEET TO A NAIL FOUND IN
   48    ASPHALT; THENCE PROCEED NORTH 86 DEGREES 20 MINUTES 48 SECONDS WEST A
   49    DISTANCE OF 50.00 FEET TO A PK NAIL SET IN ASPHALT; THENCE PROCEED SOUTH 11
   50    DEGREES 07 MINUTES 55 SECONDS EAST A DISTANCE OF 44.45 FEET TO A PK NAIL
   51    SET IN ASPHALT; THENCE PROCEED NORTH 86 DEGREES 20 MINUTES 48 SECONDS
   52    WEST A DISTANCE OF 46.39 FEET TO A POINT 0.46 FEET WEST OF A FOUND 1/2 INCH
   53    IRON ROD; THENCE PROCEED NORTH 11 DEGREES 04 MINUTES 34 SECONDS WEST A
   54    DISTANCE OF 327.97 FEET TO A FOUND 1/2 INCH IRON PIPE; THENCE PROCEED 61.55
   55    FEET ALONG THE ARC OF A NON -TANGENT CURVE TO THE LEFT HAVING A RADIUS OF
   56    57.50 FEET, A DELTA ANGLE OF 61 DEGREES 19 MINUTES 39 SECONDS, A CHORD
   57    BEARING OF NORTH 41 DEGREES 46 MINUTES 35 SECONDS WEST, AND A CHORD
   58    DISTANCE OF 58.65 FEET, TO A FOUND 1/2 INCH IRON PIPE; THENCE PROCEED NORTH
   59    44 DEGREES 22 MINUTES 19 SECONDS WEST A DISTANCE OF 26.69 FEET TO A "X"
   60    FOUND IN CONCRETE; THENCE PROCEED NORTH 17 DEGREES 31 MINUTES 07
   61    SECONDS WEST A DISTANCE OF 74.20 FEET TO A "X" FOUND IN CONCRETE; THENCE
   62    PROCEED SOUTH 78 DEGREES 50 MINUTES 54 SECONDS WEST A DISTANCE OF 2.16
   63    FEET TO A FOUND 1/2 INCH IRON ROD; THENCE PROCEED ALONG SAID EASTERLY


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     1    RIGHT OF WAY LINE, NORTH 11 DEGREES 12 MINUTES 31 SECONDS WEST A
     2    DISTANCE OF 365.15 FEET TO A FOUND 1/2 INCH IRON ROD; THENCE CONTINUE
     3    NORTH 03 DEGREES 46 MINUTES 54 SECONDS EAST A DISTANCE OF 10.06 FEET BACK
     4    TO THE POINT OF BEGINNING.




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     1                                          EXHIBIT B

     2                                          SITE PLAN




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